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JEANETTE AKINS                                                                                 January 24, 2018
CENTENO vs LVNV FUNDING                                                                                     1–4
                                                    Page 1                                                    Page 3
·1· · · · · ·IN THE UNITED STATES DISTRICT COURT             ·1· ·PRESENT:
·2· · · · · · · NORTHERN DISTRICT OF ILLINOIS                ·2· · · · ·COMMUNITY LAWYERS GROUP,
·3· · · · · · · · · · ·EASTERN DIVISION                      ·3· · · · ·(73 West Monroe Street, Suite 514,
·4· ·MARCELINO CENTENO,· · · · · · )                         ·4· · · · ·Chicago, Illinois 60603,
·5· · · · · · · · · Plaintiff,· · ·)                         ·5· · · · ·(312) 757-1880), by:
·6· · · · ·-vs-· · · · · · · · · · )· No.· 17-CV-05233       ·6· · · · ·HOLLY R. McCURDY,
·7· ·LVNV FUNDING, LLC and· · · · ·)                         ·7· · · · ·hmccurdy@communitylawyersgroup.com,
·8· ·RESURGENT CAPITAL SERVICES,· ·)                         ·8· · · · · · · appeared on behalf of the Plaintiffs;
·9· ·L.P.,· · · · · · · · · · · · ·)                         ·9
10· · · · · · · · · Defendants.· · )                         10· · · · ·BARRON & NEWBURGER, PC,
11· ·JEANETTE AKINS,· · · · · · · ·)                         11· · · · ·(7320 N. MoPac Expy, Suite 400,
12· · · · · · · · · Plaintiff,· · ·)                         12· · · · ·Austin, Texas 78731,
13· · · · ·-vs-· · · · · · · · · · )· No. 17-CV-05693        13· · · · ·(512) 649-4022), by:
14· ·LVNV FUNDING, LLC and· · · · ·)                         14· · · · ·MANUEL H. NEWBURGER,
15· ·RESURGENT CAPITAL SERVICES,· ·)                         15· · · · ·mnewburger@bn-lawyers.com,
16· ·L.P.,· · · · · · · · · · · · ·)                         16· · · · · · · appeared on behalf of the Defendants.
17· · · · · · · · · Defendants.· · )                         17
18· ·LAURA LEMKE,· · · · · · · · · )· No. 17-CV-05897        18
19· · · · · · · · · Plaintiff,· · ·)                         19
20· · · · ·-vs-· · · · · · · · · · )· DEPOSITION OF          20
21· ·LVNV FUNDING, LLC and· · · · ·)· JEANETTE AKINS         21
22· ·RESURGENT CAPITAL SERVICES,· ·)· JANUARY 24, 2017       22
23· ·L.P.,· · · · · · · · · · · · ·)                         23· ·REPORTED BY:· JOANNE KLOEPFER, CSR
24· · · · · · · · · Defendants.· · )· (CAPTION CONT'D)       24· · · · · · · · · CSR No. 084-001980

                                                    Page 2                                                    Page 4
·1· ·CORDELL JOHNSON,· · · · · · · )                         ·1· · · · MR. NEWBURGER:· Swear the witness.
·2· · · · · · · Plaintiff,· · · · ·)                         ·2· · · · · · · · · (WHEREUPON, the witness was duly
·3· · · · ·-vs-· · · · · · · · · · )                         ·3· · · · · · · · · ·sworn.)
·4· ·LVNV FUNDING, LLC,· · · · · · )· No. 17-CV-06098        ·4· · · · · · · · · · ·JEANETTE AKINS,
·5· · · · · · · Defendant.· · · · ·)                         ·5· ·called as a witness herein, having been first duly
·6· ·HALINA PLEWA,· · · · · · · · ·)                         ·6· ·sworn, was examined and testified as follows:
·7· · · · · · · Plaintiff,· · · · ·)                         ·7· · · · · · · · · ·DIRECT EXAMINATION
·8· · · · ·-vs-· · · · · · · · · · )                         ·8· ·BY MR. NEWBURGER:
·9· ·LVNV FUNDING, LLC and· · · · ·)· No. 17-CV-06676        ·9· · · · Q.· · Hello.· How are you today?
10· ·RESURGENT CAPITAL SERVICES,· ·)                         10· · · · A.· · Fine, thank you.· How are you?
11· ·L.P.,· · · · · · · · · · · · ·)                         11· · · · Q.· · Fine, thanks.· Would you mind stating
12· · · · · · · · · Defendants.· · )                         12· ·your name for the record, please?
13                                                           13· · · · A.· · Jeanette Akins.
14                                                           14· · · · Q.· · Ms. Akins, I'm Manuel Newburger and I
15· · · · ·The deposition of JEANETTE AKINS, called for      15· ·represent the defendants in this case.· I don't
16· ·examination, taken pursuant to the Federal Rules of     16· ·think we've met before, have we?
17· ·Civil Procedure of the United States District           17· · · · A.· · No.· Not that I know of.
18· ·Courts pertaining to the taking of depositions,         18· · · · Q.· · Let me first say I know the weather is
19· ·taken before JOANNE KLOEPFER, CSR No. 084-001980,       19· ·-- going in and out, it's chilly, warm, whatever.
20· ·a Notary Public within and for the County of Lake,      20· ·If you find yourself uncomfortable, I can try and
21· ·State of Illinois, and a Certified Shorthand            21· ·do something about it; but hopefully we'll keep the
22· ·Reporter of said state, at Suite 450, 333 West          22· ·room comfortable for you.
23· ·Wacker Drive, Chicago, Illinois, on Wednesday,          23· · · · A.· · I'm okay.
24· ·January 24, 2018, commencing at 1:23 p.m.               24· · · · Q.· · And if we need to take a break, there's


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·1· ·restrooms on this floor if you need to call a             ·1· · · · Q.· · It's one you opened.
·2· ·break.· This isn't supposed to be an ordeal.              ·2· · · · A.· · Yes.
·3· · · · A.· · Okay.                                          ·3· · · · Q.· · Okay.· And if I say LVNV, can we agree
·4· · · · Q.· · Let me ask you, have you ever been             ·4· ·that I'm referring to LVNV Funding, LLC?
·5· ·deposed before?                                           ·5· · · · A.· · What you say now?
·6· · · · A.· · Have I --                                      ·6· · · · Q.· · If I refer to LVNV, can we agree that
·7· · · · Q.· · Have you ever been in a deposition             ·7· ·I'm talking about LVNV Funding, LLC?· That's one of
·8· ·before?                                                   ·8· ·the defendants in this case.
·9· · · · A.· · No.                                            ·9· · · · A.· · Yes.
10· · · · Q.· · Okay.· Have you had a chance to talk to        10· · · · Q.· · And if I say Resurgent, can we agree I'm
11· ·your lawyer about this before now?                        11· ·talking about Resurgent Capital Services, L.P.?
12· · · · A.· · A little bit, yes.                             12· · · · A.· · Yes.
13· · · · Q.· · Okay.· So you understand that the court        13· · · · Q.· · And if I say your attorneys, can we
14· ·reporter is going to take down everything that we         14· ·agree I'm talking about Community Law Group?
15· ·say.                                                      15· · · · A.· · Yes.
16· · · · A.· · Yes.                                           16· · · · Q.· · Now, do you know who LVNV and Resurgent
17· · · · Q.· · And that means we have to try to do a          17· ·are?
18· ·couple of things.· One, I have to try not to talk         18· · · · A.· · Debt collectors.· Debt collectors.
19· ·over you and ask you not to talk over me.· Because        19· · · · Q.· · Have you ever talked to anyone from
20· ·if we both talk at the same time, she has to start        20· ·LVNV?
21· ·throwing things at me.· She can't take us both down       21· · · · A.· · No, not that I can remember.
22· ·at once.· Okay?                                           22· · · · Q.· · And have you ever talked to anyone from
23· · · · A.· · Okay.                                          23· ·Resurgent?
24· · · · Q.· · And the second thing I need to ask you         24· · · · A.· · No, not that I remember.

                                                     Page 6                                                    Page 8
·1· ·to do is answer aloud with words.· Because if you      ·1· · · · Q.· · Okay.· So any communications you've had
·2· ·say uh-huh, uh-uh, shake your head, she really         ·2· ·with the defendants were simply in writing, nothing
·3· ·can't get your answers down and the transcript      ·3· ·by telephone, right?
·4· ·won't be accurate.                                  ·4· · · · A.· · Right.
·5· · · · A.· · Okay.                                    ·5· · · · Q.· · Okay.· Is Jeanette Akins your full name?
·6· · · · Q.· · Thank you.· Usually when I do a          ·6· · · · A.· · Yes.
·7· ·deposition I find the problem with talking to       ·7· · · · Q.· · Do you have a middle name or maiden
·8· ·lawyers is we start using a bunch of words and      ·8· ·name?
·9· ·everyone gets confused about what we mean, so I     ·9· · · · A.· · Harrington.
10· ·always try to see if at the beginning we can agree  10· · · · Q.· · That's your maiden name?
11· ·on some words so you know what I mean and what I'm 11· · · · A.· · Yes.
12· ·talking about.                                      12· · · · Q.· · And have you ever used any other names?
13· · · · · · · So if I say Credit One, can we agree I'm 13· · · · A.· · No.
14· ·talking about Credit One Bank?                      14· · · · Q.· · And where do you live?
15· · · · A.· · Yes.                                     15· · · · A.· · 1640 North Lorel Avenue, Chicago,
16· · · · Q.· · And you know who that is, right?         16· ·Illinois, 60639.
17· · · · A.· · Yes.                                     17· · · · Q.· · That's L-o-r-e-l?
18· · · · Q.· · All right.· And if I talk about the      18· · · · A.· · Yes.
19· ·account, can we agree I'm talking about the Credit  19· · · · Q.· · How long have you lived there?
20· ·One credit card account that had a number ending in 20· · · · A.· · Twenty some years.
21· ·2177 that was issued in your name?                  21· · · · Q.· · Is that a house you own or --
22· · · · A.· · Yes.                                     22· · · · A.· · Yes.
23· · · · Q.· · And you remember that account, right?    23· · · · Q.· · -- one that you --
24· · · · A.· · Yes.                                     24· · · · · · · Do you have any other addresses at which


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·1· ·you ever reside?                                      ·1· · · · A.· · Yes.
·2· · · · A.· · Before that?                               ·2· · · · MR. NEWBURGER:· If you could take it out.
·3· · · · Q.· · Any other address that you live at         ·3· ·Before I ask you the question, the same
·4· ·sometimes like, you know, another house that you      ·4· ·stipulation, that if we should have to file this
·5· ·may live at, another city where you go --             ·5· ·page, we'll redact the number.
·6· · · · A.· · No.                                        ·6· ·BY MR. NEWBURGER:
·7· · · · Q.· · -- sometimes or a place you go to          ·7· · · · Q.· · Can you give me the last four digits of
·8· ·vacation?                                             ·8· ·your state ID number?
·9· · · · A.· · No.                                        ·9· · · · A.· · 741A.
10· · · · Q.· · Do you have any kind of personal web       10· · · · Q.· · Thank you.
11· ·page?                                                 11· · · · THE REPORTER:· Seven four one eight?
12· · · · A.· · No.                                        12· · · · THE WITNESS:· One A.
13· · · · Q.· · Anything on social media pages?            13· · · · THE REPORTER:· A as in apple?
14· · · · A.· · Like what?                                 14· · · · THE WITNESS:· Yes.
15· · · · Q.· · Like Facebook, My Space.                   15· ·BY MR. NEWBURGER:
16· · · · A.· · No.                                        16· · · · Q.· · Now, you said you've never given a
17· · · · Q.· · Any of those kinds of sites.               17· ·deposition before?
18· · · · A.· · No.                                        18· · · · A.· · No.
19· · · · Q.· · What's your date of birth?                 19· · · · Q.· · Have you ever testified before under
20· · · · A.· · 5/17/1959.                                 20· ·oath?
21· · · · MR. NEWBURGER:· And I'm going to ask you a       21· · · · A.· · Like --
22· ·question; but, before I do, I need to say something   22· · · · Q.· · In court, in any kind of matter where
23· ·to your lawyer for the record.                        23· ·you were given an oath like the court reporter did
24· · · · · · · I'm going to ask Ms. Akins for the last    24· ·before and you were asked to testify.
                                                Page 10                                                    Page 12
·1· ·four digits of her Social Security number; but, for   ·1· · · · A.· · (Inaudible.)
·2· ·the record, I stipulate if we have to file this       ·2· · · · Q.· · Excuse me?
·3· ·page of the transcript, we will redact that number    ·3· · · · A.· · Like bankruptcy or something like that?
·4· ·before filing.                                        ·4· · · · Q.· · That would be one place.
·5· · · · MS. MC CURDY:· Sure.                             ·5· · · · A.· · Yes.
·6· · · · MR. NEWBURGER:· Thank you.                       ·6· · · · Q.· · And so you've been through bankruptcy.
·7· ·BY MR. NEWBURGER:                                     ·7· · · · A.· · Yes.
·8· · · · Q.· · What are the last four digits of your      ·8· · · · Q.· · When was that?
·9· ·Social Security number?                               ·9· · · · A.· · I can't remember exactly.· Back in the
10· · · · A.· · 7960.                                      10· ·nineties.
11· · · · THE REPORTER:· Seven nine --                     11· · · · Q.· · And you went to what they call a first
12· · · · THE WITNESS:· Sixty.                             12· ·meeting of creditors where you had to testify under
13· · · · THE REPORTER:· Six zero.                         13· ·oath, right?
14· · · · THE WITNESS:· Yes.                               14· · · · A.· · Yes.
15· ·BY MR. NEWBURGER:                                     15· · · · Q.· · Were there any other times that you
16· · · · Q.· · And do you know your Illinois driver's     16· ·testified in your bankruptcy case?
17· ·license number?                                       17· · · · A.· · No.
18· · · · A.· · Not by heart.                              18· · · · Q.· · And other than your bankruptcy case, has
19· · · · Q.· · Do you have it with you?· Is it            19· ·there been any other time when you've had to
20· ·something you could get?                              20· ·testify in court?
21· · · · A.· · I don't have a driver's license.· I have   21· · · · A.· · No.
22· ·a state ID.· I don't drive.                           22· · · · Q.· · Have you ever been a party to a lawsuit
23· · · · Q.· · I'm getting there.· Do you have your ID    23· ·other than this one?
24· ·with you?                                             24· · · · A.· · In lawsuit?


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·1· · · · Q.· · Yes.                                       ·1· ·for short breaks than have this be painful to you.
·2· · · · A.· · Yes.                                       ·2· ·Okay?
·3· · · · Q.· · When was that?                             ·3· · · · A.· · Okay.
·4· · · · A.· · 2000.· I can't remember exactly, but it    ·4· · · · Q.· · Do you take any medications for your
·5· ·was in 2000.                                          ·5· ·back?
·6· · · · Q.· · Where was that suit?· Was it here in       ·6· · · · A.· · Yes.
·7· ·Cook County?                                          ·7· · · · Q.· · Do any of those medications affect your
·8· · · · A.· · Yes.                                       ·8· ·memory or your ability to testify?
·9· · · · Q.· · And what was the lawsuit about?            ·9· · · · A.· · No.
10· · · · A.· · Work injury.                               10· · · · Q.· · What do you take?
11· · · · Q.· · So were you the plaintiff?· Did you file   11· · · · A.· · Norco.
12· ·that suit?                                            12· · · · Q.· · Anything else?
13· · · · A.· · My attorney did.                           13· · · · A.· · No.
14· · · · Q.· · Who was your attorney?                     14· · · · Q.· · Other than your back, are you otherwise
15· · · · A.· · Carrie Forest (phonetic).                  15· ·in good health today?
16· · · · Q.· · And how did that case come out?            16· · · · A.· · High blood pressure.
17· · · · A.· · (Inaudible.)                               17· · · · Q.· · And what do you take for that?
18· · · · THE REPORTER:· What?                             18· · · · A.· · Lipico (phonetic).
19· · · · THE WITNESS:· It was approved.                   19· · · · Q.· · And does that affect your memory or your
20· ·BY MR. NEWBURGER:                                     20· ·ability to testify?
21· · · · Q.· · It was settled?                            21· · · · A.· · No.
22· · · · A.· · Yes, it was settled.                       22· · · · Q.· · Any other health issues?
23· · · · Q.· · Okay.· But you never testified in that     23· · · · A.· · No.
24· ·case.                                                 24· · · · Q.· · Is there any medication that you
                                                Page 14                                                    Page 16
·1· · · · A.· · No.                                        ·1· ·normally would take that you didn't take because
·2· · · · Q.· · Other than that case, have you ever been   ·2· ·you were going to give your deposition today?
·3· ·a party to a lawsuit besides this one?                ·3· · · · A.· · No.
·4· · · · A.· · No.                                        ·4· · · · Q.· · And is there any other thing that would
·5· · · · Q.· · And who was that case against?             ·5· ·affect your ability to testify today and be able to
·6· · · · A.· · Podesta (phonetic).· Get the name right.   ·6· ·remember things well and testify accurately?
·7· ·Podesta Rehabilitation Center.· Podesta.              ·7· · · · A.· · No.
·8· · · · Q.· · P-o-d-e-s-t-a?                             ·8· · · · Q.· · Have you ever served in the military?
·9· · · · A.· · B-e-t-h.                                   ·9· · · · A.· · No.
10· · · · Q.· · Oh, Bethesda.                              10· · · · Q.· · And I apologize for this.· Your lawyer
11· · · · A.· · Bethesda Rehabilitation Center.            11· ·will tell you it's a standard question, but I
12· · · · Q.· · Okay.· And they're in Chicago?             12· ·always feel guilty asking it.
13· · · · A.· · Yes.                                       13· · · · A.· · It's okay.
14· · · · Q.· · How's your health today?                   14· · · · Q.· · Other than a parking ticket, have you
15· · · · A.· · Suffering.                                 15· ·ever been charged with a crime?
16· · · · Q.· · I'm sorry to hear that.· Are you sick      16· · · · A.· · No.
17· ·or --                                                 17· · · · Q.· · Okay.· Thank you.· I apologize.· It
18· · · · A.· · Bad back.· Really bad.                     18· ·always feels disrespectful and I don't mean to be.
19· · · · Q.· · I'm very sorry to hear that.· If you       19· · · · A.· · It's okay.
20· ·need to take breaks to get up and stretch your back   20· · · · Q.· · Where do you work?
21· ·and relieve any pressure on your back, please tell    21· · · · A.· · I'm not working.
22· ·me and I'll be sure we do that, okay?                 22· · · · Q.· · When did you last work?
23· · · · A.· · Okay.                                      23· · · · A.· · 2007.
24· · · · Q.· · I'd rather take an extra 20, 30 minutes    24· · · · Q.· · And what was your job then?


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·1· · · · A.· · CNA.                                       ·1· · · · MR. NEWBURGER:· A lie on her.
·2· · · · Q.· · Excuse me?                                 ·2· · · · THE REPORTER:· If you could just talk louder,
·3· · · · A.· · Certified nurse assistant.                 ·3· ·I think it would make it easier for me.· Thank you.
·4· · · · Q.· · CNA.· Okay.· And where were you doing      ·4· · · · THE WITNESS:· I'm sorry.
·5· ·that job?                                             ·5· ·BY MR. NEWBURGER:
·6· · · · A.· · What did I do?                             ·6· · · · Q.· · And that's when you went to work for
·7· · · · Q.· · Where did you work in that job in 2007?    ·7· ·Bethesda?
·8· · · · A.· · Bethesda Rehabilitation Center.            ·8· · · · A.· · Yes.· No, not -- did I go to Bethesda
·9· · · · Q.· · And why did you leave that job?            ·9· ·first?· No.· I went to the hospital, Resurrection
10· · · · A.· · I needed surgery.· I had an incident and   10· ·Hospital, before I went to Bethesda.
11· ·I needed surgery for my ankle.                        11· · · · Q.· · And where's Resurrection?
12· · · · Q.· · You got hurt on the job?                   12· · · · A.· · Diversey and Central.
13· · · · A.· · Yes.                                       13· · · · Q.· · Here in Chicago?
14· · · · Q.· · What happened?                             14· · · · A.· · Yes.
15· · · · A.· · I was doing a patient and I had injured    15· · · · Q.· · And you were a CNA there too?
16· ·my ankle a long time ago and then it affected it,     16· · · · A.· · Yes.
17· ·the way I was positioned doing my patient.            17· · · · Q.· · And how long did you -- during what
18· · · · Q.· · That's one of those unfortunate things     18· ·period did you work at Resurrection?
19· ·that happens in that job, isn't it?                   19· · · · A.· · Wow.· It was in between 2004 I think.
20· · · · A.· · Yeah.                                      20· ·It was a short period of time.
21· · · · Q.· · So have you been disabled since then?      21· · · · Q.· · And --
22· · · · A.· · Yes.                                       22· · · · A.· · 2000.· I can't remember exactly what
23· · · · Q.· · And is disability income your main         23· ·year, but it was a very short time because I had
24· ·source of income?                                     24· ·got ill.· And when they would go back in time and
                                                Page 18                                                    Page 20
·1· · · · A.· · Yes.                                       ·1· ·they terminated me from there from not being able
·2· · · · Q.· · How long did you work for Bethesda as a    ·2· ·to come back in time, 12 weeks.
·3· ·certified nursing assistant?                          ·3· · · · Q.· · So you were out for an extended illness
·4· · · · A.· · Since 1999.                                ·4· ·and then terminated because you couldn't recover
·5· · · · Q.· · So you worked there continuously that      ·5· ·fast enough?
·6· ·whole time up until you got hurt?                     ·6· · · · A.· · Right.
·7· · · · A.· · No.· I was working at Norridge first.      ·7· · · · Q.· · So after that how long until you went
·8· · · · Q.· · Where is that?· Could you spell that?      ·8· ·back to work?
·9· · · · A.· · Norridge.· N-o-r-w-b-i-g, something like   ·9· · · · A.· · Right after I got better.
10· ·that.                                                 10· · · · Q.· · And is that when you went to Bethesda?
11· · · · Q.· · And where is that located?                 11· · · · A.· · Yes.
12· · · · A.· · In -- it's in Norridge, Illinois.          12· · · · Q.· · About year would that have been?
13· · · · Q.· · Okay.· And what did you do there?          13· · · · A.· · Had to be 2004 or '05.· 2006.
14· · · · A.· · CNA.                                       14· · · · Q.· · And then you stayed at Bethesda until
15· · · · Q.· · So when did you work there?                15· ·you got hurt.
16· · · · A.· · In -- 1999 to 2003.                        16· · · · A.· · Um-hum.
17· · · · Q.· · So why did you leave that job?             17· · · · Q.· · So have we covered every place --
18· · · · A.· · Terminated.                                18· · · · A.· · I'm sorry.· Yes.
19· · · · Q.· · I'm sorry.                                 19· · · · Q.· · -- every place you've worked since 2000?
20· · · · A.· · On my day off.                             20· · · · A.· · Yes.
21· · · · Q.· · Did they give you any reason?              21· · · · Q.· · No other part-time jobs in there with
22· · · · A.· · Someone told (inaudible) --                22· ·all that?
23· · · · THE REPORTER:· Someone told?                     23· · · · A.· · Yes.
24· · · · THE WITNESS:· A lie.                             24· · · · Q.· · Where else did you work?


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JEANETTE AKINS                                                                                  January 24, 2018
CENTENO vs LVNV FUNDING                                                                                   21–24
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·1· · · · A.· · I did home health care in '96 all the          ·1· · · · A.· · Wells.
·2· ·way to '98.                                               ·2· · · · Q.· · Here in Chicago?
·3· · · · Q.· · But since 2000, have you had any               ·3· · · · A.· · Yes.
·4· ·part-time jobs or just the jobs you told me?              ·4· · · · Q.· · And since college, other than getting
·5· · · · A.· · Since 2000?                                    ·5· ·your CNA certification, have you got any other
·6· · · · Q.· · Yes.                                           ·6· ·formal education?
·7· · · · A.· · No, I had jobs before then.                    ·7· · · · A.· · No.
·8· · · · Q.· · Okay.· But since then.                         ·8· · · · Q.· · Any other specialized certifications or
·9· · · · A.· · No.                                            ·9· ·trainings besides certified nursing assistant?
10· · · · Q.· · You've told me everything, right?              10· · · · A.· · No.
11· · · · A.· · Right.                                         11· · · · Q.· · Have you discussed this case with anyone
12· · · · Q.· · Okay.· What was the lie someone told           12· ·other than your lawyers?
13· ·about you to get you fired at Resurrection?               13· · · · A.· · No.
14· · · · A.· · What you say?                                  14· · · · Q.· · No family or friends you've told about
15· · · · Q.· · You said someone told a lie on you to          15· ·it?
16· ·get you fired at Resurrection?                            16· · · · A.· · No.
17· · · · A.· · (Inaudible).· No, at Norridge.                 17· · · · Q.· · Are you married?
18· · · · Q.· · At Norridge.· What was the lie someone         18· · · · A.· · Yes.
19· ·told?                                                     19· · · · Q.· · Talked about it with your spouse?
20· · · · A.· · What was the lie?                              20· · · · A.· · No.
21· · · · Q.· · Yes.                                           21· · · · Q.· · How about children?
22· · · · A.· · The person that kept the time, she told        22· · · · A.· · No.
23· ·them that I told them that I was going to blow the        23· · · · Q.· · Don't talk about it with any kids?
24· ·place up.                                                 24· · · · A.· · No.

                                                     Page 22                                                   Page 24
·1· · · · Q.· · Did you file for unemployment when they        ·1· · · · Q.· · All right.· Let's talk about this case a
·2· ·fired you?                                                ·2· ·little bit.· How's that?
·3· · · · A.· · Unemployment, no.· What happened is I          ·3· · · · A.· · Okay.
·4· ·had got injured there at Norridge, and they was           ·4· · · · Q.· · We'll try to get it moving and see if we
·5· ·being mean and I had filed a complaint against them       ·5· ·can get you out of here.
·6· ·for discrimination.                                       ·6· · · · · · · · · (WHEREUPON, a certain document was
·7· · · · Q.· · So what came of that?                          ·7· · · · · · · · · ·marked Consolidated Deposition
·8· · · · A.· · It was settled.                                ·8· · · · · · · · · ·Exhibit No. 13, for identification,
·9· · · · Q.· · Did you have to file a lawsuit?                ·9· · · · · · · · · ·as of 01/24/2018.)
10· · · · A.· · No.                                            10· ·BY MR. NEWBURGER:
11· · · · Q.· · Just that EEOC claim?                          11· · · · Q.· · The court reporter has handed you what
12· · · · A.· · Yes.· That's when they retaliated.             12· ·is marked as Exhibit 13.· Is that a document you
13· ·That's when the lie was told that I said that I was       13· ·recognize?
14· ·going to blow the place up.· I don't know anything        14· · · · A.· · Yes.
15· ·about any bombs, tell nobody I was going to blow no       15· · · · Q.· · Have you seen that before today?
16· ·place up.                                                 16· · · · A.· · Yes.
17· · · · Q.· · I'm sorry.· Can you tell me what --            17· · · · Q.· · When did you first see it?
18· ·what's your highest level of education?                   18· · · · A.· · I can't remember when I first saw it. I
19· · · · A.· · Twelve.                                        19· ·remember it sucks.
20· · · · Q.· · And --                                         20· · · · Q.· · Did you see it before the lawsuit got
21· · · · A.· · High school diploma.                           21· ·filed?
22· · · · Q.· · Excuse me?                                     22· · · · A.· · Yeah.· Yes.
23· · · · A.· · High school diploma.                           23· · · · Q.· · Did you read it to make sure it was
24· · · · Q.· · And where was that?                            24· ·accurate?


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CENTENO vs LVNV FUNDING                                                                                  25–28
                                                Page 25                                                          Page 27
·1· · · · A.· · Yes.                                       ·1· ·statements that were sent to you?
·2· · · · Q.· · And was it?                                ·2· · · · MS. MC CURDY:· He's just asking are these --
·3· · · · A.· · Yes.                                       ·3· ·did Credit One send you these bank statements.· Do
·4· · · · Q.· · Okay.· So -- give me one moment.· If you   ·4· ·you recognize these?· You know how they send you
·5· ·would, please turn to Paragraph 17.· That's on Page   ·5· ·statements every month in the mail?
·6· ·Number 3.· And if you look at the upper right         ·6· · · · THE WITNESS:· Uh-huh.
·7· ·corner here, you'll see the page numbers.· So that    ·7· · · · MS. MC CURDY:· These are -- he's saying that
·8· ·helps a little bit.                                   ·8· ·these are some of your statements --
·9· · · · MS. MC CURDY:· Did you say 17?                   ·9· · · · THE WITNESS:· Yes.
10· · · · MR. NEWBURGER:· Paragraph 17.                    10· · · · MS. MC CURDY:· -- that you would have gotten
11· · · · MS. MC CURDY:· Yeah, right here.                 11· ·in the mail.
12· ·BY MR. NEWBURGER:                                     12· · · · THE WITNESS:· Yes.
13· · · · Q.· · Do you see that?                           13· ·BY MR. NEWBURGER:
14· · · · A.· · Yes.                                       14· · · · Q.· · In fact, let's break it up because there
15· · · · Q.· · It says, "According to defendants,         15· ·actually may be a better way to get there.
16· ·plaintiff incurred an alleged debt for goods and      16· · · · · · · So you applied for the Credit One --
17· ·services used for personal purposes originally for    17· · · · A.· · Yes.
18· ·a Credit One bank consumer debt -- excuse me --       18· · · · Q.· · -- credit card, right?
19· ·consumer credit account alleged debt."· Did I read    19· · · · · · · And they issued a card in your name,
20· ·that right?                                           20· ·right?
21· · · · A.· · Yes.                                       21· · · · A.· · Right.
22· · · · Q.· · So you did incur a Credit One debt,        22· · · · Q.· · And you used that card.
23· ·correct?                                              23· · · · A.· · Yes.
24· · · · A.· · Yes.                                       24· · · · Q.· · And when you used it, they sent you

                                                Page 26                                                        Page 28
·1· · · · · · · · · (WHEREUPON, a certain document was     ·1· ·bills each month, right?
·2· · · · · · · · · ·marked Consolidated Deposition        ·2· · · · A.· · Yes.
·3· · · · · · · · · ·Exhibit No. 14, for identification,   ·3· · · · Q.· · Okay.· So can you recognize these to be
·4· · · · · · · · · ·as of 01/24/2018.)                    ·4· ·copies of the bills that you got on your account?
·5· ·BY MR. NEWBURGER:                                     ·5· · · · A.· · Yes.
·6· · · · Q.· · That's for you to look at.· That's         ·6· · · · Q.· · All right.· Now, do you understand how
·7· ·Exhibit 14 the court reporter's just handed you.      ·7· ·credit card accounts work?
·8· ·Do you recognize this document?                       ·8· · · · A.· · Somewhat.
·9· · · · A.· · Somewhat, yes.                             ·9· · · · Q.· · All right.· So basically you know you
10· · · · Q.· · If you look at the bottom, it's got your   10· ·use your card someplace like a store --
11· ·name on it, right?                                    11· · · · A.· · Yes.
12· · · · A.· · Yes.                                       12· · · · Q.· · -- and you charge it, and then the bank
13· · · · Q.· · And that's your address, right?            13· ·pays the store your charges and then that's how
14· · · · A.· · Yes.                                       14· ·they extend credit to you.
15· · · · Q.· · And at the top it's got your account       15· · · · A.· · I understand that much.
16· ·number, right?                                        16· · · · Q.· · They bill you and you pay them, right?
17· · · · A.· · Yes.                                       17· · · · A.· · Yes.
18· · · · Q.· · These are copies of -- you might want to   18· · · · Q.· · Kind of a triangle the way it works.
19· ·flip through it and just be sure you see what all     19· · · · A.· · Right.
20· ·is there, but these are copies of bank statements     20· · · · Q.· · All right.· So you used the card to make
21· ·on the account that you opened with Credit One,       21· ·purchases, right?
22· ·right?                                                22· · · · A.· · Yes.
23· · · · A.· · Right.                                     23· · · · Q.· · And, first of all, you're a nice lady;
24· · · · Q.· · Do you recognize these as copies of        24· ·you opened this account in good faith, didn't you?


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·1· · · · A.· · Yes.                                       ·1· · · · Q.· · So when you had the account with Credit
·2· · · · Q.· · And when you used the card, you used it    ·2· ·One and you got the billing statements every month,
·3· ·in good faith, didn't you?                            ·3· ·is there ever a time that you disputed one of your
·4· · · · A.· · Yes.                                       ·4· ·billing statements?
·5· · · · Q.· · Every time you used your card, you         ·5· · · · A.· · Yes.· I think so, yes.
·6· ·intended to pay for what you bought, didn't you?      ·6· · · · Q.· · Do you know how you disputed the
·7· · · · A.· · Yes.                                       ·7· ·statement?
·8· · · · Q.· · There's not a single time you ever used    ·8· · · · A.· · I talked to someone on the phone.· I'm
·9· ·this credit card that you used it with the            ·9· ·not sure.· I can't remember.
10· ·intention not to pay for your purchases, is there?    10· · · · Q.· · Did you ever write them a letter?
11· · · · A.· · No.                                        11· · · · A.· · I think so.
12· · · · Q.· · There wasn't a single time you ever used   12· · · · Q.· · You do or you don't think so?
13· ·this card with a fraudulent intent, was there?        13· · · · A.· · I think so.
14· · · · A.· · No.                                        14· · · · Q.· · Do you remember when that would have
15· · · · Q.· · You wouldn't do that, would you?           15· ·been?
16· · · · A.· · No.                                        16· · · · A.· · No.
17· · · · Q.· · Now, there is a time when you defaulted    17· · · · Q.· · Do you remember what the dispute was
18· ·on the card, right?                                   18· ·about?
19· · · · A.· · Yes.                                       19· · · · A.· · The payment.
20· · · · Q.· · Was that because you were on disability    20· · · · Q.· · Did they get it taken care of?
21· ·and out of work?                                      21· · · · A.· · I don't know.· I don't know.· I never
22· · · · A.· · Yes.                                       22· ·heard back from them again.
23· · · · Q.· · And you would rather not defaulted,        23· · · · Q.· · How long was that before the account got
24· ·wouldn't you?                                         24· ·charged off, do you remember?

                                                Page 30                                                    Page 32
·1· · · · A.· · What you say?                              ·1· · · · A.· · No.
·2· · · · Q.· · I said you would rather not have           ·2· · · · Q.· · So a few years before, you think?
·3· ·defaulted, right?                                     ·3· · · · A.· · It could have been.
·4· · · · A.· · Right.                                     ·4· · · · Q.· · And after that you made your payments,
·5· · · · Q.· · In fact, you'd rather have been able to    ·5· ·right?
·6· ·keep the card and keep using it, wouldn't you?        ·6· · · · A.· · Yes.
·7· · · · A.· · Yes.                                       ·7· · · · Q.· · You wanted to pay your bill.
·8· · · · Q.· · And if you could have paid the debt, you   ·8· · · · A.· · Yes.
·9· ·would, wouldn't you?                                  ·9· · · · Q.· · Other than that one phone call, can you
10· · · · A.· · Yes.                                       10· ·remember any other time when you disputed any
11· · · · Q.· · That's because you knew you owed it,       11· ·charges on your account?
12· ·right?                                                12· · · · A.· · Not that I can remember.
13· · · · A.· · Yes.                                       13· · · · Q.· · Now, do you remember getting any
14· · · · Q.· · Even today, if you could pay it, you       14· ·correspondence from LVNV or Resurgent?
15· ·would, wouldn't you?                                  15· · · · A.· · Yes.
16· · · · A.· · Yes.                                       16· · · · Q.· · How many letters did you get, do you
17· · · · Q.· · And that's because you know you owe it.    17· ·remember?
18· · · · A.· · Yes.                                       18· · · · A.· · One.
19· · · · Q.· · And it's your injuries that keep you       19· · · · Q.· · And was that from LVNV or Resurgent?
20· ·from being able to pay, correct?                      20· · · · A.· · LVNV.
21· · · · A.· · Yes.                                       21· · · · Q.· · Did you ever get any letters from
22· · · · Q.· · That's what keeps you out of work,         22· ·Resurgent?
23· ·correct?                                              23· · · · A.· · Not that I know of.
24· · · · A.· · Yes.                                       24· · · · Q.· · And where is that letter?· What did you


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                                                Page 33                                                    Page 35
·1· ·do with it?                                         ·1· · · · Q.· · Okay.· Now, have you dealt with other
·2· · · · A.· · Somewhere at home I think.               ·2· ·bill collectors?
·3· · · · Q.· · So you think you've still got it?        ·3· · · · A.· · Have I?
·4· · · · A.· · I think.· I'm not sure.· I have papers   ·4· · · · Q.· · Yes.
·5· ·everywhere, so --                                   ·5· · · · A.· · Yes.
·6· · · · Q.· · Did you do anything when you got that    ·6· · · · Q.· · Have some of them been mean?
·7· ·letter?· Did you write back to them?                ·7· · · · A.· · Pretty much.
·8· · · · A.· · I got in contact with community service. ·8· · · · Q.· · Disrespectful?
·9· · · · Q.· · Community Law Group?                     ·9· · · · A.· · Yes.
10· · · · A.· · Yes.                                     10· · · · Q.· · Just downright rude?
11· · · · Q.· · But other than contacting Community Law  11· · · · A.· · Yes.
12· ·Group, did you send any correspondence to Resurgent 12· · · · Q.· · But you haven't talked to anyone at LVNV
13· ·or LVNV about your debt?                            13· ·or Resurgent, so they haven't been mean to you,
14· · · · A.· · No.                                      14· ·have they?
15· · · · Q.· · And you never called them, correct?      15· · · · A.· · No, I haven't talked to them.
16· · · · A.· · Correct.                                 16· · · · Q.· · They haven't been rude to you, have
17· · · · Q.· · In fact, you've never spoken to either   17· ·they?
18· ·one.                                                18· · · · A.· · No.
19· · · · A.· · No.                                      19· · · · Q.· · They haven't been disrespectful to you,
20· · · · Q.· · You didn't write them and say I dispute  20· ·have they?
21· ·the debt.                                           21· · · · A.· · Not that I recall, no.
22· · · · A.· · No.· I told them --                      22· · · · Q.· · Good.· I just want to make sure.· And
23· · · · Q.· · Don't tell me what you told your         23· ·why did you decide to take the letter from LVNV to
24· ·lawyers.                                            24· ·Community Law Group?

                                                Page 34                                                    Page 36
·1· · · · A.· · It's hard to remember.· My memory sucks.   ·1· · · · A.· · Because I didn't (inaudible).
·2· · · · Q.· · I just want to be clear.· I'm not asking   ·2· · · · THE REPORTER:· I'm sorry.· I'm sorry.· Can you
·3· ·you what you told your lawyers.· That wouldn't be     ·3· ·start again?· Because I didn't?
·4· ·right.                                                ·4· ·BY THE WITNESS:
·5· · · · · · · So other than what you told your           ·5· · · · A.· · I didn't want to mess my credit up.
·6· ·lawyers, you never did anything to tell Resurgent     ·6· ·BY MR. NEWBURGER:
·7· ·or LVNV that you disputed the debt, right?            ·7· · · · Q.· · Now, how many accounts do you have that
·8· · · · A.· · Right.                                     ·8· ·went into collections, do you know?
·9· · · · Q.· · And you never wrote them and said send     ·9· · · · A.· · No.
10· ·me information about the debt, right?                 10· · · · Q.· · Are you still getting calls or letters
11· · · · A.· · No.                                        11· ·from collection agencies?
12· · · · Q.· · No, you didn't?                            12· · · · A.· · No.
13· · · · A.· · Right.· Right.                             13· · · · Q.· · Have you paid off any of the accounts
14· · · · Q.· · You never wrote them and said I want --    14· ·that went into collections?
15· ·I'm going to use a couple legal words.· You never     15· · · · A.· · (Inaudible.)
16· ·wrote and said I want verification of the debt,       16· · · · THE REPORTER:· I'm sorry?
17· ·right?                                                17· ·BY THE WITNESS:
18· · · · A.· · Did I ever do that?                        18· · · · A.· · I really can't remember any of them that
19· · · · Q.· · Right.                                     19· ·went into collections.
20· · · · A.· · No.                                        20· ·BY MR. NEWBURGER:
21· · · · Q.· · You never -- I'm going to use one more     21· · · · Q.· · Can you recall any account that went
22· ·legal term.· You never wrote and said could I have    22· ·into collections that you actually paid?
23· ·validation of the debt.                               23· · · · A.· · No, I can't remember.
24· · · · A.· · No.                                        24· · · · Q.· · So besides the Credit One account that


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·1· ·got charged off and sold, what other accounts do            ·1· · · · THE WITNESS:· No.
·2· ·you have that went into collections?                        ·2· · · · MS. MC CURDY:· No.
·3· · · · A.· · None that I can remember.                        ·3· ·BY MR. NEWBURGER:
·4· · · · Q.· · So what were the circumstances where you         ·4· · · · Q.· · So you didn't even know this particular
·5· ·talked to other bill collectors?                            ·5· ·letter existed.· You knew you had a lawsuit, right?
·6· · · · A.· · They been getting me mixed up with my            ·6· · · · A.· · Right.
·7· ·daughter.· Her name is Janet, my name is Jeanette,          ·7· · · · Q.· · But you didn't know this letter existed,
·8· ·so they call.                                               ·8· ·right?
·9· · · · Q.· · Does she live with you?                          ·9· · · · A.· · Right.
10· · · · A.· · She used to.                                     10· · · · Q.· · No, you didn't?
11· · · · Q.· · So you get all of her collection calls?          11· · · · A.· · No.
12· · · · A.· · Yes.                                             12· · · · Q.· · So let's take a look at the letter.
13· · · · Q.· · Now, when up became disabled, did you            13· ·See, there's a first big paragraph there.· It says,
14· ·have other accounts that went into default?                 14· ·starting at the end of the second line, "This
15· · · · A.· · No.                                              15· ·client regrets not being able to pay."· That's
16· · · · Q.· · Was this your only credit card account?          16· ·true, isn't it?
17· · · · A.· · Yes.                                             17· · · · A.· · Yes.
18· · · · Q.· · Did you have any loans that went into            18· · · · Q.· · You do regret not being able to pay.
19· ·default?                                                    19· · · · A.· · Yes.
20· · · · A.· · No.                                              20· · · · Q.· · Because you told me you would if you
21· · · · Q.· · Did you have any loans?                          21· ·could because you know you owe it, right?
22· · · · A.· · No.                                              22· · · · A.· · That's right.
23· · · · Q.· · Let me ask you, if you would, please, to         23· · · · Q.· · It says, "However, at this time they are
24· ·turn to -- if you look on Exhibit 13, you'll see            24· ·insolvent as their monthly expenses exceed the
                                                       Page 38                                                            Page 40
·1· ·there's a bunch of exhibits that come after the             ·1· ·amount of income they receive."· Is that true?
·2· ·complaint.                                                  ·2· · · · A.· · Yes.
·3· · · · MS. MC CURDY:· In the back.                            ·3· · · · Q.· · So what's your monthly income?
·4· ·BY MR. NEWBURGER:                                           ·4· · · · A.· · $409.
·5· · · · Q.· · In the back of it.                               ·5· · · · Q.· · And what do your monthly expenses run?
·6· · · · A.· · This one?                                        ·6· · · · A.· · Way over that amount.
·7· · · · MS. MC CURDY:· Yeah.· I think it's the next            ·7· · · · Q.· · Excuse me?
·8· ·page before.· You're going to the letter.                   ·8· · · · A.· · Way over that amount.
·9· · · · MR. NEWBURGER:· Yes.· Exhibit E.                       ·9· · · · Q.· · So are you falling further and further
10· · · · MS. MC CURDY:· Exhibit E, yeah.                        10· ·behind in debt every month?
11· ·BY MR. NEWBURGER:                                           11· · · · A.· · No.
12· · · · Q.· · And I'm going to ask you to take just a          12· · · · Q.· · So how are you paying the difference?
13· ·minute to look at that exhibit and read through it.         13· · · · A.· · My husband.
14· ·Do you recognize Exhibit E?                                 14· · · · Q.· · So what does he do for a living?
15· · · · A.· · Yes.                                             15· · · · A.· · He's a car parker attendant, manager.
16· · · · Q.· · When did you first see it?                       16· · · · Q.· · And does he make enough money to cover
17· · · · A.· · Today.                                           17· ·all the expenses?
18· · · · Q.· · So prior to today, you've never seen             18· · · · A.· · Pretty much, yes.
19· ·Exhibit E to the complaint.                                 19· · · · Q.· · So when all is said and done, you
20· · · · A.· · Right.                                           20· ·actually manage between the two of you to have more
21· · · · Q.· · You didn't even know it existed, did             21· ·than your expenses each month?
22· ·you?                                                        22· · · · A.· · What you say now?
23· · · · A.· · Yes.· I think so.                                23· · · · Q.· · By the time all is said and done, do the
24· · · · MS. MC CURDY:· Had you seen this before today? 24· ·two of you together make more than your monthly


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CENTENO vs LVNV FUNDING                                                                                 41–44
                                                 Page 41                                                       Page 43
·1· ·expenses?                                             ·1· ·that LVNV purchased the debt.· Why did you say that
·2· · · · A.· · Yes.                                       ·2· ·if you dispute it?
·3· · · · Q.· · Okay.· So you're not falling behind        ·3· · · · A.· · I don't understand the question.
·4· ·every month.                                          ·4· · · · Q.· · Okay.· Let me try --
·5· · · · A.· · No.                                        ·5· · · · MS. MC CURDY:· Don't worry.· He'll rephrase.
·6· · · · Q.· · In fact, you've probably got some money    ·6· ·BY MR. NEWBURGER:
·7· ·left over to spend for things, right?                 ·7· · · · Q.· · So you understand your account was with
·8· · · · A.· · Well, we separate.· I use my money for     ·8· ·Credit One.
·9· ·my part when I pay at the home.· He pay the rest.     ·9· · · · A.· · Right.
10· ·We're not (inaudible).                                10· · · · Q.· · And then when it got defaulted and you
11· · · · THE REPORTER:· We're not what?                   11· ·got what they call charged off, they sold your
12· ·BY THE WITNESS:                                       12· ·account.· Do you understand that?
13· · · · A.· · We're not in tune when it comes to         13· · · · A.· · Kind of, yes.
14· ·finances.· I try to do whatever I can by myself.      14· · · · Q.· · Okay.· So you understand LVNV now owns
15· ·BY MR. NEWBURGER:                                     15· ·your account.
16· · · · Q.· · Okay.· Let's go back and look at some      16· · · · A.· · They do?· Yes.
17· ·more of the complaint.· Go back to Page 3.· If you    17· · · · Q.· · Okay.· That's not something that we're
18· ·see Paragraph 18, it says, "Due to his financial      18· ·fighting over in this case, right?
19· ·circumstances, plaintiff could not pay any debts      19· · · · A.· · Yes.
20· ·and the alleged debt went into default."              20· · · · Q.· · Even your lawsuit says they own it,
21· · · · · · · Any idea why your lawyers used the word    21· ·right?
22· ·his when they're referring to you?                    22· · · · A.· · Yes.
23· · · · MS. MC CURDY:· Objection, speculation.           23· · · · Q.· · Okay.· So we agree on that piece.
24· ·BY MR. NEWBURGER:                                     24· · · · A.· · Yes.

                                                 Page 42                                                       Page 44
·1· · · · Q.· · Do you know?                             ·1· · · · Q.· · Okay, good.· Let's go down to
·2· · · · A.· · No.                                      ·2· ·Paragraph 20.· It says, "In response to collection
·3· · · · Q.· · Had they met with you at the time this   ·3· ·attempts by defendants" -- let me just stop there.
·4· ·complaint was drafted?                              ·4· ·There was only one collection attempt because there
·5· · · · A.· · Yes.                                     ·5· ·was only one letter and no phone calls, right?
·6· · · · Q.· · So they knew you were a woman, right?    ·6· · · · A.· · Right.
·7· · · · A.· · Yes.                                     ·7· · · · Q.· · Okay.· It says, "In response to
·8· · · · Q.· · All right.· So Paragraph 19 says, "LVNV  ·8· ·collection attempts by defendants, plaintiff
·9· ·subsequently purchased the alleged debt and through ·9· ·consulted with the attorneys at Community Lawyers
10· ·its servicer Resurgent began collecting the alleged 10· ·Group, Limited, who on June 7, 2017 sent a letter
11· ·debt of plaintiff."                                 11· ·to LVNV indicating that the plaintiff disputed the
12· · · · · · · So to be clear, you don't dispute that   12· ·alleged debt."· And it refers to Exhibit E.
13· ·LVNV owns your Credit One account, right?           13· · · · · · · Now, first of all, how did you find
14· · · · A.· · What you say now?                        14· ·Community Law Group?· How did you know to go to
15· · · · Q.· · Paragraph 19, it says, "LVNV             15· ·them?
16· ·subsequently purchased the alleged debt."· Do you   16· · · · A.· · I had letters in the mail, different
17· ·see that?                                           17· ·people be sending different letters and stuff.
18· · · · A.· · Yes.                                     18· · · · Q.· · So they sent you solicitation to have
19· · · · Q.· · Okay.· So you don't dispute that LVNV    19· ·you hire them?
20· ·owns your account, right?                           20· · · · A.· · Yes, I think so.
21· · · · A.· · Yes, I do.                               21· · · · Q.· · And do you know how they got your name?
22· · · · Q.· · You do dispute that?                     22· · · · A.· · No.
23· · · · A.· · Yes.· I dispute that, right?             23· · · · Q.· · Were you being sued in state court by
24· · · · Q.· · Well, you told the judge in your lawsuit 24· ·any of your creditors?


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                                                  Page 45                                                        Page 47
·1· · · · A.· · No.                                      ·1· · · · MS. MC CURDY:· Does it say the word amount
·2· · · · Q.· · So you don't know why it was that        ·2· ·anywhere in that sentence, like the amount of debt?
·3· ·Community Law Group contacted you and suggested you ·3· · · · THE WITNESS:· Right.
·4· ·hire them?                                          ·4· · · · MS. MC CURDY:· The word amount is physically
·5· · · · A.· · I contacted them.                        ·5· ·not in this sentence, right?
·6· · · · Q.· · Well, but you did it after you got       ·6· · · · THE WITNESS:· Right.
·7· ·advertisements from them, right?                    ·7· ·BY MR. NEWBURGER:
·8· · · · A.· · Yes.                                     ·8· · · · Q.· · Okay.· So what your lawsuit says is
·9· · · · Q.· · And you don't know what made them send   ·9· ·wrong then, correct?
10· ·you their advertisements.                           10· · · · A.· · It is?
11· · · · A.· · No.                                      11· · · · MS. MC CURDY:· Objection, calls for a legal
12· · · · Q.· · Okay.· If you look at Paragraph 22 on    12· ·opinion.
13· ·the next page, Page 4, it says, "Plaintiff's letter 13· ·BY MR. NEWBURGER:
14· ·stated in part that the amount reported is not      14· · · · Q.· · I'll try it differently.· When you tell
15· ·accurate."· Do you see that?                        15· ·someone the debt reported isn't accurate, you could
16· · · · A.· · Yes.                                     16· ·be telling them the credit reporting agency messed
17· · · · Q.· · Do me a favor and go over to Exhibit E,  17· ·up, couldn't you?
18· ·if you would.                                       18· · · · A.· · If -- say it again.
19· · · · MS. MC CURDY:· Back here again.                19· · · · Q.· · So when someone reads this letter and
20· ·BY MR. NEWBURGER:                                   20· ·they see it says the debt reported isn't accurate,
21· · · · Q.· · That's the letter.· And if you look --   21· ·that could be saying that the credit reporting
22· ·again, it would be the fourth line down, about a    22· ·agency has got something wrong, couldn't it?
23· ·third of the way over, it says, "And the debt       23· · · · A.· · The credit report?
24· ·reported on the credit report is not accurate."· Do 24· · · · Q.· · Yes.

                                                  Page 46                                                      Page 48
·1· ·you see that?                                          ·1· · · · A.· · Could, I guess so.
·2· · · · A.· · Yes.                                        ·2· · · · Q.· · A reasonable person could read it that
·3· · · · Q.· · All right.· So your lawyers claim that      ·3· ·way, right?
·4· ·they said the amount reported is not accurate, but     ·4· · · · A.· · Right.
·5· ·they didn't actually say that, did they?               ·5· · · · Q.· · Could read it either way, right?
·6· · · · A.· · What you say?                               ·6· · · · A.· · Correct.
·7· · · · Q.· · The letter doesn't say the amount           ·7· · · · Q.· · Okay.· But this is the letter your
·8· ·reported, it says the debt reported isn't accurate,    ·8· ·lawyer wrote, and reasonable people could read it
·9· ·doesn't it?                                            ·9· ·two different ways.· That's what we agree on,
10· · · · A.· · Right.                                      10· ·correct?
11· · · · Q.· · So what's alleged in your complaint by      11· · · · A.· · Yes.
12· ·your lawyers isn't true, is it?                        12· · · · Q.· · Okay.
13· · · · A.· · Yes.                                        13· · · · · · · · · (WHEREUPON, there was a conference
14· · · · Q.· · It doesn't say the amount reported,         14· · · · · · · · · ·between the witness and counsel.)
15· ·which is what they say the letter says.· The letter    15· ·BY MR. NEWBURGER:
16· ·says something different, doesn't it?                  16· · · · Q.· · Yeah, I don't know if you want to go on
17· · · · A.· · I don't understand.                         17· ·or off the record, but I know you didn't write the
18· · · · Q.· · Do you see the word amount in that          18· ·letter.
19· ·sentence there on Exhibit E?                           19· · · · · · · To put it differently, it's not the
20· · · · MS. MC CURDY:· He's just asking if you look in    20· ·intention of my questions to suggest that you did
21· ·here, this sentence right there, debt reported is      21· ·something wrong in the way that letter is written.
22· ·not accurate.                                          22· ·I'm asking about the way your lawyer did it, not
23· ·BY MR. NEWBURGER:                                      23· ·saying you did it that way.
24· · · · Q.· · It doesn't say the amount reported.         24· · · · A.· · Oh.


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·1· · · · Q.· · In fact, you had nothing to do with that   ·1· ·My husband been complaining about me and my junk.
·2· ·letter, right?                                        ·2· · · · Q.· · So --
·3· · · · A.· · Right.                                     ·3· · · · A.· · I be a hoarder.
·4· · · · Q.· · You didn't pick the wording, right?        ·4· · · · Q.· · Have you looked to see if you've got
·5· · · · A.· · Right.                                     ·5· ·proof of any payments?
·6· · · · Q.· · You didn't draft it.                       ·6· · · · A.· · No.
·7· · · · A.· · Right.                                     ·7· · · · Q.· · If you did make payments, how would you
·8· · · · Q.· · You didn't approve it before it went       ·8· ·have made them, by check or by --
·9· ·out.                                                  ·9· · · · A.· · At that time, probably been a money
10· · · · A.· · Right.                                     10· ·order.· Probably would have been a money order,
11· · · · Q.· · Okay.· In fact, until today you've never   11· ·though.
12· ·seen that letter in your life, right?                 12· · · · Q.· · Let me ask you to look at Exhibit F on
13· · · · A.· · Right.                                     13· ·your complaint, if you would.· That's the last
14· · · · Q.· · Okay.· I just want to be clear.· I'm not   14· ·exhibit.· That's the credit report we're talking
15· ·suggesting anything different than that, okay?        15· ·about?
16· · · · · · · Now, when did you first obtain your        16· · · · A.· · I guess.· I don't know.
17· ·credit report pertinent to this case?                 17· · · · Q.· · All right.· And it shows a balance of
18· · · · A.· · I think it was -- I'm not sure exactly     18· ·$976, right?
19· ·what month, but I think it was May or June.           19· · · · A.· · Yes.
20· · · · Q.· · It was after you went and visited with     20· · · · Q.· · Now, I'm going to ask you to do me a
21· ·the lawyers, right?                                   21· ·favor.· Would you take a look at Exhibit 14. I
22· · · · A.· · Yes, I think so.                           22· ·believe that's the one with the bank statements.
23· · · · Q.· · And did you get the report or did they     23· · · · MS. MC CURDY:· This other one.
24· ·get it for you?                                       24· ·BY MR. NEWBURGER:

                                                Page 50                                                            Page 52
·1· · · · A.· · Did I get my report?                       ·1· · · · Q.· · Now, if you would, on Exhibit 14, go to
·2· · · · Q.· · Yes.· Did you --                           ·2· ·the next to last page.· And you see there at least
·3· · · · A.· · They had it.                               ·3· ·it's telling you that the amount you could end up
·4· · · · Q.· · They got it for you?                       ·4· ·owing is $978.· Do you see that?
·5· · · · A.· · Yes.                                       ·5· · · · · · · Look in the box for the example they
·6· · · · Q.· · So you signed a form to let them --        ·6· ·give you, but it's showing if you made no
·7· · · · A.· · Yes.                                       ·7· ·additional charges --
·8· · · · Q.· · -- get a copy of your credit report.       ·8· · · · A.· · Oh, right here.
·9· · · · A.· · Yes.                                       ·9· · · · Q.· · -- and pay off the account, do you see
10· · · · Q.· · Okay.· And just to be clear, the account   10· ·they showed you what the balance would become?
11· ·balance on your credit report, do you know that       11· · · · A.· · Um-hum.
12· ·that balance is wrong?                                12· · · · Q.· · All right.· Do you know if you made any
13· · · · A.· · Yes.                                       13· ·other payments after the date of this bill?
14· · · · Q.· · How do you know that?                      14· · · · A.· · I'm trying to remember.
15· · · · A.· · Because I thought I owed them $600.        15· · · · MS. MC CURDY:· So there's the date.
16· · · · Q.· · Well, have you made any payments on the    16· ·BY MR. NEWBURGER:
17· ·account since the bank charged it off?                17· · · · Q.· · This is the December 2015 statement.
18· · · · A.· · I think so.                                18· · · · A.· · I can't remember that far back.
19· · · · Q.· · Do you know when?                          19· · · · Q.· · You can't remember?
20· · · · A.· · No.                                        20· · · · A.· · No.
21· · · · Q.· · Do you have proof of any of those          21· · · · Q.· · Okay.· Have you ever paid any money to
22· ·payments?                                             22· ·Resurgent?
23· · · · A.· · I probably do, but I have to go through    23· · · · A.· · To who?
24· ·a lot of stuff to find them.· I'm so unorganized.     24· · · · Q.· · Resurgent.


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                                                     Page 53                                                   Page 55
·1· · · · A.· · Not that I know of, no.                        ·1· ·with that, do you?
·2· · · · Q.· · Ever pay any money to LVNV?                    ·2· · · · A.· · As far as Credit One?
·3· · · · A.· · No.                                            ·3· · · · Q.· · Well, no, as far as the nine -- there
·4· · · · Q.· · Ever pay any money to someone else on          ·4· ·was the 976 we see on the credit report.· If you
·5· ·behalf of LVNV?                                           ·5· ·take the Credit One balance and add the interest
·6· · · · A.· · No.                                            ·6· ·after the date Credit One charged off the account,
·7· · · · MS. MC CURDY:· Do you want a break?                  ·7· ·and if those numbers add up to 976, you don't
·8· ·BY MR. NEWBURGER:                                         ·8· ·dispute it in that event, do you?
·9· · · · Q.· · Do you need to take a break?                   ·9· · · · A.· · I don't understand.
10· · · · A.· · No.                                            10· · · · Q.· · Let me ask it differently.
11· · · · Q.· · We can do that.                                11· · · · MS. MC CURDY:· He'll rephrase it.
12· · · · A.· · I was asking her can she hear me.              12· ·BY MR. NEWBURGER:
13· · · · Q.· · Oh, okay.                                      13· · · · Q.· · I can see you're confused.· You agreed
14· · · · A.· · I'm okay.                                      14· ·to pay the card balance, right?
15· · · · Q.· · All right, if you're sure.· Now, you           15· · · · A.· · Yes.
16· ·understood that your card account accrued interest,       16· · · · Q.· · And with that you agreed to pay the
17· ·right?                                                    17· ·interest charges on the account, right?
18· · · · A.· · Yes.                                           18· · · · · · · Let's ask it a different way.· You
19· · · · Q.· · So you know that the balance from one          19· ·didn't think they were lending money -- that Credit
20· ·month was going to change to the next month even if       20· ·One was lending money to you for free, did you?
21· ·you made no new charges, right?                           21· · · · A.· · No.
22· · · · A.· · Yes.                                           22· · · · Q.· · You got credit card statements and you
23· · · · Q.· · Because you knew it accrued interest.          23· ·saw there was interest on those statements, right?
24· · · · A.· · Yes.                                           24· · · · A.· · Right.

                                                   Page 54                                                     Page 56
·1· · · · Q.· · Did you ever go in before you disputed         ·1· · · · Q.· · Okay.· And you knew that every month
·2· ·the debt and do a calculation of interest to figure       ·2· ·that you didn't pay, more interest accrued, right?
·3· ·out if the balance reported was accurate?                 ·3· · · · A.· · Right.
·4· · · · A.· · Not that I remember.                           ·4· · · · Q.· · Because that's part of the deal of
·5· · · · Q.· · So I know the balance isn't one you            ·5· ·having a credit card.· It's the burden we all
·6· ·recognize, but is it possible that the balance that       ·6· ·suffer with having credit cards, right?
·7· ·you see on the credit report is just the balance          ·7· · · · A.· · Right.
·8· ·that was last due plus the interest that accrued in       ·8· · · · Q.· · And so you agreed you were going to pay
·9· ·between?                                                  ·9· ·not only the charges but the interest on the
10· · · · MS. MC CURDY:· Objection, speculation.               10· ·charges, right?
11· ·BY MR. NEWBURGER:                                         11· · · · A.· · Yes.
12· · · · Q.· · You can go ahead and answer.                   12· · · · Q.· · All right.· So if -- I'm not asking you
13· · · · A.· · I'm not really sure.                           13· ·to agree they did the math right.· All I'm saying
14· · · · Q.· · You don't know if that's what happened,        14· ·is if it turns out when we get to trial that the
15· ·do you?                                                   15· ·Credit One balance plus the accrued interest totals
16· · · · A.· · No.                                            16· ·the 976 and the math is right, if that turns out to
17· · · · Q.· · But if that's all it is, you don't             17· ·be true, then you don't really have a dispute
18· ·dispute that, do you?                                     18· ·anymore, do you?
19· · · · A.· · I'm not sure if that's what it was.            19· · · · A.· · Correct.
20· · · · Q.· · I understand.· I'm not asking you to           20· · · · Q.· · Okay.
21· ·admit that.· All I'm saying is if the balance that        21· · · · A.· · I guess.
22· ·LVNV is reporting is the balance that was owed to         22· · · · Q.· · So it's not so much that you're
23· ·Credit One plus any interest that accrued after           23· ·disputing is that you don't know and you're trying
24· ·that and nothing else, you don't have any dispute         24· ·to find out, right?


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                                                Page 57                                                    Page 59
·1· · · · MS. MC CURDY:· Objection, speculation.· Sorry.   ·1· · · · A.· · Right.
·2· ·Go ahead.                                             ·2· · · · Q.· · Then they charged you what looks like a
·3· ·BY MR. NEWBURGER:                                     ·3· ·late fee of $43.25, didn't they?
·4· · · · Q.· · Let me ask it differently.· The real       ·4· · · · A.· · Yes.
·5· ·problem here is you don't understand the balance,     ·5· · · · Q.· · You were late, so you know that when you
·6· ·correct?· And you want someone to explain it to       ·6· ·were late you got charged late fees, right?
·7· ·you?                                                  ·7· · · · A.· · Yes.
·8· · · · MS. MC CURDY:· Objection, misstates prior        ·8· · · · Q.· · And that's part of your deal as well
·9· ·testimony.                                            ·9· ·with the bank.· That's what you agreed.· If I don't
10· ·BY MR. NEWBURGER:                                     10· ·pay on time, you can charge me a late fee, right?
11· · · · Q.· · Please answer.                             11· · · · A.· · Right.
12· · · · A.· · I understand pay interest, but I don't     12· · · · Q.· · And then you see there's interest of
13· ·understand how it got to that balance.                13· ·$12.10.· See that?
14· · · · Q.· · Well, let's look at some of your           14· · · · A.· · Yes.
15· ·statements, then.· So let's go back to Exhibit 14.    15· · · · Q.· · And, again, that's because you agreed to
16· ·Let's just look at the top statement.· I know these   16· ·pay interest on your balances, right?
17· ·aren't quite in order, but this is the order we got   17· · · · A.· · Yes.
18· ·them in.                                              18· · · · Q.· · All right.· So you add all those up and
19· · · · · · · The top statement is October 5th, 2015     19· ·that's how you got to the new balance which is
20· ·to November 4, 2015.· Do you see that?                20· ·$685.92, right?
21· · · · A.· · Yes.                                       21· · · · A.· · Right.
22· · · · Q.· · All right.· It tells you that your         22· · · · Q.· · So if I add the 43.25 and the 12.16 --
23· ·previous balance -- look on the box on the left       23· ·12.10, excuse me.· Forgive me, because lawyers
24· ·side -- was $630.57.· You see that, right?            24· ·shouldn't do math in public.· But if I add those up
                                               Page 58                                                      Page 60
·1· · · · MS. MC CURDY:· You have the wrong page.· It's ·1· ·right, it looks like that one month your balance
·2· ·the 630 right there.                               ·2· ·increased by $55.35 in just one month without you
·3· ·BY MR. NEWBURGER:                                   ·3· ·charging anything.
·4· · · · Q.· · Do you see that?                         ·4· · · · MS. MC CURDY:· Yeah, he's just adding up your
·5· · · · A.· · This?                                    ·5· ·interest and the fees plus what the balance was,
·6· · · · MS. MC CURDY:· Um-hum, yeah.· He's just asking ·6· ·and it added $55 to the balance pretty much.· These
·7· ·if you see this number right here where it says     ·7· ·two added 55 to make it this number.
·8· ·previous balance is 630.                            ·8· ·BY MR. NEWBURGER:
·9· · · · THE WITNESS:· Right.                           ·9· · · · Q.· · That's right, isn't it?
10· ·BY MR. NEWBURGER:                                   10· · · · A.· · Right.
11· · · · Q.· · So you see that it says your previous    11· · · · Q.· · All right.· So if you didn't make any
12· ·balance was $630.57?                                12· ·more payments after that, and if you had to pay the
13· · · · A.· · Yes.                                     13· ·late fee and the interest every single month, $55 a
14· · · · Q.· · And then it says you didn't make any     14· ·month would be $600 a year.· That would be a lot
15· ·payments that month, right?                         15· ·more than the difference between 700 and 900,
16· · · · A.· · Right.                                   16· ·wouldn't it?
17· · · · Q.· · And you didn't have any other credits    17· · · · A.· · Yes.
18· ·that month, right?                                  18· · · · Q.· · All right.· But even if you had just the
19· · · · A.· · Right.                                   19· ·interest, okay?
20· · · · Q.· · And there weren't any purchases that     20· · · · A.· · Yes.
21· ·month, right?                                       21· · · · Q.· · Twelve months times $12.10, that would
22· · · · A.· · Right.                                   22· ·be over $144.· That would be about $145 in a year,
23· · · · Q.· · There weren't any cash advances that     23· ·right?
24· ·month, right?                                       24· · · · A.· · Right.


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JEANETTE AKINS                                                                                        January 24, 2018
CENTENO vs LVNV FUNDING                                                                                         61–64
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·1· · · · Q.· · Okay.· And we're a couple of years since       ·1· · · · Q.· · Community Law Group.
·2· ·this statement, right?                                    ·2· · · · A.· · Yes.
·3· · · · A.· · Right.                                         ·3· · · · Q.· · Now, when did you first get that letter,
·4· · · · Q.· · Do you think it's possible that with           ·4· ·do you remember?
·5· ·interest you owe the balance on the credit report?        ·5· · · · A.· · No.· Sometime in June or May.· I'm not
·6· · · · MS. MC CURDY:· Objection, speculation.               ·6· ·sure.
·7· ·BY MR. NEWBURGER:                                         ·7· · · · Q.· · I thought you said May before.
·8· · · · Q.· · Please answer.                                 ·8· · · · A.· · May or June, one of those months, wasn't
·9· · · · A.· · Because of my hardship I would dispute         ·9· ·it?
10· ·it.                                                       10· · · · MS. MC CURDY:· Um-hum.
11· · · · MS. MC CURDY:· What was that?                        11· ·BY MR. NEWBURGER:
12· · · · THE WITNESS:· (Inaudible) I could dispute it,        12· · · · Q.· · And the letter that's at issue here,
13· ·right?                                                    13· ·Exhibit E, is dated June 28th.· Do you know if that
14· · · · MS. MC CURDY:· Well, yeah, you disputed it.          14· ·was sent before the month had passed from when you
15· ·BY MR. NEWBURGER:                                         15· ·got the letter from LVNV?
16· · · · Q.· · I'm just asking you agree it's possible        16· · · · A.· · Say it again.
17· ·that the number on the credit report could be             17· · · · Q.· · Do you know whether Exhibit E to your
18· ·right.                                                    18· ·complaint, that is the one sent on June 28th, do
19· · · · A.· · Could be.                                      19· ·you know if that was sent within 30 days of you
20· · · · Q.· · Okay.· And that's really what's going on       20· ·receiving LVNV's letter?
21· ·is you don't know that, right?                            21· · · · A.· · I think it was.
22· · · · A.· · Right.                                         22· · · · Q.· · Do you know?
23· · · · MS. MC CURDY:· Misstates prior testimony.            23· · · · A.· · I think it was.
24· ·Objection.                                                24· · · · MS. MC CURDY:· Want to take a break?· Is that

                                                     Page 62                                                              Page 64
·1· ·BY MR. NEWBURGER:                                         ·1· ·okay?
·2· · · · Q.· · Now, when LVNV sent you the collection         ·2· · · · MR. NEWBURGER:· No problem.
·3· ·letter you said you got, did you read the letter?         ·3· · · · · · · · · (WHEREUPON, a recess was had.)
·4· · · · A.· · Somewhat.                                      ·4· · · · MR. NEWBURGER:· Would you read back the last
·5· · · · Q.· · So do you remember the letter told you         ·5· ·question?
·6· ·that if you write to us within 30 days and dispute        ·6· · · · · · · · · (WHEREUPON, the record was read
·7· ·the debt, we'll provide you with information about        ·7· · · · · · · · · ·as requested.)
·8· ·it?                                                       ·8· ·BY MR. NEWBURGER:
·9· · · · A.· · I just took the letter downtown. I             ·9· · · · Q.· · What would it take for you to find a
10· ·looked at it.                                             10· ·copy of the LVNV letter?
11· · · · MR. NEWBURGER:· Objection, responsiveness.           11· · · · A.· · I don't know.
12· ·BY MR. NEWBURGER:                                         12· · · · Q.· · If you make a diligent search of your
13· · · · Q.· · My question is do you remember that they       13· ·home, do you think you can find it?
14· ·told you if you dispute this debt within 30 days          14· · · · A.· · Maybe.
15· ·after receiving this letter, we will provide you          15· · · · Q.· · Did you give a copy to your lawyers?
16· ·with verification of the debt.· Do you remember           16· · · · A.· · I think so.
17· ·that?                                                     17· · · · Q.· · So your lawyer should have it, even if
18· · · · A.· · Yes.                                           18· ·you don't.
19· · · · Q.· · Okay.· And you didn't write them within        19· · · · A.· · They should.
20· ·30 days of that letter and ask for verification of        20· · · · Q.· · Let's go back to Exhibit 13, which is
21· ·the debt, did you?                                        21· ·your court complaint in this case.· If you look at
22· · · · A.· · I took it to them, right?                      22· ·Paragraph Number 20, it says, "In response to
23· · · · MS. MC CURDY:· Um-hum.                               23· ·collection attempts by defendants, plaintiff
24· ·BY MR. NEWBURGER:                                         24· ·consulted with the attorneys at Community Law


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                                                        Page 65                                                        Page 67
·1· ·Group, Limited.                                              ·1· · · · Q.· · They didn't do a very good job of doing
·2· · · · · · · So I just want to be sure I know now.             ·2· ·what you wanted, did they?
·3· ·I'm sorry, I'll let you get there.· I just want to           ·3· · · · MS. MC CURDY:· Objection, speculation.
·4· ·be sure.· The only collection attempt by defendants          ·4· ·BY MR. NEWBURGER:
·5· ·was the one letter, correct?                                 ·5· · · · Q.· · Please answer.
·6· · · · A.· · Yes.                                              ·6· · · · A.· · No.
·7· · · · Q.· · No other collection activity by the               ·7· · · · Q.· · Because if you wanted to tell someone
·8· ·defendants, right?                                           ·8· ·you disputed the debt, you'd say I dispute that,
·9· · · · A.· · Right.                                            ·9· ·wouldn't you?
10· · · · Q.· · Okay.· And has Community Law Group ever           10· · · · A.· · I guess I would.
11· ·represented you in any other matter?                         11· · · · Q.· · Because that's what a reasonable person
12· · · · A.· · No.                                               12· ·does, isn't it?
13· · · · Q.· · Now, just to be clear, the letter that            13· · · · A.· · Yes.
14· ·your lawyer sent, that Exhibit E that we've been             14· · · · Q.· · Sitting here today, you're a pretty
15· ·looking at --                                                15· ·reasonable person, aren't you?
16· · · · MS. MC CURDY:· This one.                                16· · · · A.· · Yes.
17· ·BY MR. NEWBURGER:                                            17· · · · Q.· · Even a nonlawyer can figure out that to
18· · · · Q.· · Do you see the word dispute anywhere in           18· ·say a debt is disputed, you can say my client
19· ·that letter?                                                 19· ·disputes the debt, right?
20· · · · A.· · Do I see the word dispute?                        20· · · · MS. MC CURDY:· Objection, speculation.
21· · · · Q.· · Yes, ma'am.                                       21· ·BY THE WITNESS:
22· · · · A.· · No.                                               22· · · · A.· · Yes.
23· · · · Q.· · It's not in there, is it?                         23· ·BY MR. NEWBURGER:
24· · · · A.· · No.                                               24· · · · Q.· · Now, let me just show you what I'm
                                                      Page 66                                                            Page 68
·1· · · · Q.· · All right.· Now, let me ask you a                 ·1· ·talking about.· Let me show you Exhibit 5.· If you
·2· ·question.· You hired lawyers in this case, right?            ·2· ·look at that, please.· I know you haven't seen this
·3· · · · A.· · Right.                                            ·3· ·before, so I'll walk you through it.· This is a
·4· · · · Q.· · Who went to law school, right?                    ·4· ·lawsuit, a complaint in a case called Elisa
·5· · · · A.· · Yes.                                              ·5· ·Guerrero versus Credit Management, L.P. and
·6· · · · Q.· · Got a legal education, right?                     ·6· ·Travelers Casualty and Surety Company of America.
·7· · · · A.· · Yes.                                              ·7· ·Do you see that?
·8· · · · Q.· · Got a license to practice law, right?             ·8· · · · A.· · Yes.
·9· · · · A.· · Yes.· My lawyer.                                  ·9· · · · Q.· · If you would, please, turn to
10· · · · Q.· · Do you think that your lawyers should be          10· ·Paragraph 14.· That's on Page 3.· Do you see that?
11· ·able to say that you dispute the debt when in fact           11· · · · A.· · Yes.
12· ·you do?                                                      12· · · · Q.· · It says, "In response to collection
13· · · · MS. MC CURDY:· Objection, speculation.                  13· ·attempts by defendant, plaintiff consulted with the
14· ·BY MR. NEWBURGER:                                            14· ·attorney Tyler Hickle, who on June 13 sent a
15· · · · Q.· · Please answer.                                    15· ·written communication to CMI indicating that he
16· · · · A.· · I can't answer that question.                     16· ·represented plaintiff and plaintiff disputed the
17· · · · Q.· · Excuse me?                                        17· ·alleged debt."
18· · · · A.· · I can't answer that question.                     18· · · · · · · That's pretty much what your lawsuit
19· · · · Q.· · Well, you wanted your lawyers to dispute          19· ·says, except your lawsuit says you went to
20· ·the debt, right?                                             20· ·Community Lawyers Group, right?
21· · · · A.· · Yes.                                              21· · · · A.· · Right.
22· · · · Q.· · And they didn't use the word dispute              22· · · · Q.· · If you look at the next line, it says,
23· ·once, did they?                                              23· ·"Plaintiff's letter stated in part, quote, 'the
24· · · · A.· · No.                                               24· ·consumer disputes the debt,' end quote."· Did I


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                                                       Page 69                                                   Page 71
·1· ·read that right?                                            ·1· · · · Q.· · If you want to tell someone that your
·2· · · · A.· · Yes.                                             ·2· ·client disputes the debt, the lawyer doesn't leave
·3· · · · Q.· · That's a little different than your              ·3· ·any doubt when he says it that way, correct?
·4· ·lawsuit, isn't it?                                          ·4· · · · A.· · Correct.
·5· · · · A.· · Yes.                                             ·5· · · · Q.· · That's not what your lawyer did in this
·6· · · · Q.· · All right.· Now, if you would, turn to           ·6· ·case, correct?
·7· ·Page 7.· Do you see who the lawyer is who signed?           ·7· · · · A.· · Correct.
·8· ·The page numbers are at the top right.· Do you see          ·8· · · · Q.· · All right.· And can you look at the date
·9· ·who the lawyer is who signed that complaint?                ·9· ·at the top of that document?· Do you see it says it
10· · · · MS. MC CURDY:· Here, a couple more pages.              10· ·was filed August 18th of 2016?
11· ·Yeah, we're looking up here at the page numbers, so         11· · · · MS. MC CURDY:· Up here.
12· ·seven -- right there.· Okay.                                12· ·BY THE WITNESS:
13· ·BY MR. NEWBURGER:                                           13· · · · A.· · Yes.
14· · · · Q.· · Do you see who the lawyer is who signed          14· ·BY MR. NEWBURGER:
15· ·that complaint?                                             15· · · · Q.· · That was almost ten months -- or right
16· · · · THE WITNESS:· Right here?                              16· ·around ten months before the letter that's at issue
17· · · · MS. MC CURDY:· Um-hum.                                 17· ·in this case, wasn't it?· Your letter was June 28th
18· · · · THE WITNESS:· Yes.                                     18· ·of 2017.
19· ·BY MR. NEWBURGER:                                           19· · · · A.· · Yes.
20· · · · Q.· · Who is it?                                       20· · · · Q.· · All right.· So at least ten months
21· · · · A.· · Celetha Chatman?                                 21· ·before the lawsuit -- excuse me -- before the
22· · · · Q.· · Celetha Chatman.                                 22· ·letter that was sent on your account to defendants,
23· · · · A.· · Celetha Chatman.                                 23· ·your lawyers were in a lawsuit where they knew
24· · · · Q.· · Do you know who Celetha Chatman is?              24· ·exactly how to write a letter that says the

                                                     Page 70                                                     Page 72
·1· · · · A.· · Do I know who she is?                            ·1· ·consumer disputes the debt, correct?
·2· · · · Q.· · Yes.                                             ·2· · · · A.· · Yes, I guess.
·3· · · · A.· · Personally, no.                                  ·3· · · · Q.· · But they didn't do it in your case, did
·4· · · · Q.· · Have you ever met her?                           ·4· ·they?
·5· · · · A.· · No.                                              ·5· · · · A.· · No.
·6· · · · Q.· · Ever heard of her?                               ·6· · · · Q.· · Let's look at Exhibit 3.· I'm going to
·7· · · · A.· · Maybe.· I'm not sure.· Am I supposed to          ·7· ·hand you Exhibit 3.· This is another lawsuit.· This
·8· ·know who she is?                                            ·8· ·is one in which the plaintiff's name is Bradley
·9· · · · Q.· · We'll come back to that.· Do you see who         ·9· ·Cousins.· It's Bradley Cousins versus Portfolio
10· ·she works for?· Below that on the left.                     10· ·Recovery Associates, LLC and Western Surety
11· · · · A.· · Yeah.                                            11· ·Company.· Do you see that?
12· · · · Q.· · Who does she work for?                           12· · · · A.· · Um-hum.· Yes.
13· · · · A.· · Community Lawyers Group.                         13· · · · Q.· · And what I'd like you to do is turn to
14· · · · Q.· · That's your lawyers, isn't it?                   14· ·Paragraph 14.· Do you see Paragraph 14?
15· · · · A.· · Yeah.                                            15· · · · A.· · Yes.
16· · · · Q.· · Keep going a few more pages.· Let's get          16· · · · Q.· · It says, "In response to collection
17· ·to Exhibit C.· At the top right corner you'll see           17· ·efforts by defendant, plaintiff sent a written
18· ·it says -- this one says Page 7 of 11.· Do you see          18· ·communication to PRA indicating that plaintiff
19· ·that?                                                       19· ·disputed the alleged debt."
20· · · · · · · Look at the letter in the middle                 20· · · · · · · Again, that's pretty much the same
21· ·paragraph.· It says the consumer disputes the debt.         21· ·allegation as in your case, right?
22· · · · A.· · Yeah.                                            22· · · · A.· · Yes.
23· · · · Q.· · No misunderstanding that, is there?              23· · · · Q.· · Read the next line.· It says,
24· · · · A.· · No.                                              24· ·"Plaintiff's letter stated in part that the amount


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·1· ·reported is not accurate."· Right?                    ·1· ·didn't she?
·2· · · · A.· · Yes.                                       ·2· · · · A.· · Yes.
·3· · · · Q.· · All right.· Now, can you keep going        ·3· · · · Q.· · She just didn't do it in your letter,
·4· ·forward pages until you get to the signature page.    ·4· ·right?
·5· ·The signature page says at the top Page 7 of 8.· It   ·5· · · · A.· · Right.
·6· ·looks like this.                                      ·6· · · · Q.· · Okay.
·7· · · · MS. MC CURDY:· I think you're a little too       ·7· · · · · · · · · (WHEREUPON, a certain document was
·8· ·far.· One more.· There you go.                        ·8· · · · · · · · · ·marked Consolidated Deposition
·9· ·BY MR. NEWBURGER:                                     ·9· · · · · · · · · ·Exhibit No. 15, for identification,
10· · · · Q.· · Do you see this one too was signed by      10· · · · · · · · · ·as of 01/24/2018.)
11· ·Celetha Chatman, wasn't it?                           11· ·BY MR. NEWBURGER:
12· · · · A.· · Yes.                                       12· · · · Q.· · The court reporter has handed you
13· · · · Q.· · And Community Lawyers Group, wasn't it?    13· ·Exhibit 15.· These are the terms and conditions
14· · · · A.· · Yes.                                       14· ·that apply to your Credit One account.· And you
15· · · · Q.· · Now, if you will keep going forward to     15· ·remember when you opened your account you got the
16· ·-- I believe it will be Exhibit E.· No.· Excuse me.   16· ·terms and conditions that applied to it, right?
17· ·On this one it will be Exhibit B.· This page has      17· · · · A.· · Yes.
18· ·Page 4 of 6 -- 4 of 8 at the top.· Do you see that    18· · · · Q.· · And what I'd like you to do is turn to
19· ·letter in this case?                                  19· ·Page 5 of this document.· And about three-quarters
20· · · · A.· · Yes.                                       20· ·of the way down the page there's a section that's
21· · · · Q.· · And if you look in the second paragraph,   21· ·entitled "your billing rights."· Do you see that?
22· ·in the middle line it says, "and the amount you are   22· · · · A.· · Okay.
23· ·reporting is not accurate," doesn't it?               23· · · · Q.· · It even says after that "keep this
24· · · · A.· · Yes.                                       24· ·document for future use."· They warned you to keep

                                                Page 74                                                               Page 76
·1· · · · Q.· · And the date at the top of that is         ·1· ·it, didn't they?
·2· ·July 1 of 2016, right?                                ·2· · · · A.· · Yes.
·3· · · · MS. MC CURDY:· We have a 4/21.                   ·3· · · · Q.· · And what it says here, "what to do if
·4· · · · MR. NEWBURGER:· I'm sorry.· The date it was      ·4· ·you find a mistake on your statement."· See that in
·5· ·filed, not the date of the letter.                    ·5· ·bold letters two lines down?
·6· · · · MS. MC CURDY:· Oh, sorry.                        ·6· · · · A.· · Yes.
·7· ·BY MR. NEWBURGER:                                     ·7· · · · Q.· · It says, "If you think there is an error
·8· · · · Q.· · The date it was filed.· It was filed       ·8· ·on your statement, write to us at Bank Card
·9· ·July 21, right?                                       ·9· ·Center."· It gives a post office box.· You never
10· · · · A.· · July 11th.                                 10· ·did that, did you?
11· · · · Q.· · July --                                    11· · · · A.· · No, not that I can remember.
12· · · · A.· · July 11th.                                 12· · · · Q.· · And it says, "In your letter, give us
13· · · · Q.· · July -- I'm sorry.· July --                13· ·the following information:· Account information.
14· · · · MS. MC CURDY:· Yeah, 7/11.· Yeah.                14· ·Your name and account number.· Dollar amount.· The
15· ·BY MR. NEWBURGER:                                     15· ·dollar amount of the suspected error.· Description
16· · · · Q.· · July 11.· I'm sorry.· My eyes are acting   16· ·of the problem.· If you think there is an error on
17· ·up.· It's that time of the day.                       17· ·your bill, describe what you believe is wrong and
18· · · · · · · So just a few weeks short of a full year   18· ·why you believe it is a mistake."· Did I read that
19· ·before your letter was sent on June 28th of '17,      19· ·right?
20· ·Ms. Chatman filed a lawsuit that actually says what   20· · · · A.· · I guess.· I can't see that.· You have to
21· ·your letter doesn't say, which is the amount you      21· ·read it to me.· I can't read this small.
22· ·are reporting is not accurate, right?                 22· · · · Q.· · Let's start with the dollar amount.
23· · · · A.· · Right.                                     23· ·Your lawyers didn't tell LVNV the dollar amount of
24· · · · Q.· · So your lawyer knew how to say that,       24· ·the dispute, did they?


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·1· · · · A.· · They didn't tell them what?                ·1· · · · A.· · No.
·2· · · · Q.· · They didn't tell LVNV what the dollar      ·2· · · · Q.· · Any expertise on that?
·3· ·amount was of your dispute, did they?                 ·3· · · · A.· · No.
·4· · · · A.· · I don't know that.                         ·4· · · · Q.· · And you're not going to testify as an
·5· · · · Q.· · Well, let's go back and look at Exhibit    ·5· ·expert on credit scores at trial, right?
·6· ·E to your complaint.· Exhibit 13.· Let's go back      ·6· · · · A.· · No.
·7· ·and look at Exhibit E.· Have you got it in front of   ·7· · · · Q.· · Okay.· Do you have any idea whether --
·8· ·you?                                                  ·8· ·let me back up.
·9· · · · A.· · Right here?                                ·9· · · · · · · You understand, don't you, that this
10· · · · Q.· · Okay.· Great.· It doesn't say how much     10· ·lawsuit is not about whether defendants were
11· ·the error is, does it?                                11· ·collecting from you, but solely about whether they
12· · · · A.· · No.                                        12· ·put the word disputed on your credit report with
13· · · · Q.· · Okay.· It doesn't say why you believe      13· ·regard to this debt, right?
14· ·there's an error, does it?                            14· · · · A.· · Right.
15· · · · A.· · No.                                        15· · · · Q.· · And that's the only complaint you have
16· · · · Q.· · Now, your contract on this account said    16· ·about the defendants you said.· So let me ask you,
17· ·that's what you would do if you had a dispute,        17· ·do you know how that affected your credit score?
18· ·right?                                                18· · · · A.· · Yes.
19· · · · A.· · Right.                                     19· · · · Q.· · How did it affect it?
20· · · · Q.· · But that's not what you did, correct?      20· · · · A.· · Made it a bad, come down, lower it
21· · · · A.· · Correct.                                   21· ·probably.
22· · · · Q.· · It's not what your lawyers did.            22· · · · Q.· · How do you know that if you don't have
23· · · · A.· · Correct.                                   23· ·any expertise in credit reporting?
24· · · · Q.· · And to be fair here, you relied on your    24· · · · A.· · I know something like that.

                                                Page 78                                                    Page 80
·1· ·lawyers to do it because you didn't know how to do    ·1· · · · Q.· · How do you know?
·2· ·it, right?                                            ·2· · · · A.· · If something bad on your credit, it will
·3· · · · A.· · Right.                                     ·3· ·go down.· I know that much.
·4· · · · Q.· · Okay.· If there's a mistake, it's their    ·4· · · · Q.· · You know the default was going to be
·5· ·fault, not yours, right?                              ·5· ·there no matter what, right?
·6· · · · A.· · Right.                                     ·6· · · · A.· · Right.
·7· · · · Q.· · But they are your lawyers.· You hired      ·7· · · · Q.· · So do you know how much of a difference
·8· ·them to do the job, right?                            ·8· ·in your credit score the word disputed would have
·9· · · · A.· · Right.                                     ·9· ·made?
10· · · · Q.· · Now, do you have any experience working    10· · · · A.· · Not really.
11· ·in the credit reporting industry?                     11· · · · Q.· · Not really?
12· · · · A.· · No.                                        12· · · · A.· · Right.
13· · · · Q.· · Do you have any specialized knowledge      13· · · · Q.· · Okay.· And no one's ever told you what
14· ·about credit reporting?                               14· ·the point difference would be on your credit score
15· · · · A.· · No.                                        15· ·with the word disputed versus without the word
16· · · · Q.· · Any specialized expertise on credit        16· ·disputed, right?
17· ·reporting?                                            17· · · · A.· · Right.
18· · · · A.· · No.                                        18· · · · Q.· · All right.· Sitting here today, you
19· · · · Q.· · So at trial you're not going to say        19· ·really can't testify from your own knowledge that
20· ·you're an expert on credit reporting.                 20· ·it had any material effect, can you?
21· · · · A.· · No.                                        21· · · · A.· · No.
22· · · · Q.· · Okay.· Good.· And how about what are       22· · · · Q.· · And if it was only a point or two, you
23· ·called credit scores, do you have any specialized     23· ·don't know if that would have affected you at all,
24· ·knowledge about those?                                24· ·do you?


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JEANETTE AKINS                                                                                     January 24, 2018
CENTENO vs LVNV FUNDING                                                                                      81–84
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·1· · · · MS. MC CURDY:· Objection, speculation.           ·1· ·time and they never got back in contact with me.
·2· ·BY THE WITNESS:                                       ·2· · · · Q.· · Is it possible that's because they sold
·3· · · · A.· · Kind of.                                   ·3· ·your account?
·4· ·BY MR. NEWBURGER:                                     ·4· · · · A.· · I don't know nothing about anybody
·5· · · · Q.· · Well, then let me ask this differently.    ·5· ·selling no account.
·6· ·Since January 1 of 2017, have you applied for any     ·6· · · · Q.· · But you understand they don't own your
·7· ·credit?                                               ·7· ·account anymore.· That's why your lawsuit says LVNV
·8· · · · A.· · No.                                        ·8· ·obtained the account, ended up purchasing the
·9· · · · Q.· · Since January 1 of 2017, have you been     ·9· ·account, because Credit One doesn't have this
10· ·denied any credit?                                    10· ·account anymore.
11· · · · A.· · No.                                        11· · · · · · · Now, did you ever dispute your credit
12· · · · Q.· · Since January 1 of 2017, have you          12· ·report as far as Credit One goes?
13· ·applied for any employment?                           13· · · · A.· · I wanted to, but I never got a chance to
14· · · · A.· · No.                                        14· ·tell them.
15· · · · Q.· · Since January 1 of 2017, have you been     15· · · · Q.· · So the answer is no.
16· ·denied any employment?                                16· · · · A.· · Because they never got back with me.
17· · · · A.· · No.                                        17· · · · Q.· · So the answer is you never did a dispute
18· · · · Q.· · Is there any way you can tell me that      18· ·of Credit One's trade line on the account, correct?
19· ·the absence of the word disputed on LVNV's trade      19· · · · A.· · Correct.
20· ·line on your credit report -- let me back up.· I'm    20· · · · Q.· · Okay.· So Credit One is not a party to
21· ·going too fast.                                       21· ·this case.· You never tried to settle with LVNV,
22· · · · · · · So the account that's reported on your     22· ·did you?
23· ·credit report, we call that the trade line, okay?     23· · · · A.· · I let my attorney do it for me.
24· · · · A.· · Um-hum.                                    24· · · · Q.· · Was your attorney supposed to settle

                                                Page 82                                                              Page 84
·1· · · · Q.· · Now, is there any way that you can tell    ·1· ·this debt?
·2· ·me that the absence of that word on your credit       ·2· · · · A.· · I was hoping so.
·3· ·report has caused you any harm?                       ·3· · · · Q.· · Are you aware of the fact that your
·4· · · · MS. MC CURDY:· Objection, speculation.           ·4· ·attorneys never tried to settle this debt?
·5· ·BY MR. NEWBURGER:                                     ·5· · · · A.· · No.
·6· · · · Q.· · Please answer.                             ·6· · · · Q.· · Does that make you happy?
·7· · · · A.· · In a way.                                  ·7· · · · A.· · No.
·8· · · · Q.· · Okay.· Tell me.· I want to understand.     ·8· · · · Q.· · If your attorney didn't try to settle
·9· · · · A.· · I didn't want anything bad on my report.   ·9· ·this debt, then she didn't do her job, did she?
10· · · · Q.· · You understand it was going to say no      10· · · · A.· · Right.
11· ·matter what that the account was in collections,      11· · · · Q.· · Now, the absence of the word disputed,
12· ·right?                                                12· ·which is what this case is about, it didn't keep
13· · · · A.· · Right.                                     13· ·you from getting a loan, it didn't cause you to pay
14· · · · Q.· · You understand that from the time that     14· ·more money on a loan, it didn't cost you a job.
15· ·you defaulted with Credit One, that default was on    15· ·Can you tell me any money that that has cost you?
16· ·your credit report, right?                            16· · · · A.· · No.
17· · · · A.· · Right.                                     17· · · · Q.· · It really hasn't, has it?
18· · · · Q.· · And that was there for seven years, you    18· · · · A.· · No.
19· ·know that, right?                                     19· · · · Q.· · No, it hasn't?
20· · · · A.· · Right.                                     20· · · · A.· · No.
21· · · · Q.· · So how is the word disputed going to       21· · · · Q.· · Okay.· And sitting here today, is there
22· ·change any of that?                                   22· ·any money you believe you are out of pocket as a
23· · · · A.· · Because they never got back in contact     23· ·result of the defendants' conduct?
24· ·with me.· I wanted to settle with Credit One at one   24· · · · A.· · No.· Yes.


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                                                       Page 85                                                             Page 87
·1· · · · Q.· · What?                                            ·1· · · · Q.· · Yes.· Is there a written contract that
·2· · · · A.· · As far as who?                                   ·2· ·you signed with Community Law Group?
·3· · · · Q.· · As far as LVNV and Resurgent.                    ·3· · · · A.· · Yes.
·4· · · · · · · · · (WHEREUPON, there was a conference           ·4· · · · Q.· · Okay.· So that's the document that will
·5· · · · · · · · · ·between the witness and counsel.)           ·5· ·tell us what you owe your lawyers?
·6· · · · MS. MC CURDY:· Oh, you mean what you've paid           ·6· · · · A.· · Yes.
·7· ·us, that would be out of pocket?                            ·7· · · · Q.· · All right.· Do you have a copy of that,
·8· · · · THE WITNESS:· Yes.                                     ·8· ·or is it just they have a copy?
·9· ·BY MR. NEWBURGER:                                           ·9· · · · A.· · I don't have it with me.
10· · · · Q.· · Okay.· Other than money you've paid to           10· · · · Q.· · But you do have a copy?
11· ·your attorneys to represent you, is there any money         11· · · · A.· · I should have, yes.
12· ·you are out of pocket as a result of the conduct of         12· · · · Q.· · Is that something you signed at the time
13· ·the defendants?                                             13· ·that you hired them?
14· · · · A.· · No.                                              14· · · · A.· · Yes.
15· · · · Q.· · How much have you paid your attorneys            15· · · · Q.· · Okay.· So if you don't have any
16· ·today?                                                      16· ·out-of-pocket damages, what damages are you seeking
17· · · · A.· · Today?                                           17· ·in this case, do you know?
18· · · · Q.· · As of now, how much have you paid them           18· · · · MS. MC CURDY:· Objection, calls for a legal
19· ·total?                                                      19· ·conclusion.
20· · · · A.· · I really don't know.                             20· ·BY MR. NEWBURGER:
21· · · · Q.· · Are you paying them monthly, or did you          21· · · · Q.· · Please answer.
22· ·pay them --                                                 22· · · · A.· · Ask the question again.
23· · · · A.· · I was paying them monthly.                       23· · · · Q.· · Do you know what the damages are that
24· · · · Q.· · Do you know how many months you paid             24· ·you are seeking in this case?

                                                     Page 86                                                               Page 88
·1· ·them?                                                       ·1· · · · A.· · I can't explain it.· Can I --
·2· · · · A.· · I don't know.                                    ·2· · · · Q.· · I need to ask you, not your lawyer on
·3· · · · Q.· · How much are you paying them a month?            ·3· ·this.· If you don't know -- all I'm asking right
·4· · · · A.· · A hundred dollars.                               ·4· ·now is do you know.
·5· · · · Q.· · And you pay them every month since you           ·5· · · · MS. MC CURDY:· If you don't, it's -- you know,
·6· ·hired them?                                                 ·6· ·if you don't know, you don't know.
·7· · · · A.· · Supposed to do, yes.                             ·7· ·BY MR. NEWBURGER:
·8· · · · Q.· · How much are you supposed to pay them            ·8· · · · Q.· · No, there's no crime if you -- if the
·9· ·total?                                                      ·9· ·answer is you don't know, all I want to know is do
10· · · · A.· · 500 I think.                                     10· ·you know.
11· · · · Q.· · 500?                                             11· · · · A.· · Well, they really made me upset.
12· · · · A.· · I think.                                         12· · · · Q.· · Who did?
13· · · · Q.· · And what's that for, do you know?                13· · · · A.· · LVNV.
14· · · · A.· · Their fee, I guess.                              14· · · · Q.· · And how did they do that?
15· · · · Q.· · You don't really know?                           15· · · · A.· · They sent the sheriff to my house.
16· · · · A.· · Their fee for taking my case for me              16· · · · Q.· · Okay.· And why did they do that?· Were
17· ·first.                                                      17· ·they suing you on the debt?
18· · · · Q.· · Okay.· So other than the 500 you've paid         18· · · · A.· · Yes.
19· ·them, do you expect to have to pay them anything            19· · · · Q.· · Okay.· And other than suing you on the
20· ·else in this case?                                          20· ·debt and having the sheriff come to your house --
21· · · · A.· · I don't know.· They didn't say anything.         21· ·did the sheriff serve you with papers when he came
22· · · · Q.· · Do you have a written fee agreement with         22· ·to your house?
23· ·your attorneys?                                             23· · · · A.· · Yes.
24· · · · A.· · Do I have it?                                    24· · · · Q.· · Other than that, did they do anything


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·1· ·else that caused you any mental distress?                 ·1· · · · Q.· · That's right.· You said your daughter.
·2· · · · A.· · No.                                            ·2· ·You said you dealt with bill collectors for your
·3· · · · Q.· · Okay.· So the only cause of mental             ·3· ·daughter.
·4· ·distress to you by the defendants was serving you         ·4· · · · A.· · They called.
·5· ·with a lawsuit on the debt, correct?                      ·5· · · · Q.· · And you said they could be rude and
·6· · · · A.· · Yes.                                           ·6· ·disrespectful.
·7· · · · Q.· · Nothing else.                                  ·7· · · · A.· · Yes.
·8· · · · A.· · Right.                                         ·8· · · · Q.· · So the law that you've sued under is
·9· · · · Q.· · Okay.· And in terms of out-of-pocket           ·9· ·called the Fair Debt Collection Practices Act.· Are
10· ·loses, you don't have any out-of-pocket loses other       10· ·you aware of that?
11· ·than what you've paid your lawyer, right?                 11· · · · A.· · Yes.
12· · · · A.· · Right.                                         12· · · · Q.· · That's a law that protects consumers
13· · · · Q.· · Have we covered every type of damages          13· ·from being abused by bill collectors.
14· ·you have and what has caused them?                        14· · · · A.· · Yes.
15· · · · A.· · What you say?                                  15· · · · Q.· · And it talks about a lot of different
16· · · · Q.· · Have we covered all of the damages you         16· ·kinds of behaviors that aren't allowed.· So, for
17· ·suffered and what has caused them?                        17· ·example, bill collectors can't call and yell at
18· · · · A.· · Yes, I guess.                                  18· ·you.· That would be bad behavior, wouldn't it?
19· · · · Q.· · Okay.· And what do you think would be a        19· · · · A.· · Yes.
20· ·reasonable amount of money to compensate you for          20· · · · Q.· · They're not allowed to call and curse at
21· ·upsetting you by having the sheriff serve you?            21· ·you.· That would be even worse behavior.
22· · · · MS. MC CURDY:· Objection, speculation, calls         22· · · · A.· · Yes.
23· ·for a legal conclusion.                                   23· · · · Q.· · And they're not allowed to call and use
24· ·BY MR. NEWBURGER:                                         24· ·racially derogatory comments.· That would be even

                                                   Page 90                                                     Page 92
·1· · · · Q.· · Please tell me.                                ·1· ·worse behavior, right?
·2· · · · A.· · I don't know.                                  ·2· · · · A.· · Yes.
·3· · · · Q.· · Well, this is my only chance to depose         ·3· · · · Q.· · And they can't call and threaten to use
·4· ·you, so I need to know what you're going to tell          ·4· ·some sort of criminal means like breaking into your
·5· ·the jury you think is fair to compensate you.· What       ·5· ·house to collect.· That would be still worse
·6· ·do you think is fair?                                     ·6· ·behavior, wouldn't it?
·7· · · · A.· · I'm not going to no trial.· I got to go        ·7· · · · A.· · Yes.
·8· ·to trial, I'm not going to trial.                         ·8· · · · Q.· · And they can't threaten to use violence
·9· · · · Q.· · Why not?                                       ·9· ·against you to collect the debt because that would
10· · · · A.· · Too embarrassed.· I will be embarrassed.       10· ·be still worse behavior, right?
11· ·Only way I'm not embarrassed is you actually made         11· · · · A.· · Right.
12· ·me feel comfortable.                                      12· · · · Q.· · Okay.· Now, this case has nothing to do
13· · · · Q.· · And I'm not trying to make you feel            13· ·with any of those types of behaviors; it has to do
14· ·embarrassed.· I hope you know that.                       14· ·with not putting the word disputed on a credit
15· · · · A.· · You told me.· I know.                          15· ·report.· But all those are behaviors that are
16· · · · Q.· · All right.· So you're not going to try         16· ·discussed in the FDCPA.
17· ·this case.                                                17· · · · · · · Now, wouldn't you agree that not saying
18· · · · A.· · No.· I'm not going to nobody's trial.          18· ·the word disputed is a far cry from yelling,
19· · · · Q.· · Let me ask you kind of a difficult             19· ·cursing, racial comments, threats of criminal means
20· ·question.· Have you ever dealt with bill                  20· ·or threats of violence?
21· ·collectors?                                               21· · · · A.· · Yes.
22· · · · A.· · Have I ever dealt with any?                    22· · · · Q.· · All those things are far, far worse,
23· · · · Q.· · Yes.· Other than this case.                    23· ·right?
24· · · · A.· · Yes.                                           24· · · · A.· · Yes.


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·1· · · · Q.· · Now, under the FDCPA, the most in                ·1· · · · A.· · Right.
·2· ·statutory damages that you could recover is a               ·2· · · · Q.· · They haven't caused you to take any
·3· ·thousand dollars.· So here's what I want to                 ·3· ·prescription medications, have they?
·4· ·understand.· If you could only get a thousand               ·4· · · · A.· · No.
·5· ·dollars in statutory damages from a bill collector          ·5· · · · Q.· · Not even any nonprescription
·6· ·who cursed at you or made racial comments or                ·6· ·medications, right?
·7· ·threatened you with violence, the statutory damages         ·7· · · · A.· · No.
·8· ·for not saying the word disputed ought to be a              ·8· · · · Q.· · Okay.
·9· ·whole lot less than that, shouldn't they?                   ·9· · · · A.· · (Inaudible.)
10· · · · MS. MC CURDY:· Objection, speculation, calls           10· · · · THE REPORTER:· I'm sorry?
11· ·for a legal opinion.                                        11· ·BY THE WITNESS:
12· ·BY MR. NEWBURGER:                                           12· · · · A.· · I don't take no prescription drugs.
13· · · · Q.· · Please answer.                                   13· ·BY MR. NEWBURGER:
14· · · · A.· · I don't know.                                    14· · · · Q.· · So really the only mental anguish that
15· · · · Q.· · Well, don't you think that if the                15· ·we're talking about in this case of any kind is
16· ·conduct is a lot less bad, then the statutory               16· ·just from when you were served with the lawsuit.
17· ·damages should be a lot less too?                           17· · · · A.· · Yup.
18· · · · A.· · I suppose.                                       18· · · · Q.· · Okay.
19· · · · MR. NEWBURGER:· Okay.· Sorry.· I'm trying to           19· · · · A.· · (Inaudible.)
20· ·figure out if I'm finished.                                 20· · · · Q.· · Excuse me?
21· · · · MS. MC CURDY:· Yes.                                    21· · · · THE REPORTER:· I didn't catch that.
22· · · · MR. NEWBURGER:· Give me just a minute.                 22· ·BY THE WITNESS:
23· ·BY MR. NEWBURGER:                                           23· · · · A.· · (Inaudible) the way they did it.
24· · · · Q.· · As a result of the defendants, not --            24· ·BY MR. NEWBURGER:
                                                       Page 94                                                   Page 96
·1· ·I know you've got a lot of things going on with             ·1· · · · Q.· · How did they do it?
·2· ·your health, so I want to keep it separate.· As a           ·2· · · · A.· · (Inaudible).
·3· ·result of the defendants, have you had to see a             ·3· · · · THE REPORTER:· What?
·4· ·psychiatrist?                                               ·4· ·BY THE WITNESS:
·5· · · · A.· · Not really.                                      ·5· · · · A.· · Very mean.
·6· · · · Q.· · How about a psychologist?                        ·6· ·BY MR. NEWBURGER:
·7· · · · A.· · Not really.                                      ·7· · · · Q.· · He was mean?· The sheriff's deputy was
·8· · · · Q.· · Any kind of psychotherapist?                     ·8· ·mean?
·9· · · · A.· · I was in therapy one time, but it's been         ·9· · · · A.· · Yes.
10· ·a while.                                                    10· · · · Q.· · I'm sorry to hear that.· Was that Cook
11· · · · Q.· · It wasn't because of LVNV or Resurgent           11· ·County sheriff?
12· ·though, was it?                                             12· · · · A.· · Yes.
13· · · · A.· · No.                                              13· · · · Q.· · Have the defendants ever said anything
14· · · · Q.· · Okay.· That's all I'm worried about.             14· ·to you to make you think they were trying to be
15· ·I don't want to pry into your personal life about           15· ·malicious to you?
16· ·anything else.· That would be very rude of me and           16· · · · A.· · They never said nothing to me.
17· ·I don't want to do that.· So all I'm asking about           17· · · · Q.· · Have they ever done anything to make you
18· ·is with regard to LVNV and Resurgent.· They haven't         18· ·think that -- not the sheriff now, but LVNV or
19· ·caused you to go to any kind of mental health               19· ·Resurgent, that they were trying to act maliciously
20· ·counseling, have they?                                      20· ·or spitefully toward you?
21· · · · A.· · No.                                              21· · · · A.· · They didn't contact me.
22· · · · Q.· · And they haven't caused you to consult           22· · · · Q.· · That was Credit One, wasn't it?
23· ·with any type of mental health counselor, even if           23· · · · A.· · I'm not talking about Credit One.
24· ·it's not a physician, right?                                24· · · · Q.· · When is it that the defendants didn't


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JEANETTE AKINS                                                                                   January 24, 2018
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·1· ·contact you?                                          ·1· · · · Q.· · Now, when you say you wanted to settle
·2· · · · A.· · Besides the letter and then sending the    ·2· ·the case, were you talking about settling that
·3· ·sheriff.                                              ·3· ·state court case, like you wanted us to take care
·4· · · · Q.· · Now, you know that they weren't allowed    ·4· ·of and settle the state court case, or were you
·5· ·to talk to you after you had a lawyer, don't you?     ·5· ·talking about this one?
·6· · · · A.· · Before I had a lawyer.                     ·6· · · · A.· · The one that I was served.
·7· · · · Q.· · Well, what --                              ·7· · · · Q.· · With the state court case?
·8· · · · A.· · They served the paper.                     ·8· · · · A.· · Yes.
·9· · · · Q.· · Well, they sent you --                     ·9· · · · MS. MC CURDY:· Okay.· I think that's all I
10· · · · A.· · They sent the letter and the sheriff       10· ·have.
11· ·back-to-back.                                         11· · · · MR. NEWBURGER:· That's all?
12· · · · Q.· · I see.· Anything else?                     12· · · · MS. MC CURDY:· Um-hum.
13· · · · A.· · No.                                        13· · · · MR. NEWBURGER:· Ms. Akins, thank you for
14· · · · Q.· · Do you know what the hourly rate is of     14· ·coming.· You've been a really nice lady and I
15· ·your lawyers?                                         15· ·appreciate it.
16· · · · A.· · No.                                        16· · · · THE WITNESS:· Thank you.
17· · · · Q.· · And you don't know what you're supposed    17· · · · THE REPORTER:· What about signature?
18· ·to pay them in this case.                             18· · · · MS. MC CURDY:· Oh, yeah, we're going to waive.
19· · · · A.· · No.                                        19· · · · · · · ·FURTHER DEPONENT SAITH NOT.
20· · · · Q.· · Okay.· If you lose this case and the       20
21· ·court awards court costs against you, are you able    21
22· ·to pay those?                                         22
23· · · · A.· · I don't know.                              23
24· · · · Q.· · Well, this deposition is going to          24

                                                Page 98                                                       Page 100
·1· ·probably run hundreds of dollars.· If the court       ·1· · · · · · · · ·REPORTER'S CERTIFICATION

·2· ·awards hundreds of dollars in costs against you,      ·2

·3· ·would you be able to pay that?                        ·3· · · · ·I, JOANNE KLOEPFER, a Certified Shorthand

·4· · · · A.· · I don't know.· Not at this time. I         ·4· ·Reporter in and for the State of Illinois, do

·5· ·don't know.                                           ·5· ·hereby certify:

·6· · · · Q.· · And --                                     ·6· · · · ·That the foregoing witness was by me duly

·7· · · · A.· · I would try, though.                       ·7· ·sworn; that the deposition was then taken before me

·8· · · · Q.· · Do you know of anyone who's a witness to   ·8· ·at the time and place herein set forth; that the

·9· ·the facts of this case other than you?                ·9· ·testimony and proceedings were reported

10· · · · A.· · No.                                        10· ·stenographically by me and later transcribed into

11· · · · MR. NEWBURGER:· Pass the witness.                11· ·typewriting under my direction; that the foregoing

12· · · · · · · · · · CROSS-EXAMINATION                    12· ·is a true record of the testimony and proceedings

13· ·BY MS. MC CURDY:                                      13· ·taken at that time.

14· · · · Q.· · Okay.· I just have a few questions for     14· · · · ·That before the conclusion of the deposition,

15· ·you, Ms. Akins, just to clarify a couple things.      15· ·the witness has not requested a review of this

16· · · · · · · So one of the things you said was          16· ·transcript pursuant to Rule 30(e)(1).

17· ·earlier that one of the things you wanted to get      17· · · · ·IN WITNESS WHEREOF, I have subscribed my name

18· ·out of from hiring us is that you wanted your         18· ·this 4th day of February, 2018.

19· ·lawyers to settle the LVNV case, right?               19

20· · · · A.· · Yes.                                       20

21· · · · Q.· · And then we also discussed how you were    21· · · · · · · JOANNE KLOEPFER, CSR

22· ·being sued by LVNV in state court when the sheriff    22· · · · · · · Notary Public, Lake County, Illinois.

23· ·came and gave you the papers, correct?                23· · · · · · · My commission expires 10/17/18.

24· · · · A.· · Yes.                                       24



                                                                                         800.211.DEPO (3376)
                                                                                         EsquireSolutions.com            YVer1f
Case: 1:17-cv-05233 Document #: 54 Filed: 02/07/18 Page 26 of 74 PageID #:433
JEANETTE AKINS                                                  January 24, 2018
CENTENO vs LVNV FUNDING                                                      101
                                               Page 101
·1· · · · · · · · · · · · I N D E X
·2· ·WITNESS· · · · · · · · · · · · · · · ·EXAMINATION
·3· · JEANETTE AKINS
·4· · · · ·Direct by Mr. Newburger· · · · · · · · 4
·5· · · · ·Cross by Ms. Mc Curdy· · · · · · · · ·98
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                         UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

JEANETTE AKINS,                                        )
                                                       )
               PLAINTIFF,                              )
                                                       )       Civil Action No. l7-cv-05693
               v.                                      )
                                                       )
LVNV FUNDING, LLC, and RESURGENT                       )
CAPITAL SERVICES, L.P.,                                )
                                                       )       Jury Demanded
               DEFENDANTS.                             )

                                           COMPLAINT

       Plaintiff, Jeanette Akins, brings this action under the Fair Debt Collection Practices Act,

15 U.S.C. § 1692, et seq. ("FDCPA"), and the Illinois Collection Agency Act, 225 ILCS 425, et

seq. ("ICAA"), and alleges:

                                 JURISDICTION AND VENUE

        1.     This Court has jurisdiction pursuant to § 1692k(d) of the FDCPA and 28 U.S.C.

§1331, and pursuant to 28 U.S.C. § 1367 as to Plaintiffs state law claims.

       2.      Venue is proper in this District because parts of the acts and transactions occurred

here and Defendants transact substantial business here.

                                            STANDING

        3.     Plaintiff has suffered an injury in fact that is traceable to Defendants' conduct and

that is likely to be redressed by a favorable decision in this matter.

        4.     Specifically, Plaintiff suffered a concrete injury and harm to her reputation as a

result of Defendants' sharing of false information regarding an alleged debt with a third party.

Sayles v. Advanced Recovery Sys., Inc., No. 16-60640,2017 WL 2872343, at *3 (5th Cir. July 6,

2017) ([Defendant's §1692e(8)] violation exposed [plaintiff] to a real risk of financial harm
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caused by an inaccurate credit rating) (citing Bowse v. Portfolio Recovery Assocs., LLC, 218 F.

Supp. 3d 745, 749 (N.D. Ill. 2016) ("Unlike an incorrect zip code, the 'bare procedural violation'

in Spokeo, an inaccurate credit rating creates a substantial risk of harm. ")).

                                             PARTIES

        5.     Plaintiff, Jeanette Akins("Plaintiff), is a resident of the State of Illinois, from

whom Defendants attempted to collect a delinquent consumer debt allegedly owed for a

defaulted Credit One Bank consumer credit account. Plaintiff is thus a consumer as that term is

defined in 15 U.S.c. § l692a(3) of the FDCPA and a "debtor" as that term is defined in 225

ILCS 425/2 of the Illinois Collection Agency Act.

        6.      Defendant, LVNV Funding, LLC ("LVNV") is a Delaware limited liability

company that does or transacts business in the State of Illinois. Its registered agent is Illinois

Corporation Service, located at 801 Adlai Stevenson Drive, Springfield, Illinois 62703. (Exhibit

A, Record from the Illinois Secretary of State).

         7.     LVNV is engaged in the business of a collection agency, using the mails and

telephone to collect consumer debts originally owed to others.

         8.     LVNV is licensed as a collection agency in the State of Illinois. (Exhibit B,

Record from the Illinois Department of Financial and Professional Regulation).

         9.     LVNV' s principal purpose is the collection of debts, as it derives all of its revenue

from purchasing and recovering portfolios of defaulted receivables from consumers.

         10.    In the last month, LVNV has filed close to 500 lawsuits in the Circuit Court of

Cook County, First Municipal Division, to collect debts.

         11.    Thus, LVNV is a "debt collector" as that term is defined in § l692a(6) of the

FDCPA.
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        12.    Defendant, Resurgent Capital Services L.P. ("Resurgent") is a Delaware limited

liability partnership that regularly does or transacts business in the State of Illinois, but does not

maintain a registered agent in Illinois.

        13.     Its registered agent in its home state of Delaware is Corporation Service

Company, located at 2711 Centerville Rd, Wilmington, Delaware, 19808. (Exhibit C, Record

from the Delaware Secretary of State).

         14.    Resurgent is engaged in the business of a collection agency, using the mails and

telephone to collect consumer debts originally owed to others.

         15.    Resurgent is licensed as a collection agency in the State of Illinois. (Exhibit D,

Record from the Illinois Department of Financial and Professional Regulation).

         16.    Resurgent regularly attempts to collect defaulted consumer debts due or asserted

to be due another, and is a "debt collector" as defined in 15 U.S.C. § l692a(6) of the FDCPA

                                   FACTUAL ALLEGATIONS

         17.    According to Defendants, Plaintiff incurred an alleged debt for goods and services

used for personal purposes, originally for a Credit One Bank consumer credit account ("alleged

debt"). The alleged debt is thus a "debt" as that term is defined at § 1692a(5) of the FDCPA.

         18.    Due to his financial circumstances, Plaintiff could not pay any debts, and the

alleged debt went into default.

         19.    LVNV subsequently purchased the alleged debt, and through its servicer

Resurgent began collecting the alleged debt from Plaintiff.

        20.     In response to collection attempts by Defendants, Plaintiff consulted with the

attorneys at Community Lawyers Group, Ltd., who, on June 7, 2017, sent a letter to LVNV,

indicating that Plaintiff disputed the alleged debt. (Exhibit E, Dispute Letter).
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       21.     LVNV received Plaintiff s dispute on June 28, 2017.

       22.     Plaintiffs letter stated, in part, that the amount reported is not accurate.

       23.     A statement that "the amount reported is not accurate" evinces the intention to

dispute the validity of at least a portion of the purported debt. Emerson v. Fid. Capital Holdings,

Inc., No. 15 C 3416, 2015 WL 5086458, at *2 (N.D. Ill. Aug. 14,2015).

       24.     After making her dispute, Plaintiff purchased her Experian credit report to check

that it was accurately updated.

       25.     On July 5, 2017, LVNV communicated credit information regarding the alleged

debt to the Experian consumer reporting agency, including a balance, an account number and the

date reported. (Exhibit F, Experian).

       26.     LVNV failed to communicate that Plaintiffs alleged debt was disputed when it

communicated other information to Experian regarding the alleged debt.

        27.    LVNV had been notified one week prior of Plaintiffs dispute.

        28.    One week is sufficient time for a debt collector to update their records. See

Herbert v. Monterey Financial Services, Inc., 863 F. Supp. 76 (D. Conn. 1994) (holding that five

days was enough time for a debt collector to update their records with information from a

consumer's letter").

        29.     15 U.S.C. § 1692e of the FDCPA provides as follows:

               False or misleading representations

               A debt collector may not use any false, deceptive, or misleading
               representation or means in connection with the collection of any debt.
               Without limiting the general application of the foregoing, the
               following conduct is a violation of this section:

                ... (8) Communicating or threatening to communicate to any person
                credit information which is known or which should be known to be
                false, including the failure to communicate that a disputed debt is
                disputed....
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       30.       Defendants failed to communicate a dispute to the Experian credit reporting

agency, in violation of 15 U.S.C. 1692e(8), when they knew or should have known about the

dispute and communicated other information regarding the alleged debt to Experian.

       31.       Credit reporting by a debt collector constitutes an attempt to collect a debt. E.g.,

Rivera v. Bank One, 145 F.R.D. 614, 623 (D.P.R. 1993) (a creditor's report of a debtto a

consumer reporting agency is a "powerful tool, designed in part to wrench compliance with

payment terms from its cardholder").

       32.       Defendants materially lowered Plaintiffs credit score by failing to note Plaintiffs

dispute.

       33.       A debt reported with no dispute results in a much lower credit score than a report

of both the debt and the dispute. Saunders v. Branch Banking and Trust Co. of VA, 526 F. 3d

142, 146-47 (4th Cir. 2008).

           34.   225 ILCS 425/9 of the Illinois Collection Agency Act provides as follows:

                 .. . (22) Disclosing or threatening to disclose information concerning
                 the existence of a debt which the collection agency knows to be
                 disputed by the debtor without disclosing the fact that the debtor
                 disputes the debt. ...

           35.   Defendants disclosed information concerning the existence of a debt which they

knew to be disputed without disclosing the fact that Plaintiff disputes the debt, in violation of

225 ILCS 425/9 of the ICAA.

           36.   A private right of action exists for violation of the ICAA. Sherman v. Field Clinic,

74 Ill. App. 3d 21,392 N.E.2d 154 (1st Dist. 1979).

           37.   In fact, statutes providing for administrative remedies (e.g. the revocation of a

license, etc.) imply civil rights of action in Illinois. Trull v. GC Servs. Ltd. P'ship, 961 F. Supp.

1199, 1206 (N.D. Ill. 1997).
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            38.   Plaintiff experienced negative emotions about Defendants' false communication

to Experian, including hopelessness, annoyance, aggravation, and other garden variety emotional

distress.

            39.   Defendants' collection communications are to be interpreted under the

"unsophisticated consumer" standard. See, Gammon v. GC Services, Ltd Partnership, 27 F.3d

1254, 1257 (7th Cir. 1994).

                   COUNT 1- FAIR DEBT COLLECTION PRACTICES ACT

            40.   Plaintiff re-alleges the paragraphs above as if set forth fully in this count.

            41.   Defendants failed to communicate a dispute to the Experian credit reporting

agency, in violation of 15 U.S.C. 1692e(8), when they knew or should have known about the

dispute and communicated other information regarding the alleged debt to Experian.

        WHEREFORE, Plaintiff respectfully asks this Court enter judgment in Plaintiffs favor

and against Defendants as follows:

                          A.      Actual damages pursuant to 15 U.S.C. § 1692d(a)(I);

                          B.      Statutory damages from Defendant LVNV pursuant to 15 U.S.C. §
                                  1692k(a)(2);

                          C.      Statutory damages from Defendant Resurgent Capital Services
                                  L.P., pursuant to 15 U.S.C. § 1692k(a)(2);

                          D.      Costs and reasonable attorney fees pursuant to 15 U.S.C. §
                                  1692k(a)(3); and

                          E.      Such other or further relief as the Court deems proper.

                      COUNT II - ILLINOIS COLLECTION AGENCY ACT

            42.   Plaintiff re-alleges the above paragraphs as if set forth fully in this count.
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        43.    Defendants disclosed information concerning the existence of a debt which they

knew to be disputed without disclosing the fact that Plaintiff disputes the debt, in violation of

225 ILCS 425/9 of the ICAA.

       WHEREFORE, Plaintiff requests that the Court enter judgment in Plaintiffs favor and

against Defendants as follows:

                       A.      Compensatory and punitive damages;

                       B.      Costs; and

                       C.      Such other or further relief as the Court deems proper

                                         JURY DEMAND

                                  Plaintiff demands trial by jury.


                                                      By: s/Celetha Chatman
                                                         One of Plaintiff s Attorneys

Michael Wood
Celetha Chatman
Holly McCurdy
Community Lawyers Group, Ltd.
73 W. Monroe Street, Suite 512
Chicago, IL 60603
Ph: (312) 757-1880
Fx: (312) 265-3227
mwood@communitylawyersgroup.com
cchatman@communitylawyersgroup.com
hmccurdy@communitylawyersgroup.com
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                            EXHIBIT A
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          Case: 1:17-cv-05693 Document #: 1-1 Filed: 08/04/17 Page 2 of 13 PagelD #:9




    lLC FILE DETAIL REPORT
                               01975706

                               LVNV FUNDING LLC

                               ACTIVE                                  On                                   08/03/2016

                               LLC                                     Type of LLC

                               09/25/2006                              Jurisdiction

    Agent Name                 ILLINOIS CORPORATION                    Agent Change Date
                               SERVICE C

    Agent Street Address       801 ADLAI STEVENSON DRIVE               Principal Office                     625 PILOT ROAD STE 3
                                                                                                            LAS VEGAS, NV 89119

                                SPRINGFIELD                            Management Type

!
I   AgentZip                   62703                                   Duration                             PERPETUAL

    Annual Report Filing        08/03/2016                             For Year
    Date

    Series Name                 NOT AUTHORIZED TO ESTABLISH SERIES

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    OTHER SERVICES




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                            EXHIBITB
  Case: 1:17-cv-05233 Document #: 54 Filed: 02/07/18 Page 37 of 74 PageID #:444
        Case: 1:17-cv-05693 Document #: 1-1 Filed: 08/04117 Page 4 of 13 PagelD #:11




Credential Details




 Name                                              City/State/Zip                                                   DBA/AKA

LVNV FUNDING LLC                                  Las Vegas. NV 89119-4485




 License Number       Description                     Status        First Effective Date    Effective Date    Expiration Date       Ever Disciplined

017021172            LICENSED COLLECTION AGENCY                                            05/19/2015        05/31/2018         N
Case: 1:17-cv-05233 Document #: 54 Filed: 02/07/18 Page 38 of 74 PageID #:445
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                            EXHIBIT C
               Case: 1:17-cv-05233 Document #: 54 Filed: 02/07/18 Page 39 of 74 PageID #:446
                      Case: 1:17-cv-05693 Document #: 1-1 Filed: 08/04/17 Page 6 of 13 PagelD #:13
Delaware.gov                                                                                                 Governor I General Assembly I Courts I Elected Officials I State Agencies




 Department of State: Division of Corporations
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 Office Location
                                                                                                                Incorporation Date 1 6/24/1999
                                                                 File Number:                 3061023
 SERVICES                                                                                                           Formation Date: (mm/dd/yyyy)
 Pay Taxes
 File UCC's                                                      Entity Name:                 RESURGENT CAPITAL SERVICES L.P.
 Delaware Laws Online
 Name Reservation
 Entity Search                                                                                Limited
                                                                 Entity Kind:                                            Entity Type:     General
 Status                                                                                       Partnership
 Validate Certificate
 Customer Service Survey                                         Residency:                   Domestic                           State:   DELAWARE
 INFORMATION
 Corporate Forms
 Corporate Fees                                                  REGISTERED AGENT INFORMATION
 UCC Forms and Fees
 Taxes
 Expedited Services                                              Name:                        CORPORATION SERVICE COMPANY
 Service of Process
 Registered Agents
 GetCorporate Status                                             Address:                     2711 CENTERVILLE RD SUITE 400
 SUbmitting a Request
 How to Form a New Business Entity                               City:                        WILMINGTON                     County:      NewCastle
 Certifications, Apostilles & Authentication of Documents
                                                                 State:                       DE                        Postal Code:      19808

                                                                 Phone:                       302·636·5401


                                                                 Additional Information is available for a fee. You can retrieve Status for a fee of $10.00 or
                                                                 more detailed information including current franchise tax assessment, current filing history
                                                                 and more for a fee of $20.00.
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                            EXHIBITD
    Case: 1:17-cv-05233 Document #: 54 Filed: 02/07/18 Page 41 of 74 PageID #:448
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RESURGENT CAPITAL SERVICES LP                                     Greenville, SC 29601-511 5




                       LICENSED COLLECTION AGENCY   I   ACTIVE   12112/2016                    12112/2016   05/31/2018   N
Case: 1:17-cv-05233 Document #: 54 Filed: 02/07/18 Page 42 of 74 PageID #:449
  Case: 1:17-cv-05693 Document #: 1-1 Filed: 08/04/17 Page 9 of 13 PagelD #:16




                            EXHIBITE
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                                 Community Lawyers Group
                                    73 W. Monroe Street, Suite 514
                                        Chicago, Illinois 60603
                                         PH: (312)765-7561
                                          Fx: (312)265-3227


June 28, 2017

L VNV Funding, LLC
c/o Resurgent Capital Services
PO Box 10497
Greenville, SC 29603

Re:     JEANETTE AKINS


                                           (Credit One Bank Account)


Dear Sir or Madam:

The above referenced client is represented by our firm regarding all matters in connection with the above
referenced debt. Please direct any future communication regarding this account to our office. This client
regrets not being able to pay, however, at this time they are insolvent, as their monthly expenses exceed
the amount of income they receive, and the debt reported on the credit report is not accurate. If their
circumstances should change, we will be in touch.

If you wish to discuss this matter, please contact our office directly at (312) 765-7561 to speak with the
attorney assigned to the matter, Celetha Chatman.

Sincerely,
/s/ Celetha Chatman

Client Name:




....
JEANETTE AKINS
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                            EXHIBITF
         Case: 1:17-cv-05233 Document #: 54 Filed: 02/07/18 Page 45 of 74 PageID #:452


                                    acument #: 1-1 Filed: 08/04/17 Page 12 af 13 PagelD #:19


Equifax Credit Report™ for Jeanette Akins
As of: 08/01/2017
Available until: 08/31/2017                                                       Report Does Not Update
Confirmation _              .....                                                                      _
          Case: 1:17-cv-05233 Document #: 54 Filed: 02/07/18 Page 46 of 74 PageID #:453




LVNV FUNDING LLC                                        05/12/2016     $976             07/05/2017   $976




PO Box 10497
Ste 110, Ms 576
Greenville, SC-296030497
(866) 464-1183


                                                                      ·!current Status:

            er:                          !Individual Account.          IHi9h Credit:                          976
                                         t                             I
                                         iOpen                         ICredit Limit:

                                                                       [Terms Frequency:

                                         ;()5/12/2016                  IBalance:                            1$ 976

                                         107/05/2017                   IAmount Past Due:                    $ 976

                                                                     . ·!Actual Payment Amount:

                                                                       IDate of Last Activity:              iN/A

Date Major Delinquency First Reported:   ;06/2016                      IMonths Reviewed:                    )13

                                                                      ·!Activity Description:               iN/A

                                                                     . [oeferred Payment Start Date:

                                                                       IBalioon Payment Date:
                             Case: 1:17-cv-05233 Document #: 54 Filed: 02/07/18 Page 47 of 74 PageID #:454
JS 44 (Rev. 3/13)                 Case: 1:17-cv-05693 DO~t6VE~cg~ljtfL7 Page 1 of 1 PagelD #:21
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use ofthe Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)
I. (a) PLAINTIFFS                                                                                                        DEFENDANTS
          JEANETTE AKINS                                                                                                 LVNV FUNDING, LLC and RESURGENT CAPITAL
                                                                                                                         SERVICES, L.P.

          (b) County of Residence of First Listed Plaintiff      _C_o_o_k                                  _             County of Residence of First Listed Defendant
                                        (EXCEPT IN U.S. PLAINTIFF CASES)                                                                                (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                                         NOTE:                        IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                                                      THE TRACT OF LAND INVOLVED.

          (c) Attorneys (Firm Name, Address, and Telephone NlIInbel)                                                      Attorneys (IfKnown)

          Community Lawyers Group, Ltd.
          73 W. Monroe Street, Suite 502
          Chicago, IL 60603 Tel. 312-757.1880

II. BASIS OF JURISDICTION                                  (Place an "X" in One Box Only)            III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an "X" in One Boxfor Plaintiff
                                                                                                                    (For Diversity Cases Only)                                              and One Boxfor Defendant)
               U.S. Govemment              .( 3 Federal Question                                                                             PTF           DEF                                            PTF      DEF
                  Plaintiff                       (U.S. Government Not a Party)                                Citizen of1bis State            I                 I     IncOlporated or Principal Place         4      4
                                                                                                                                                                          ofBusiness In 11lis State

          2    U.S. Govemment                   4    Diversity                                                 Citizen of Another State               2          2     IncOlporated and Principal Place                     _ 5
                  Defendant                           (Indicate Citizenship ofParties in Item III)                                                                        ofBusiness In Another State

                                                                                                               Citizen or Subject of a                                 Foreign Nation                                         6
                                                                                                                 Foreign Counny

    IV. NATURE OF SUIT                       (Place an ''X'' in One Box Only)
I                 CONTRACT                                                 TORTS                                   FORFEITUREIPENALTY                         BANKRUPTCY                          OTHERSTATUTES                   /1
    o     110 Insmance                          PERSONAL INJURY                    PERSONAL INJURY             o
                                                                                                           625 Drug Related Seizme                    o 422 Appeal 28 USC 158                0 375 False Claims Act
    o     120Marine                         0    310 Airplane                   o  365 Personal InjUlY •       ofPropeliy 21 USC 881                  o 423 Withdrawal                       0 400 State ReappOliiolllnent
    o     130 Miller Act                    0    315 Ailplane Prodnct                  Product Liability 0690 Other                                           28 USC 157                     o    410 Antitrust
    o     140 Negotiable Instrument                   Liability                 0 367 Health Care/                                                                                           o    430 Banks and Banking
    o     150 Recovery of Overpayment       0    320 Assault, Libel &                  Pharmacentical                                                     PROPERTY RIGHTS                    o    450 Conmlerce
              & Enforcement of Jndgment               Slander                          Personal Injwy                                                 o 820 Copyrights                       o    460 DepOliation
    o     151 Medicare Act                  0    330 Federal Employers'                Product Liability                                              o 830 Patent                           o    470 Racketeer Influenced and
    o     152 Recovery of Defaulted                   Liability                 0  368 Asbestos Personal                                              o 840 Trademark                                 Corrupt Organizations
              Stndent Loans                 0    340 Marine                             InjUly Product                                                                                       liiI 480 Consumer Credit
              (Excludes Veterans)           0    345 Madne Product                      Liability                     ABOR                                SOCIALSECURITY                     o    490 Cable/Sat TV
    o     153 Recovery of                             Liability                   PERSONAL PROPERTY            o
                                                                                                           710 Fail' Labor Standards                  o   861 H1A (1395ff)                   o    850 Securities/Commodities/
              of Veteran,s Benefits         0    350 Motor Vehicle              o  370 Other Fraud              Act                                   o   862 Black Lung (923)                           Exchange
    o     160 Stockholders' Suits           0    355 Motor Vehicle              o  371 Truth in Lending        o
                                                                                                           720 LaborlManagement                       o   863 D1WCIDIWW (405(g))             0   890 Other StatntOly Actions
    o     190 Other Conn'act                         Product Liability          o  380 Other Personal           Relations                             o   864 ssm   Title XVI                0   891 Agricultnral Acts
    o     195 Contract Product Liability    0    360 Other Personal                    Property Damage         o
                                                                                                           740 Railway Labor Act                      o   865 RSI (405(g))                   0   893 Enviromnental Matters
    o     196 Franchise                              ll\iUlY                    0 385 ProPel1y Damage          o
                                                                                                           751 Family and Medical                                                            0   895 Freedom oflnfol1uation
                                            0    362 Personal h\i11lY -                Product Liability        Leave Act                                                                            Act
                                                     Medical Malpractice                                       o
                                                                                                           790 Other Labor Litigation                                                        0   896 Arbitration
I             REALPROPERTY                         CIVIL RIGHTS                  PRISONER PETITIONS            o
                                                                                                           791 Employee Retirement                        FEDERALTAXSUITS                    0   899 Administrative Procedme
    o     210 Land Condenmation             0    440 Other Civil Rights         o  510 Motions to Vacate       Income Security Act                    o   870 Taxes (U.S. Plaintiff                  ActlReview or Appeal of
    o     220 Foreclosure                   0    441 Voting                            Sentence                                                               or Defendant)                          Agency Decision
    o     230 Rent Lease & Ejectment        0    442 Employment                    Habeas Corpus:                                                     o   871 IRS-Third Pal1y                0   950 Constitutionality of
    o     240 Torts to Land                 0    443 Housing!                   0 530 General                                                                 26 USC 7609                            State Stahltes
    o     245 Tort Product Liability                 ACCollUllodations          0 535 Death Penalty
    o     290 All Other Real Property       0    445 Amer. wlDisabilities       0 540 Mandamus & Other          IMMIGRATION
                                                        Employment              0 550 Civil Rights             o
                                                                                                           402 NatnrallzatlOn AppllcatlOn
                                            0       446 ArneI'. wlDisabilities 0    555 Prison Condition       o 463 Habeas COIpUS -
                                                        Other                  0    560 Civil Detainee -               Alien Detainee
                                            0       448 Education                       Conditions of                  (Prisoner Petition)
                                                                                        Confinement            o   465 Other Inunigration
                                                                                                                       Actions

    V. ORIGIN                (Place an ''X'' m One Box OnM
    121       I Original         0 2 Removed from          D        3      Remanded from             04        Reinstated or       []        Transferred from D             6   Multidistrict
                Proceeding               State Court                       Appellate Cow1                      Reopened                      Another District
                                                                                                                                             (specifY)                          Litigation


    VI. CAUSE OF ACTION (Enter U.S. Civil Statute uuderwhichyou are filing and                                 VII. Previous Bankruptcy Matters (For nature of suit 422 and 423, enter the case
                                                                                                               number and judge for any associated bank11lptcy matter previously adjudicated by a judge of this Court.
    write a brief statement of cause.)
                                                                                                               Use a separate attachment ifnecess31Y.
     15 U.S.C. 1692 et seq. (Fair Debt Collection Practices Act)
    VIII. REQUESTED IN 0                               CHECK IF THIS IS A CLASS ACTION                             DEMAND $                                          CHECK YES only if demanded in complaint:
         COMPLAINT:                                    UNDER RULE 23, F.R.Cv.P.                                                                                      JURY DEMAND:                 (,ZI   Yes        [] No

    IX. RELATED CASE(S)
                                                     (See instructions):
         IF ANY                                                                 JUDGE                                                                     DOCKETNUMBER
    X. This case (check one box) 121                Is not a refiling of a previously dismissed action             D   is a refiling of case number                    previously dismissed by Judge


    DATE          August 4,2017                                                 SIGNATURE OF ATTORNEY OF RECORD                     sf Celetha Chatman
Case: 1:17-cv-05233 Document     #: 54 Filed: 02/07/18 Page 48 of 74 PageID #:455
                        CREDIT ONE BANK CREDIT CARD STATEMENT
                                                                 Account Number                  2177
                                                                 October 05, 2015 to November 04, 2015



                                                                                              .". . ••.. •.•.. .••• f1AYMENTINFQflMATIQN •..••
                                                                                                                                                                       .     ...
           Previous Balance                                                   $630.57        New Balance                                                                    $685.92
           Payments                                                             $0.00        Past Due Amount                                                                 $62.00
           O1her Credits                                                        $0.00        Amount Due This Period                                                          $70.00
           Purchases                                   +                        $0.00        Minimum Payment Due                                                            $132.00
           Cash Advances                               +                        $0.00        Payment Due Data                                                               11/28/15
           Fees Charged                                +                       $43.25        Late Payment Warning;
           Interest Charged                            +                       $12.10        If we do not receive your minimum payment by the date listed above,
                                                                                             you may have to pay a late fee up to $35.
           New Balance                                                        $685.92
                                                                                             Minimum Payment Warning:
           Credit Limit                                                       $600.00        If you make only the minimum payment each period, you will pay more
           Available Credit                                                     $0.00        In interest Bnd It will take you longer to payoff your balance.
           Statement Closing Date                                            11/04/15
           Days in Billing Cycle                                                       31    For example:
                                                                                                ••• lfYo~~llketio •••.      Yo~W,i"P"'Y?!flHe        ....       Aii~ybU;"'iiJ      ..
           QUESTIONS?                                                                            ad~iilo~'d·chaige$         fj"lailce shown 'oil .            'ena upp~yln9 .•.•
           Call Customer Service or Report                                                      uslh~th)s¢ilrdaila            th. $liit.m~illili               ·ah.eS1lmate~·
           a Lost or Stolen Credit Card                             1-877-825-3242            e<ii;hirJoriihyqup~Y ..'           . ~i;o"t ..:· ••.•.•••.         10talot,.:
           Outside the U.S. Call                                    1-702·405·2042
                                                                                                Only the    minlm~m
           Please send billing inquiries and correspondence to:                                       payment                      3 years                        $909.00
           P.O. Box 98873, Las Vegas, NV 89193·8873
                                                                                             If you woul~ like a location for cre~it    co~n$ellng      services.
                                                                                             call 1-866-515-5720.

                                                                                        lR,i\NSACTIONS
                                                                           Post Date Descrip1ion of Transaction or Credit
                                                                                        I;ees.·    .
                                                                                        ANNUI\LFEE
                                                           11/04             11/04      LATE FEE
                                                                                        TOTAL FEES FOR THIS PERIOD
                                                                                        Inter~tCtiarlle<l'
                                                           11/04             11/04      Interest Charge on Purchases                                                          12.10
                                                           11/04             11/04      Interest Charge on Cash Advances                                                       0.00
                                                                                        TOTAL INTEREST FOR THIS PERIOD                                                        12.10


                                               Total fees charged In 2015                                                               $300.70
                                               Total interest charged in 2015                                                           $125.94



                                                           YOUR ACCOUNT IS PAST DUE AND WILL ADVERSELY
                                                             AFFECT YOUR CREDIT RATING. PLEASE PAY THE
                                                           MINIMUM AMOUNT DUE NOW OR CALL (888) 729-6274.


            •••.•. .....)     ••..• ..•• .•••.• .•••   .". •••.••. •.•.     INT~R~ST tHAR<3eCA..6uLATU;)N ...../ . .•. .•. . .•.••.•.••...•••                           .    ...
            Your Annual Percentage Rate (APR) is the annual interest rate on                                yo~r   account.

                                                                                                                         Balance Subject to
            Type of Balance                                               Annual Percentage Rate (APR)                     Interest Rate                      Interest Charge
            Purchases                                                               23.90%(v)                                  $607.24                              $12.10
            Cash Advances                                                           23.90%(v)                                    $0.00                               $0.00

            (v) = Variable Rate




           5385             JBH                 001        7    4         151104   0         XPAGE I of I                 20 5727       9620       MI15      OtDL5385

                      Ploase return this portion with your paymont, and writo your account number on your chock, modo payable to CREDIT ONE BANK.


                                                                                                                   PAY YOUR BILL ONLINE at CredltOneBank.com
                                                                                                                    Account Number:                                                2177
                                                                                                                    New Balance:                            $685.92
                                                                                                                    Minimum Payment Due: $132.00

                     For address, telephone and email changes,
                                                                                                                    Payment Due Date:                       11/28/15
                  D Or,
                     please check the box and complete the reverse side.
                          ~p~ate    your contact information online
                     at www.CreditOneBank.com.                                                                      AMOUNT ENCLOSED: 1_$                                                -'

                                                                                                   1"11,111"1"11.11,1,1,11111,,,,11,,,,1111,1,,111,,,11.11,1,II"
             CREDIT ONE BANK                                                                                       JEANETTE AKINS
             PO BOX 60500                                                                                          1640 N LORELAVE
             CITY OF INDUSTRY CA 91716-0500                                                                        CHICAGO IL 60639-4314
           1,1"1,1"11,1,1,1"1,1,,,1111,,11,1111,,,11,,11,,111,,,,111,1,,1
                                                                                                                                                                                                EXHIBIT
                                                                                                                                                                                             &n 56 Hda!-<"c:I
                                                                                                                                                                                             4f/(ID
                                                       0000000 0068592 0009700                                                 2177 7                                                        )-2'/-/ g--
Case: 1:17-cv-05233 Document     #: 54 Filed: 02/07/18 Page 49 of 74 PageID #:456
                        CREDIT ONE BANK CREDIT CARD STATEMENT
                                                       Accounl Number                 2177
                                                       October 05, 2014to November 04, 2014



                                                                                     .\ •.••• ••.•• •· •••.·PAY'JII:Nl"INFORM/l.TIClN··       ...•..              '




           Previous Balance                                      $279.87        New Balance                                                          $425.37
           Paymenls                                              $109.95        Past Due Amount                                                         $0.00
           Other Credits                                           $0.00        Amount Due This Period                                                $25.00
           Purchases                           +                 $237.43        Minimum Payment Due                                                   $25.00
           Cash Advances                       +                   $0.00        Payment Due Date                                                     11/28/14
           Fees Charged                        +                   $9.95        Late Payment Warning:
           Interest Charged                    +                   $8.07        If we do not reooive your minimum payment by the date listed above,
                                                                                you may have to pay a iate fee up to $35.
           New Balance                                           $425.37
                                                                                Minimum Payment Warning:
           Credit Limit                                          $600.00        If you make only the minimum payment each period, you wili pay more
           Available Credit                                      $174.00        in interest and It will take you longer to pay olf your balance.
           Statement Closing Date                                11/04/14
           Days in Billing Cycle                                       31       For example:
                                                                                    . JfiouiD~~~~o           YOU"!iilp~y~(Ittie .•          . Aody~uioilil
           QUESTIONS?                                                               addlUoDal·~hargas        j;)alanca shown  0·" ...      .end upp~ying
           Call Customer Service or Report                                        uslhg this '::ari!ahd        theSlilteIl1enliii .         aiieSllrrliltEid
           a Lost or Stolen Credit Card                    1-877-825-3242        EiilclimoIlJhyoupay..:     ••••:ilbout.;;· :....:            lolalof;.. · .
           Outside the U.S. Call                           1-702-405-2042
                                                                                   Only the minimum
           Please send billing inquiries and correspondence to:                         payment                   21 months                   $524.00
           P.O. Box 98873, Las Vegas, NV 89193-8873
                                                                                If you would like a location for credit counseling services,
                                                                                cali 1-866-515-5720.

                                                                          TA"AN$ACTIONS
                                                                          Description of Transaction or Credit                                         Amount
                                                                          TONY'S FINER FOODS CHICAGO IL                                                 39.07
                                                                          SIM SIM FOOD MART CHICAGO IL                                                  22.50
                                                                          FOOD4LESS #0567 CHICAGO IL                                                   175.86
                                                                          PAYMENT-DEBIT CARD               LAS VEGAS            NV                    -109.95
                                                                          Fees '..
            F572700MXOOOY1                         10i28        10/28     EXPRESS PAYMENT FEE LAS VEGAS NV                                                 9.95
                                                                          TOTAL FEES FOR THIS PERIOD                                                      9.95
                                                                          I~~re~t~tillrg~d   ..... ..
                                                                          Interest Charge on Purchases                                                     8.07
                                                   11/04        11/04     Interest Charge on Cash Advances                                                 0.00
                                                                          TOTAL INTEREST FOR THIS PERIOD                                                   6.Q7




            Your Annual Percentage Rate (APR) is the annual interest rate on your account.

                                                                                                        Balance Subject to
            Type of Balance                                  Annual Percentage Rate (APR)                 Interest Rate                   Interest Charge
            Purchases                                                  23.90%(v)                              $404.99                            $8.07
            Cash Advances                                              23.90%(v)                                $0.00                            $0.00

            (v) = Variable Rate




           5385            JBH           001       7   4     141104   0          PAGE 1 of 1              2 0 5727     9620    A064      OIDL5385

                       Ploase return this portion with your paymont, and write your account number on your check, mada payable to CREDIT ONE BANK.


                                                                                                    PAY YOUR BILL ONLINE at CredltOneBank.com
                                                                                                     Account Number:                                           2177
                                                                                                     New Balance:                       $425.37
                                                                                                     Minimum Payment Due: $25.00

                      For addres., telephone and email changes,                                      Payment Due Date:                  11/28/14
                  D   please check the box and complete the reverse side.
                      Or, update your contact information online
                      at www.CredIlOneBank.com.                                                      AMOUNT ENCLOSED: 1_$                                       --'

                                                                                      1.1,.1111"1I11.11111,,11111111.1I1111l11111,1111111111111I,11111
             CREDIT ONE BANK                                                                       JEANETIE AKINS
             PO BOX 60500                                                                          1640 N LORELAVE
             CITY OF INDUSTRY CA 91716·0500                                                        CHICAGO IL 60639-4314
           1""1,1,11,.1,11",1,1",1,,1,,11,,1111,,,1,1111,111,1,111111,,1




                                               0010995 0042537 0002500                                                                    2177 0
Case: 1:17-cv-05233 Document    #: 54 Filed: 02/07/18 Page 50 of 74 PageID #:457
                       CREDIT ONE BANK CREDIT CARD STATEMENT
                                                         Account Number                  2177
                                                        September 05. 2015 to October 04, 2015




           Previous Balance                                       $580.99          New Balance
           Payments                                                 $0.00          Past Due Amount
           Other Credits                                            $0.00          Amount Due This Period
           Purchases                            +                   $0.00          Minimum Payment Due
           Cash Advances                        +                   $0.00          Payment Dua Date
           Fees Charged                         +                  $38.25          Late Payment Warning:
           Interest Charged                     +                  $11.33          If we do not receive your minimum payment by the date listed above.
                                                                                   you may have to pay a late fee up to $35.
           New Balance                                            $630.57
                                                                                    Minimum Payment Warning:
           Credit Limit                                           $600.00           If you make only the minimum payment each period, you will pay more
           Available Credit                                         $0.00           In interest and it will take you longer to payoff your balance.
           Statement Closing Date                                 10/04/15
           Days in Billing Cycle                                           30       For example:
                                                                                         lfyQum~~.(ip '.,      .Yc)UW,illP~yi>.ff\8~ •.•
           QUESTIONS?                                                                  ~d~iiloMal ~hargas       balahCil shpwnoii .'
           Call Customer Service or Report                                            "slri~thls.cardano         thi! slatEliniJilliri ..
           a Lost or Stolen Credit Card                     1·877·825·3242           e~"hiiWMihYCiu:pay ..,         : abo.u\.;;
           Outside the U.S. Call                            1·702·405·2042
                                                                                       Only the mi nlmum
           Please send billing inquiries and correspondence to:                             payment                   3 years
           P.O. Box 98873. Las Vegas. NV 89193·8873



                                                                            'tAANSACTIONS
                                                                Post Date Description of Transaction or Credit
                                                                            .Feas·   " .'.
                                                                            ANNUAL FEE
                                                                            LATE FEE
                                                                            TOTAL FEES FOR THIS PERIOD
                                                                            lnter~tctiarged
                                                    10/04        10/04      Interest Charge on Purchases
                                                    10/04        10/04      Interest Charge on Cash Advances                                                    0.00
                                                                            TOTAL INTEREST FOR THIS PERIOD                                                     11.33


                                         Total fees charged in 2015                                                        $257.45
                                         Total interest charged in 2015                                                    $113.84



                                                    YOUR ACCOUNT IS PAST DUE. IT IS NOT TOO LATE TO
                                                     PROTECT YOUR CREDIT RATING I PLEASE PAY THE
                                                    MINIMUM AMOUNT DUE NOW OR CALL (888) 729·6274.



            Your Annual Percentage Rate (APR) is the annual interest rate on your account.
                                                                                                            Balance Subject to
           Type of Balance                                     Annual Percentage Rate (APR)                   Interest Rate                          Interest Charge
           Purchases                                                            23.90%(v)                         $568.99                                  $11.33
           Cash Advances                                                        23.90%(v)                           $0.00                                   $0.00
            (v) = Variable Rate




           5385             JBH           001       7   4     151004   0           X PAGE I of I              20 5727      8620     Mt15        QtDL53B5

                        Please return this portion w~h your paymont, and write your account numoor on your chock, made- payabl0 to CREDIT ONE BANK.


                                                                                                        PAY YOUR BILL ONLINE at CredltOneBank.com
                                                                                                         Account Number:                   2177
                                                                                                         New Balance:         $630.57
                                                                                                         Minimum Payment Due: $92.00
                       For address, telephone and email changes,
                                                                                                         Payment Due Date:                  10/28/15
                  D Or, update your contact information online
                       please check the box and complete the reverse side.

                      at www.CreditOneBank.com.                                                          AMOUNT ENCLOSED:                   1.;,.$                     _


                                                                                            1111111111111111.1111111.11111111,111.11.11.11111.1,1.111"II1Ili
             CREDIT ONE BANK                                                                           JEANETTE AKINS
             PO BOX 60500                                                                              1640 N LORELAVE
             CITY OF INDUSTRY CA 91716·0500                                                            CHICAGO IL 60639·4314
           ",1,11" ••• 1,1111"11111111",1,,,,,1,11.,1,,1111,,,1111 •• 1"I"




                                                                                                                   2177 0
Case: 1:17-cv-05233 Document
                       CREDIT ONE#: 54CREDIT
                                  BANK  Filed:
                                             CARD 02/07/18
                                                  STATEMENT Page 51 of 74 PageID #:458
                                                                          Account Number                   2177
                                                                           August 14, 2014 to October 04, 2014




           Previous Balance                                                       $75.00        New Balance
           Payments                                                               $29.95        Past Due Amount
           Other Credits                                                           $0.00        Amount Due This Period
           Purchases                                        +                    $225.76        Minimum Payment Due
           Cash Advances                                    +                      $0.00        Paymant Due Date
           Fees Charged                                     +                      $4.95        Late Payment Warning:
           Interest Charged                                 +                      $4.11        If we do not receive your minimum payment by the date iisted above,
            New Balance                                                          $279.87        you may have to pay a late ree up to $35.
                                                                                                Minimum Payment Warning:
           Credit Limit                                                           $600.00       If you make only the minimum payment each period, you will pay more
           Available Credit                                                       $320.00       In Interest and it will lake you longer to payoff your balance.
           Statement Closing Date                                                10104114
           Days in Billing Cycle                                                       52       For example:
                                                                                                      If yo~m~ke~o     .       '(ou Will p~yiiffl6e .
           QUESTIONS?                                                                                ad~iilory,dt;haige$       1)alari¢.ii shOY/O(in
           Cali Customer Service or Report                                                           I.lslngthls cilrdilno     ··the statenienti6 .
           a Lost or Stolen Credit Card                                   1-877-825-3242           e$cllm6J\\hYoupily.~,               about.;; .
           Outside the U.S. Cali                                          1-702-405-2042
                                                                                                    Only the minimum
           Please send billing inquiries and correspondence to:                                          payment                    13 monlhs
           P,O. Box 98873, Las Vegas, NV 89193·8873



                                                                                           TflANSACTtONS
                                                                               Post Date   Description of Transaction or Credit
                                                                                08128      FINGERHUT PAYMENTS                 800-2082500 MN
                                                                                09108      GLOBE LIFE AND ACCIDENT 972-540-6542 OK
                                                                                09109      PAYMENT-DEBIT CARD                LAS VEGAS NV
             :;: '>;:. :,.:;.:, ::::, -.":                                                 Fees·                               •.•••.••••.••••..••
            F572700LCOOO'(1                                      09109                     EXPRESS PAYMENT      LASVEGI\S Nit
            F572700LCOOOYD                                       09109          09109      EXPRESS PYMT FEE CREDIT LAS VEGAS CREDIT
                                                                                           TOTAL FEES FOR THIS PERIOD
                                                                                           lht~re$t.~h~rged      .   .
                                                                                           Interest Charge on Purchases                                                            4.11
                                                                 10104                     Interest Charge on Cash Advances                                                        0.00
                                                                                           TOTAL INTEREST FOR THIS PERIOD                                                          4.11


                                                   Total fees charged in 2014
                                                   Total interest charged in 20t4



                                                                   CONGRATULATIONS! YOUR CREDIT LINE HAS BEEN
                                                                  INCREASED TO $600. THIS INCREASE IS EFFECTIVE
                                                                 IMMEDIATELY AND YOUR NEW CREDIT LINE IS SHOWN
                                                                               ON THIS STATEMENT.

             .                .:- ....       . •. ... • . . .•       .......\   Ii'lTE~EST ~H.il.RGECALC;:(j~4'ni:>N              . •. . . .•. . .•   ....../ ..........•..•......... / i   .

            Your Annual Percentage Rate (APR) is the annual interest rate on your account.

                                                                                                                           Balance SUbject to
            Type of Balance                                                  Annual Percentage Rate (APR)                    Interest Rate                       Interest Charge
            Purchases                                                                  23.90%(v)                                 $206.47                                $4.11
            Cash Advances                                                              23.90%(v)                                   $0.00                                $0.00

            (v)   = Variable Rate




           5305                    JBH              001          7    4      141003   0            PAGE 1 of I               2 0 5727          9620   AOM       a tDL5305
                            Ploase retum this portion with your paymont, and wrlto your account numbor on your chock, mado payablo to CREOfT ONE BANK.


                                                                                                                     PAY YOUR BILL ONLINE et CredltOneBank.com
                                                                                                                      Account Number:                                                2177
                                                                                                                      New Balance:                           $279.87
                                                                                                                      Minimum Payment Due: $25.00

                          For address, telephone and email changes,                                                   Payment Due Date:                       10128114
                  D       please check the box and complete the reverse side.
                          Or, update your contact Information online
                          at www.CredIlOneBank.com.                                                                   AMOUNT ENCLOSED: I..:-$                                    -..:.._....J

                                                                                                        1111111111111111111111.1111111111111.11111111111111111111.1111111

              CREDIT ONE BANK                                                                                       JEANETTE AKINS
              PO BOX 60500                                                                                          1640 N LORELAVE
              CITY OF INDUSTRY CA 91716-0500                                                                        CHICAGO IL 60639-4314
           1,11111""11""1,111,1,11,1,,1.11,,,,,,1111.,1.11,1111,1, •• ,1"




                                                             0002995 0027987 0002500                                                                             2177 6
Case: 1:17-cv-05233 Document     #: 54 Filed: 02/07/18 Page 52 of 74 PageID #:459
                        CREDIT ONE BANK CREDIT CARD STATEMENT
                                                       Account Number                  2177
                                                       August 05, 2015 to September 04, 2015




           Previous Balance                                      $692.74        New Balance                                                             $580.99
           Payments                                              $141.95        Past Due Amount                                                           $0.00
           Other Credits                                           $0.00        Amount Due This Period                                                   $30.00
           Purchases                           +                   $0.00        Minimum Payment Due                                                      $30.00
           Cash Advances                       +                   $0.00        Payment Due Dete                                                       09/26/15
           Fees Charged                        +                  $16.20        Late Payment Warning:
           Interest Charged                    +                  $12.00        If we do not receive your minimum payment by the date listed above,
                                                                                you may hava to pay a lata faa up to $35.
            New Balance                                          $580.99
                                                                                Minimum Payment Warning:
           Credit limit                                           $600.00       If you make only the minimum payment each period, you will pay more
           Available Credit                                        $19.00       in interest and 11 will take you longer to payoff your balance.
           Statement Closing Date                                09/04/15
           Days in Billing Cycle                                       31       For example:
                                                                                   . .If Y9U((1'ilW60 •          YopWilip~yQ.ffI6~· •
           QUESTIONS?                                                               ~i:fditlohal' ~ha(gi>s      .baleh;:;, sfiQliinQn
           Call Customer Service or Report                                         using thiS tlIrdalld            th~ stateh1~hrill
           a Lost or Stolen Credit Card                    1-877-825-3242        e~dhh1~hthYou.piiY.•'              ••• iibou,,",   .
           Outside the U.S. Call                           1-702-405-2042
                                                                                   Only the minimum
           Please send biUing inquiries and correspondence to:                           paymant                       3 years
           P.O. Box 98873, Las Vegas, NV 89193-8873



                                                                           TRANSACTIONS
                                                               Post Date Description of Transaction or Credit
                                                                08/20      PAYMENT-DEBIT CARD                      LAS VEGAS
                                                                           fees
                                                                           EXPRESS PAYMENT FEE LAS VEGAS NV
                                                                           ANNUAL FEE 10/15 THROUGH 10/15
                                                                           TOTAL FEES FOR THtS PERIOD

                                                                (J9/(J4   'l~I:;:tgt:~~:~ Pur~h~ses
                                                   09/04        09/04      Interest Charge on Cash Advances                                               0.00
                                                                           TOTAL INTEREST FOR THIS PERIOD                                                12.00


                                         Total fees charged in 2015
                                         Total interest charged in 2015




            Your Annual Percentage Rate (APR) is the annual interest rate on your account.

                                                                                                             Balance SUbject to
            Type of Balance                                  Annual Percentage Rate (APR)                       tnterest Rate                Interest Charge
            Purchases                                                  23.90%(v)                                    $602.49                        $12.00
            Cash Advances                                              23.90%(v)                                      $0.00                         $0.00

            (v) = Variable Rale




           5395            J8H           001       7   4     150904   0          PAGE 1 of t                  20   S727    9620     M115    01DL5395

                       Please return this portion with your payment, and write your account number on your check, made payablo to CREDIT ONE BANK.


                                                                                                      PAY YOUR BILL ONLINE at CredllOneBank.com
                                                                                                       Account Number:                                      2177
                                                                                                       New Balance:                        $560.99
                                                                                                       Minimum Payment Due: $30.00

                      For address, telephone and emaH changes,                                         Payment Due Date:                   09/28/15
                  D   please check the box and complete the reverse side.
                      Or. update your contact Information online
                      at www.CreditOneBank.com.                                                        AMOUNT ENCLOSED: 1$.;.......                          _

                                                                                      11,1,1",1111,11,1,1,1,111"111111",.111,,1,11,1,,1,,,111,,1,111
             CREDIT ONE BANK                                                                         JEANETTE AKINS
             PO BOX 60500                                                                            1640 N LORELAVE
             CITY OF INDUSTRY CA 91716·0500                                                          CHICAGO IL 60639·4314
           1,111"1,1111"".111.",1,11,1,111,,11,,1,,11,1,,1,,,11.1,,1111,




                                               001419500580990003000                                                  177 9
Case: 1:17-cv-05233 Document     #: 54 Filed: 02/07/18 Page 53 of 74 PageID #:460
                        CREDIT ONE BANK CREDIT CARD STATEMENT
                                                       Account Numbe                    177
                                                        August 08, 2014 to August 13, 2014



                                                                                                                                                ..    , .
           Previous Balance                                       $0.00        New Balance                                                            $75.00
           Payments                                               $0.00        Past Due Amount                                                          $0.00
           Other Credits                                          $0.00        Amount Due This Period                                                 $25.00
           Purchases                           +                  $0.00        Minimum Payment Due                                                    $25.00
           Cash Advances                       +                  $0.00        Paymant Dua Date                                                      09/09/14
           Fees Charged                        +                 $75.00        Late Payment Warning:
           Interest Charged                    +                  $0.00        If we do not receive your minimum payment by the date listed above,
                                                                               you may have to pay a late fee up to $35.
           New Balance                                           $75.00
                                                                               Minimum Payment Warning:
           Credit Limit                                         $400.00        If you make only the minimum paymant each period, you will pay mora
           Available Credit                                     $325.00        In intarest and it will take you longer to pay olf your balance.
           Statement Closing Date                              08/13/14
           Days in Billing Cycle                                     30        For example:
                                                                                   Jfyoumak~~o
           QUESTIONS?                                                               ai:lqitloryal~haiges .
           Cali Customer Service or Report                                         uslrig thiscaro and
           a Lost or Stolen Credit Card                 1-877-825-3242           <iiichil)dnthYoupay.::
           Outside the U.S. Call                        1-702-405-2042
                                                                                   Only tha minimum
           Please send billing inquiries and correspondence to:                         payment                    4 months                    $78.00
           P.O. Box 98873, Las Vegas, NV 89193·8873
                                                                                If you would like a location for credit counseling services.
                                                                               call 1-866-515-5720.



             ",         .""              ..

           F572700KHOOOCYLAC

                                                                         IntereSiChi\rged      .,. ..•
                                                   08/13       08/13     Interest Charge on Purchases                                                   0.00
                                                   08/t3       08/13     Interest Charge on Cash Advances                                               0.00
                                                                         TOTAL INTEREST FOR THIS PERIOD                                                 0.00




                                                            ,.• ' INTER.E:ST CHAR9EC,ALcI,ILATlQN
            Your Annual Percentage Rate (APR) is the annual interest rate on your account.
                                                                                                        Balance SUbject to
            Type of Balance                                 Annual Percentage Rate (APR)                  Interest Rate                 Interest Charge
            Purchases                                                 23.90%(v)                                 $0.00                          $0.00
            Cash Advances                                             23.90%{V)                                 $0.00                          $0.00

            (v) = Variable Rate




           S385            JBH           001       7   13   140813   0           PAGE I 011                  2 0 S727   9620   A064    01DLS385

                       Ploaso return this portion with your payment, and write your account number on your check, made payablo to CREDIT ONE BANK.


                                                                                                    PAY YOUR BILL ONLINE at CredltOneBenk.com
                                                                                                     Account Number:                   2177
                                                                                                      New Balance:                    $75.00
                                                                                                      Minimum Payment Due: $25.00
                    For address. telephone and email changes,                                         Payment Due Date:    09/09/14
                  O plaase check the box and complete the reverse side.
                    Or, update your contact Information online
                      at www.CreditOneBank.com.                                                      AMOUNT ENCLOSED: 1"-$                                  _

                                                                                      .111.1111111111111111111,1.1.11.11111111111111111111.11111",1111
              CREDIT ONE BANK                                                                       JEANETTE AKINS
              PO BOX 60500                                                                          1640 N LORELAVE
              CITY OF INDUSTRY CA 91716·0500                                                        CHICAGO IL 60639-4314
           1",11,1,11,11"11,11"1,,1,,,,,11111,11,111,1,11,1,1,11111,11",




                                               0000000 0007500 0002500                                                                  2177 7
Case: 1:17-cv-05233 Document    #: 54 Filed: 02/07/18 Page 54 of 74 PageID #:461
                       CREDIT ONE BANK CREDIT CARD STATEMENT
                                                        Account Number                 2177
                                                          July 05, 2015to August 04, 2015




           Previous Balance                                      $637.25        New Balance                                                           $692.74
           Payments                                                $0.00        Past Due Amount                                                         $62.00
           Other Credits                                           $0.00        Amount Due This Period                                                  $70.00
           Purchases                           +                   $0.00        Minimum Payment Due                                                    $132.00
           Cash Advances                       +                   $0.00        Payment Due Dete                                                      08/28/15
           Fees Charged                        +                  $43.25        Late Payment Warning:
           Interest Charged                    +                  $12.24        If we do not receive your minimum payment by the date listed above,
                                                                                you may have to pay a late fea up to $35.
           New Balance                                           $692.74
                                                                                Minimum Payment Warning:
           Credit Limit                                          $600.00        If you make only the minimum payment each period, you will pay more
           Available Credit                                        $0.00        in interest and it will take you longerlo pay off your balance.
           Statement Closing Date                               08/04/15
           Days in Billing Cycle                                      31        For example:
                                                                                     uiQu(l)~atio             yopw.ili p~Y\lff t~a .•
           QUESTIONS?                                                              ad~itIQnal~harge$ .        1;>alaH<» Miown(in .,
           Call Customer Service or Report                                         usirigthls cardano          Ihl. ,ffateint.ntiM   .,
           a Lost or Stolen Credit Card                    1-877-825·3242        eailh ilwn.lhyc)u.pay.•'         ·;ibcjut.;:'
           Outside the U.S. Call                           1-702-405·2042
                                                                                   Only tha minimum
           Please send billing inquiries and correspondence to:                         paymant                     3 years                     $921.00
           P.O. Box 98873, Las Vegas, NV 89193-8873
                                                                                If you would IIka a location for credit counseling services,
                                                                                call 1-866-515-5720.



                                                                          Description of Transaction or Credit
                                                                         /fees •• '. ' ',       , ' ..
                                                   ()Si()4      ()8i()4' ANNUAL FEE ()sit5 THROUGH 09i15                                                   8.25
                                                   08/04        08/04 LATE FEE                                                                            35.00
                                                                         TOTAL FEES FOR THIS PERIOD                                                       43.25
                                                                          lnt~ri!~t¢h~rlied
                                                   08/04        08/04     Interest Charge on Purchases                                                    12.24
                                                   08/04        08/04     Interest Charge on Cash Advances                                                 0.00
                                                                          TOTAL INTEREST FOR THIS PERIOD                                                  12.24


                                        Total fees charged in 2015                                                      $201.00
                                        Total interest charged in 2015                                                   $90.51



                                                   YOUR ACCOUNT IS PAST DUE AND WILL ADVERSELY
                                                     AFFECT YOUR CREDIT RATING. PLEASE PAY THE
                                                   MINIMUM AMOUNT DUE NOW OR CALL (888) 729-6274.


                                                                INT£REST CHARGECALCULATlON
            Your Annual Percentage Rate (APR) is the annual interest rate on your account.

                                                                                                        Balance Subject to
            Type of Balance                                  Annual Percentage Rate (APR)                 Interest Rate                     Interest Charge
            Purchases                                                  23.90%(v)                              $614.41                             $12.24
            Cash Advances                                              23.90%(v)                                $0.00                              $0.00

            (v) = Variable Rate




           5395            JBH           001       7   4     150S04   0         X PAGE I of 1               20 5727     9520     MilS      QIDL5395

                       Please return thIs portion with your paymont, and wrila your account number on your chock, mado payable to CREDIT ONE BANK.


                                                                                                    PAY YOUR BILL ONLINE at CredltOneBank.com
                                                                                                     Account Number:                                        2177
                                                                                                     New Balance:                         $692.74
                                                                                                     Minimum Payment Due: $132.00

                      For address, telephone and email changes.
                                                                                                     Payment Due Date:                    08/28/15
                  D   please check the box and complete the reverse side.
                      Or, update your contact Information online
                      at www.CreditOneBank.com.                                                      AMOUNT ENCLOSED:                     1$- ' - - - - - - - - - '
                                                                                      1,11,IIIIIIIIIIII,dllllllllllllllllld,I,IIIIIIIIIIIIIIIIHI.11.

              CREDIT ONE BANK                                                                      JEANETTE AKINS
              PO BOX 60500                                                                         1640 N LOREL AVE
              CITY OF INDUSTRY CA 91716-0500                                                       CHiCAGO iL 60639-4314
           .1,1,1,11.1,1.111111111111,111111111,1111111111,11111,111 •• 1.1111




                                               000000000692740009700                                               177 0
Case: 1:17-cv-05233 Document     #: 54 Filed: 02/07/18 Page 55 of 74 PageID #:462
                        CREDIT ONE BANK CREDIT CARD STATEMENT
                                                            Account Number                  2177
                                                               June 05, 2015 to July 04, 2015




           Previous Balance                                        $595.61      New Balance
           Payments                                                  $0.00      Past Due Amount
           Other Credits                                             $0.00      Amount Due This Period
           Purchases                            +                    $0.00      Minimum Payment Due
           Cash Advances                        +                    $0.00      Payment Due Date
           Fees Charged                         +                   $30.00      Late Payment Warning:
           Interest Charged                     +                   $11.64      If we do not receive your minimum payment by the date listed above,
           New Balance                                             $637.25      you may have to pay a late fee up to $35.
                                                                                Minimum Payment Warning:
           Credit Limit                                            $600.00      If you make only the minimum payment each period, you will pay more
           Available Credit                                           $0.00     In interest and it will take you longer to payoff your balance.
           Statement Closing Date                                  07/04/15
           Days in Billing Cycle                                         30     For example:
                                                                                     If youm~k';~O .'       'you 0.iii P\>yQlf16e.•.•
           QUESTIONS?                                                               ad~i\lonal·chaige~       palanea ilhownon .' •
           Call Customer Service or Report                                          using this cilrdilhd   .'. the .siatemenfhl .
           a Lost or Stolen Cred" Card                      1-877-825·3242        etlclli!1onlhY(Jupi\Y..:       ·ilt;oUL·
           Outside the U.S. Call                            1-702·405·2042
                                                                                    Only the minimum
           Please send billing inquiries and correspondence to:                          payment                    3 years
           P.O. Box 98873, Las Vegas, NV 89193·8873




                                                    07/04         07/04                                                                                     11.64
                                                    07/04         07104                                                                                      0.00
                                                                                                                                                            11.64


                                         Total fees charged in 2015
                                         Total interest charged. in 2015



                                                    YOUR ACCOUNT IS PAST DUE. IT IS NOT TOO LATE TO
                                                     PROTECT YOUR CREDIT RATING! PLEASE PAY THE
                                                    MINIMUM AMOUNT DUE NOW OR CALL (888) 729·6274.


                                                                  INTeRESTCHARGECALCULM'ION '.
            Your Annual Percentage Rate (APR) is the annual interest rate on your account.
                                                                                                           Balance Sub!ectto
            Type of Balance                                    Annual Percentage Rate (APR)                  Interest Rate                        Interest Charge
            Purchases                                                    23.90%(v)                               $584.41                                $11.64
            Cash Advances                                                23.90%(V)                                 $0.00                                 $0.00

            (v) = Variable Rate




           5395             J8H           001       7   4      150700   0       XPAGE I 011                 20   5727   9620    MI15         Q1DL5395

                        Ploase relurn this portion with your payment, and write your account number on your chock, mado payable to CREDfT ONE BANK.


                                                                                                     PAY YOUR BILL ONLINE at CredltOneBank.com
                                                                                                      Account Number:                   2177
                                                                                                      New Ba!ance:         $637.25
                                                                                                      Minimum Payment Due: $92.00
                       For address, telephone and email changes,                                      Payment Due Date:    07/28/15
                  D Or,pleaseupdate
                                check the box and complete the reverse side.
                                    your contact Information online
                       at www.CrediIOneBank.com.                                                      AMOUNT ENCLOSED:                  I..:..$                     .....J


                                                                                       111111111,II,lllrll.IIIIIIIII"II,IIIIII,I"II,II,I,II,,111I"",

             CREDIT ONE BANK                                                                        JEANETTE AK!NS
             PO BOX 60500                                                                           1640 N LORELAVE
             CITY OF INDUSTRY CA 91716-0500                                                         CHICAGO IL 60639·4314
           111111",11"1,111,1","",.1,,111,1,11.11111.,1,11.,,.111 •• I",




                                                0000000 0063725 0006200                                                                           2177 2
Case: 1:17-cv-05233 Document     #: 54 Filed: 02/07/18 Page 56 of 74 PageID #:463
                        CREDIT ONE BANK CREDIT CARD STATEMENT
                                                             Account Number                 2177
                                                                May 05, 2015 to June 04, 2015




           Previous Balance                                        $639.41         New Balance
           Payments                                                $109.95         Past Due Amount
           Other Credits                                             $0.00         Amount Due This Period
           Purchases                             +                  $45.00         Minimum Payment Due
           Cash Advances                         +                   $0.00         Payment Due Date
           Fees Charged                          +                   $9.95         Late Payment Warning:
           Interest Charged                      +                  $11.20         If we do not reoaive yo~r minim~m payment by the date listed above,
                                                                                   yo~ may have to pay a late fee up to $35.
            New Balance                                            $595.61
                                                                                   Minimum Payment Warning:
           Credit Limit                                            $600.00         If you make only the minimum payment each period, you will pay more
           Available Credit                                           $4.00        in Interest and it will take you longer to payoff your balance.
           Statement Ciosing Date                                  06104115
           Days in Billing Cycle                                         31        For example:
                                                                                        '.• JIYo~(I)a~e ~o •.      Y(l~wilIPayofft~e' .
           QUESTIONS?                                                                   addiilODillonarg"s .       balanca shown on
           Call Customer Service or Report                                              using thlstilrdand          ti1"Sti"Eim"nti" ..
           a Lost or Stolen Credit Card                      1-877-825·3242            eathiiJon!hyoupilY.;:           'abouL:
           Outside the U.S. Call                             1·702-405·2042
                                                                                        Only the minimum
           Please send billing inquiries and correspondence to:                              payment                    3 years
           P,O. Box 98873, Las Vegas, NV 89193-8873




                                                                            Fees.·.....·,····
            F57270045000Y1                           05113        05113     EXPRESS pAYMENT FEE LAS VEGAS NV
                                                                            TOTAL FEES FOR THIS PERIOD

                                                                            l"t~r~t¢h~rl1ed       .....• '
                                                                  06104     Interest Charge on Purchases                                                      11.20
                                                     06104        06104     Interest Charge on Cash Advances                                                   0,00
                                                                            TOTAL INTEREST FOR THIS PERIOD                                                    11.20




            Your Annual Percentage Rate (APR) is the annual Interest rate on your aocount.

                                                                                                                Balance SubJect to
            Type of Balance                                     Annual Percentage Rate (APR)                      Interest Rate                Interest Charge
            Purchases                                                     23.90%(v)                                   $562,35                        $11.20
            Cash Advances                                                 23.90%(V)                                     $0.00                         $0.00

            (v) = Variable Rate




           5385             J8H            001       7   4     IS0604   0              PAGE 1011                 2 0 S727    9620    A064    OlOLS385

                       Please relurn this portion with your payment, and write your accounl number on your chock, made payable to CREDfT ONE BANK.


                                                                                                          PAY YOUR BILL ONLINE at CredltOneBank.com
                                                                                                           Account Number:                                       2177
                                                                                                           New Balance:                     $595.61
                                                                                                           Minimum Payment Due: $30.00

                      For address, telephone and email changes,                                            Payment Due Date:                06128115
                  D   please check the box and complete the reverse side.
                      Or, update your contact Informallon online
                      at www.CreditOneBank.com.                                                            AMOUNT ENCLOSED: I$-'--                             ~_
                                                                                           11, •• 11.11,1111 .... 1... 11.1.111.11.11 •• 11.11.11.11.111.1111 •• 1,11
              CREDIT ONE BANK                                                                            JEANETIE AKINS
              PO BOX 60500                                                                               1640 N LORELAVE
              CITY OF INDUSTRY CA 91716·0500                                                             CHICAGO IL 60639·4314
           11 .. 11 ... 11.11.,1.,1 •••• ,.1, ..... 11.1111,"111 •• 1.1.1,11111.111"




                                                 0010995 0059561 0003000                                                                       2177 3
Case: 1:17-cv-05233 Document
                       CREDIT ONE#: 54CREDIT
                                  BANK  Filed:
                                             CARD02/07/18
                                                 STATEMENT Page 57 of 74 PageID #:464
                                                           Account Number                  2177
                                                              April 05. 2015 to May 04, 2015




            Previous Balance                                     $508.00       New Balance                                                              $639.41
            Payments                                               $0.00       Past Due Amount                                                           $26.00
            Other Credits                                          $0.00       Amount Due This Period                                                    $58.00
            Purchases                          +                  $93.63       Minimum Payment Due                                                       $84.00
            Cash Advances                      +                   $0.00       Paymant Dua Date                                                         05/28/15
            Fees Charged                       +                  $26.00       Late Payment Warning:
            Interest Charged                   +                  $11.78       If we do not receive your minimum payment by the date listed above.
                                                                               you may have to pay a late fee up to $35.
               New Balance                                       $639.41
                                                                               Minimum Payment Warning:
               Credit Limit                                      $600.00       If you make only the minimum payment each period, you will pay more
               Available Credit                                     $0.00      in Interest and it will take you longer to payoff your balance.
               Statement Closing Date                            05/04/15
               Days in Billing Cycle                                   30      For example:
                                                                                    if yoUi(l)~k~~O.        Youwilipay?fj\~e.•.·
           QUESTIONS?                                                              ~d~itloni" ~haig.s .      baiance shown 'art '
           Call Customer Service or Report                                        ualrtg thIs card snd       'th~siatem~nlin ..
           a Lost or Stolen Credit Card                    1-877-825-3242        e4ehiJlonth You pay..:           about.;:
           Outside the U.S. Call                           1-702-405-2042
                                                                                   Only the minimum
           Please send billing inquiries and correspondence to:                         payment                   3 years
           P.O. Box 98873, Las Vegas, NV 89193-8873




                                                                                                                                                              11.78
                                                                                                                                                               0.00
                                                                                                                                                              11.78




                                                   YOUR ACCOUNT IS PAST DUE. IT IS NOT TOO LATE TO
                                                    PROTECT YOUR CREDIT RATING I PLEASE PAY THE
                                                   MINIMUM AMOUNT DUE NOW OR CALL (888) 729·6274.


           I      .,.,' .", > < i ",.'.<           .<           IN"I;Fi~si¢"'ARG~c~Li::lI~A'TI()N ••,' .             < ••.• ",'   < .• ,' .•••'..,   "•..•.,,' .",'
               Your Annual Percentage Rate (APR) Is the annual interest rate on your account.

                                                                                                       Balance Subject to
               Type of Balance                                Annual Percentage Rate (APR)               Interest Rate                        Interest Charge
               Purchases                                                23.90%(v)                            $591.58                                $11.78
               Cash Advances                                            23.90%(V)                              $0.00                                 $0.00

               (v) ~ Variable Rate




           5385            JBH           001       7   4     150504   0        x PAGE I of I              2 0 5727    9620        A064       OlDL5385

                       Ploaso relum this portion with your payment, and write your account number on your chock, made payable to CREDrr ONE BANK.


                                                                                                    PAY YOUR BILL ONLINE at CredltOneBank.com
                                                                                                     Account Number:                                              2177
                                                                                                     New Balance:                         $639.41
                                                                                                     Minimum Payment Due: $84.00

                      For address, telephone and email changes,                                      Payment Due Date:                    OS/28/15
                  D   please check the box and complete the reverse side.
                      Or, update your contact information online
                      at www.CreditOneBank.com.                                                     AMOUNT ENCLOSED: 1..:..$                               --'_ _

                                                                                      ,1.,1,1111,111,1"1",1",1111,,1,111.,1.1,,1,,,1111,1111,11,1.,1
                CREDIT ONE BANK                                                                    JEANETTE AKINS
                PO BOX 60500                                                                       1640 N LORELAVE
                CITY OF INDUSTRY CA 91716-0500                                                     CHICAGO IL 60639·4314
           111""1,111,1."11",11,,,,111,,1,11,1 •• ,,,111 •• ,111.1,.1I11111f




                                               0000000 0063941 0005800                                                                        2177 8
Case: 1:17-cv-05233 Document     #:BANK
                        CREDIT ONE   54 Filed: 02/07/18
                                                 ATEMENT Page 58 of 74 PageID #:465
                                                           Account Numb                              177
                                                              March OS, 2                           6




           Previous Balance                                       $916.39        New Balance                                                          $976.22
           Payments                                                 $0.00        Past Due Amount                                                      $264.00
           Other Credits                                            $0.00        Amount Due This Period                                               $747.22
           Purchases                           +                    $0.00        Minimum Payment Due                                                  $976.22
           Cash Advances                       +                    $0.00        Paymant Due Date                                                    04/28/16
           Fees Charged                        +                   $43.25        Late Payment Warning:
           Interest Charged                    +                   $16.58        If we do not receive your minimum payment by the date l1sted above,
                                                                                 you may have 10 pay a late fee up to $35.
            New Balance                                           $976.22
                                                                                 Minimum Payment Warning:
           Credit Limit                                           $600.00        If you make only the minimum payment each period, you will pay more
           Available Credit                                          $0.00       in interest and It witl take you longer to payoff your balance.
           Statement Closing Date                                 04/04/16
           Days in Billing Cycle                                        31       For example:
                                                                                      Ifyouinll!l~~o           yay wili payoff \~e .•
           QUESTIONS?                                                               ~i:I:!iilo~al~haige$       1:>alan~ shQ!imo~
           Call Customer Service or Report                                          using this cilrd an.d        th~ $Iatemantlri
           a Lost or Stolen Credit Card                    1-677-825-3242         e;rchmohthYoupay..;             ·.·.bol1l:;:
           Outside the U.S. Call                           1-702-405-2042
                                                                                    Only the minimum
           Please send billing inquiries and correspondence to:                          payment                    1 months
           P.O. Box 98673, Las Vegas, NV 69193-6673



                                                                           TRANSACTtONS
                                                                Post Date Description of Transaction or Credit


            FS/2700FFOOOCVl!(C                                   ()4i()4   ;:~~LJIIL.FEE05/16 THROUGHb5/16
                                                   04/04         04/04     LATE FEE
                                                                           TOTAL FEES FOR THIS PERIOD
                                                                           Inter~tCharllE;!l!
                                                   04/04         04/04     Interest Charge on Purchases                                                 16.56
                                                   04/04         04/04     Interest Charge on Cash Advances                                              0.00
                                                                           TOTAL INTEREST FOR THIS PERIOD                                               16.58


                                         Total fees charged in 2016
                                         Total interest charged in 2016



                                                   YOUR ACCOUNT IS SCHEDULED TO BE CHARGED OFF.
                                                      THE BALANCE WILL BE DUE IN FULL CALL (666)
                                                                      729-6274.

                                                                    Your account is currently closed_




            Your Annual Percentage Rate (APR) is the annual interest rate on your account.

                                                                                                            Balance Subject to
            Type of Balance                                   Annual Percentage Rate (APR)                     Interest Rate                  Interest Charge
            Purchases                                                   24.15%(v)                                  $823.49                          $16.58
            Cash Advances                                               24.15%(V)                                    $0.00                           $0.00

            (v) = Variable Rate




           5385            JBH           001       7   4      160404   0       ex PAGE 1 01 1                20 5727     9620    M115     01DL5385

                       Please roturn this portion with your paymont, and write your account number on your chock, made payable to CREDIT ONE BANK.


                                                                                                       PAY YOUR BILL ONLINE                              ank.com
                                                                                                        Account Number:                                   2177
                                                                                                        New Balance:                    $976.22
                                                                                                        Minimum Payment Due: $976.22

                      For address, telephone and email changes,
                                                                                                        Payment Due Date:               04/28/16
                  O   please check the box and complete the reverse sIde.
                      Or, updale your contact Information online
                      at www.CredltOneBank.com.                                                         AMOUNT ENCLOSED:                I~$                     __

                                                                                       11I1 •••   I,III,III,,111I1111111111111111111111,IIII.I,III,lalll.1,1
             CREDIT ONE BANK                                                                          JEANETTE AKINS
             PO BOX 60500                                                                             1640 N LORELAVE
             CITY OF INDUSTRY CA 91716·0500                                                           CHICAGO IL 60639-4314
           1,1,1,111"111,1,11111",,1,1,11111111,,,1,.1,,1,11,,1.1,11,1,11,




                                               0000000009762200976224                                               177 9
Case: 1:17-cv-05233 Document     #: 54 Filed: 02/07/18 Page 59 of 74 PageID #:466
                        CREDIT ONE BANK CREDIT CARD STATEMENT
                                                            Account Number                             2177
                                                               March 05,201                            5


                                                                                                               ...   '.'.'.'.-.-   ,     ,    ',   .. -   '    ,\


                                                                                                            PAYMENTINFORM,ll.T1QN .
           Previous Balance                                        $542.35            New Balance
           Paymenls                                                $219.90            Pasl Due Amounl
           Other Credlls                                             $0.00            Amount Due This Period
           Purchases                            +                  $155.60            Minimum Payment Due
           Cash Advances                        +                    $0.00            Payment Due Date
           Fees Charged                         +                   $19.90            Late Payment Warning:
           Interest Charged                     +                   $10.05            If we do nol receive your minimum paymenl by the dale Iisled above,
                                                                                      you may have to pay a lale lee up 10 $35.
           New Balance                                             $508.00
                                                                                      Minimum Payment Warning:
           Credit Limil                                           $600.00             If you make only Ihe minimum paymenl each period, you will pay more
           Available Credit                                        $92.00             in interest and It will take you longer to pay off your balance.
           Slalement Closing Dale                                 04/04/15
           Days in Billing Cycle                                        31            For example:
                                                                                           IlyQuin¥rto·.·.
           QUESTIONS?                                                                    ad~iiloDat~haige$
           Call Customer Service or Report                                               using this ¢ardand
           a Lost or Slolen Credit Card                     1-877-825·3242             'aallhintinthYtiu·pay.. i
           Outside the U.S. Cali                            1-702-405-2042
                                                                                         Only Ihe minimum
           Piease send biliing inquiries and correspondence 10:                               paymenl
           P.O. Box 98873, Las Vegas, NV 89193·8873



                                                                             TRANSACTIONS
                                                                             Description of Transaction
           74071932100XTMJK1                        03/06                    PAYMENT-DEBIT CARD     LAS VEGAS
           244129027WGNEB2EB                        03/11                    SIM SIM FOOD MART CHICAGO IL
           244129028WGNEB2F4                        03/12                    SIM SIM FOOD MART CHICAGO IL
           24412902EWGNEB2EY                        03/18                    81M SIM FOOD MART CHICAGO IL
           24412902LWGNEB2ER                        03/24                    SIM 81M FOOD MART CHICAGO IL
           24412902NWGNEB2EE                        03/26                    SIM SIM FOOD MART CHICAGO IL
           24412902SWGNEB2EJ                        03/30                    81M 81M FOOD MART CHICAGO IL
           74071932WOOXTMJJY                        04/02                    PAYMENT-DEBIT CARD     LA8 VEGAS                                       NV
                                                                            ··I'ees
            F57270021000Y1                          03/06         03/06      EXPRESS PAYMENT FEE LAS VEGAS NV                                                             9.95
            F5727002WOOOY1                          04/02         04/02      EXPRESS PAYMENT FEE LAS VEGAS NV                                                             9.95
                                                                             TOTAL FEES FOR THIS PERIOD                                                                  19.90
                                                                             Intljrljljtghargljd;'i .,
                                                                  04/04      Inlerest Charge on Purchases                                                                10.05
                                                    04/04         04/04      Inlerest Charge on Cash Advances                                                             0.00
                                                                             TOTAL INTEREST FOR THIS PERIOD                                                              10.05




            Your Annual Percenlage Rate (APR) is lhe annual inleresl rate on your account.
                                                                                                              Balance SUbject to
            Type of Balanoe                                    Annual Percentage Rate (APR)                     Interest Rete                                  Interest Charge
            Purchases                                                    23.90%(v)                                  $504.48                                          $10.05
            Cash Advances                                                23.90%(v)                                    $0.00                                           $0.00

            (v)   = Variable Rale




           5385             JBH           001       7   4      150403   0              PAGE I of 1                   2 0 5727          9620        A064       01DL53B5

                        Plouse return this portion with your paymont, and writo your account number on your chock, mado payablo to CREDff ONE BANK.


                                                                                                          PAY YOUR BILL ONLINE at CredltOneBank.com
                                                                                                           Account Number:                   2177
                                                                                                            New Balance:         $508.00
                                                                                                            Minimum Payment Due: $26.00
                       For address, telephone and email changes.                                            Payment Due Date:    04/28/15
                  D Or.pleaseupdate
                                check the box and complete the reverse side.
                                    your contact Information online
                       at www.CreditOneBank.com.                                                           AMOUNT ENCLOSED: 1.:...$                                              _

                                                                                            1111.11'11111,1 •.1.11111111.111111,1.1,11 •.1111.111111,111111111.
               CREDIT ONE BANK                                                                            JEANETTE AKIN8
               PO BOX 60500                                                                               1640 N LORELAVE
               CiTY OF INDUSTRY CA 91716-0500                                                             CHICAGO IL 60639·4314
           1.. 11"1.11,1, •.11111.,1.11 ... 1"11,,,11,11.1 •• 11,1,,.1111,,11111




                                                0010995 0050800 0002600                                                                                        2177 1
Case: 1:17-cv-05233 Document     #: 54 Filed: 02/07/18 Page 60 of 74 PageID #:467
                        CREDIT ONE BANK CREDIT CARD STATEMENT
                                                               Account Number                   2177
                                                                February 05. 2016 to March 04, 2016




           Previous Balance                                           $857.43           New Balance                                                             $916.39
           Payments                                                     $0.00           Past Due Amount                                                         $218.00
           Other Credits                                                $0.00           Amount Due This Period                                                    $81.00
           Purchases                               +                    $0.00           Minimum Payment Due                                                      $299.00
           Cash Advances                           +                    $0.00           Payment Dua Date                                                        03/28/16
           Fees Charged                            +                   $43.25           Late Payment Warning:
           Interest Charged                        +                   $15.71           If we do not receive your minimum payment by the date listed above.
                                                                                        you may have to pay a late fee up to $35.
           New Balance                                                $916.39
                                                                                        Minimum Payment Warning:
           Credit Limit                                               $600.00           If you make only the minimum payment each period, you will pay more
           Available Credit                                              $0.00          In Interest and it will take you longer to payoff your balance.
           Statement Closing Date                                     03/04/16
           Days in Billing Cycle                                            29          For example:
                                                                                              JfY~~((laJ<e6P "           '(<>uvilli p~yiiff the '
           QUESTIONS?                                                                        ad~ltlo~al~haiges           palanee shpwnOh '
           Call Customer Service or Report                                                   using this tara,ani:! '      th~  stat"manti" '
           a Lost or Stolen Credit Card                        1-877-825-3242            '••ohiilohjh,youpay..;              'aboUt..;
           Outside the U.S. Call                               1-702-405-2042
                                                                                             Only the minimum
           Please send billing inquiries and correspondence to:                                      payment                   3 years                   $1,193.00
           P.O. Box 98873, Las Vegas. NV 89193-8873
                                                                                        If you would like a IDeation for credit counseling services,
                                                                                        call1-B66-515-5720.


                                                                                 11lI\NSI\ClI0~S
                                                                                      ".,'               "
                                                                                 Description of Transaction or Credit
                                                                                 ,Fees ,"
                                                                                 ANNUALFEE"
                                                       03/04                      LATE FEE
                                                                                 TOTAL FEES FOR THIS PERIOD
                                                                                 Inter~tCharged
                                                       03/04         03/04       Interest Charge on Purchases
                                                       03/04         03/04       Interest Charge on Cash Advances                                                    0.00
                                                                                 TOTAL INTEREST FOR THIS PERIOD                                                     15.71


                                            Total fees charged in 2016                                                             $129.75
                                            Total interest charged in 2016                                                           $44.51



                                                       YOUR ACCOUNT IS PAST DUE AND WILL ADVERSELY
                                                         AFFECT YOUR CREDIT RATING. PLEASE PAY THE
                                                       MINIMUM AMOUNT DUE NOW OR CALL (888) 729-6274.

                                                                           Your account is currently closed.




            Your Annual Percentage Rate (APR) is the annual interest rate on your account.

                                                                                                                  Balance SUbject to
            Type of Balance                                       Annual Percentage Rate (APR)                      Interest Rate                     Interest Charge
            Purchases                                                       24.15%(v)                                   $780.24                             $15.71
            Cash Advances                                                   24.15%(v)                                     $0.00                              $0.00

            (v) = Vanable Rate




           5385              JBH             001       7   4      160304     0       ex PAGE 1of 1                     2 0 5727    9620     M115     01OL5385

                        Please roturn thIs portion with your payment, and write your account number on your check, made payablo to CREDIT ONE BANK.


                                                                                                               PAY YOUR BILL ONLINE at CredltOneBank.com
                                                                                                                Account Number:                                         2177
                                                                                                                New Balance:                        $916.39
                                                                                                                Minimum Payment Due: $299.00

                       For address, telephone and email changes,                                                Payment Due Date:                   03/28/16
                  D Or. update your centact Information online
                       please check the box and complete the reverse side.

                       at www.CreditOneBank.com.                                                                AMOUNT ENCLOSED: 1.:..$                                    _

                                                                                                11          11.111 .. 1111 •• 1.1111.1.1.111111.1     111 •• 1•••• 111.1.101
              CREDIT ONE BANK                                                                                  JEANETTE AKINS
              PO BOX 60500                                                                                     1640 N LORELAVE
              CITY OF INDUSTRY CA 91716-0500                                                                   CHICAGO IL 60639-4314
           .1 •• 1111 ••••• 11.1 •• 1.1 •• 1•• 1.1.11.1.11.111.111 •• 11.1.1 •• 1.1 ••••••




                                                   000000000916390026400                                                    2177 0
Case: 1:17-cv-05233 Document     #: 54 Filed: 02/07/18 Page 61 of 74 PageID #:468
                        CREDIT ONE BANK CREDIT CARD STATEMENT
                                                             Account Number                  2177
                                                              February 05,2015 to March 04, 2015




           Previous Balance                                          $631.65                New Balance                                                        $542.35
           Payments                                                  $109.95                Past Due Amount                                                       $0.00
           Other Credits                                               $0.00                Amount Due This Period                                               $28.00
           Purchases                            +                      $0.00                Minimum Payment Due                                                 $28.00
           Cash Advances                        +                      $0.00                Payment Due Date                                                   03/28/15
           Fees Charged                         +                      $9.95                Late Payment Warning:
           Interest Charged                     +                     $10.70                If we do not receive your minimum payment by the dale lisled above,
                                                                                            you may have 10 pay a late lee up to $35.
           New Balance                                               $542.35
                                                                                            Minimum Payment Warning:
           Credit Limit                                             $600.00                 If you make only the minimum paymenl each period, you will pay more
           Available Credit                                          $57.00                 In interest and it will take you ionger to pay olf your baiance.
           Statement Closing Date                                   03/04/15
           Days in Billing Cycle                                          28                For example:
                                                                                                . I f youinaka~o
           QUESTIONS?                                                                            addiuonid'~ha(ges
           Call Customer SelVice or Report                                                       usihg Ihls card snd
           a Lost or Stolen Credit Card                      1-877-825·3242                     each ii1onihyou·pay..:
           Outside the U.S. Call                             1-702-405-2042
                                                                                                 Only the minimum
           Please send billing inquiries and correspondence to:                                       payment
           P.O. Box 98873, Las Vegas, NV 89193-8873




                                                                                  JleO$
                                                                                  EXPRESS PAYMENT FEE LAS VEGAS
                                                                                  TOTAL FEES FOR THIS PERIOD
                                                        ..•. ,.. ,. _... ,...     'nt~f~~t¢~~rlJ$~.    ." .... " ..
                                                                                  Interest Charge on Purchases                                                   10.70
                                                    03/04           03/04         Interest Charge on Cash Advances                                                0.00
                                                                                  TOTAL INTEREST FOR THIS PERIOD                                                 10.70




                                                                              ".-,-   .   ,."     --",   ,--   .
                                                                   INTEREST CHARGE CALCULATION'
            Your Annual Percentage Rate (APR) is the annual interest rate on your account.
                                                                                                                       Balance SUbject to
            Type ot Balance                                     Annual Percentage Rate (APR)                             Interelll Rate             Interest Charge
            Purchases                                                     23.90%(v)                                          $537.24                      $10.70
            Cash Advances                                                 23.90%(v)                                            $0.00                       $0.00
            (v) = Variable Rate




           53S5             JBH           001       7    4     150304     0                     PAGE 1 of 1             2 0 5727   9620    A064   OlDL5385

                        Please return this portion with your payment. and writo your account number on your chock, made payable to CREDfT ONE BANK.


                                                                                                                   PAY YOUR BILL ONLINE at CredltOneBank.com
                                                                                                                    Account Number:                   2177
                                                                                                                    New Balance:         $542.35
                                                                                                                    Minimum Payment Due: $28.00
                       For address, telephone and email changes,                                                    Payment Due Date:    03/28/15
                  D Or,pleaseupdate
                                check the box and complete the reverse side.
                                    your contact Information online
                       at www.CredltOnaBank.com.                                                                    AMOUNT ENCLOSED: 1::..$                     --:_ _

                                                                                                    111,11.11,1"11111 •• 11111.11,111.11.1.1,1111,.,1,,,11 .... 1111.,11
             CREDIT ONE BANK                                                                                       JEANETTE AKINS
             PO BOX 60500                                                                                          1640 N LORELAVE
             CITY OF INDUSTRY CA 91716·0500                                                                        CHICAGO IL 60639-4314
           1,1",1,11,1,1.1"1.1111""111111,111,,,,,,1111,111.11,,1111,111




                                                0010995 0054235 0002800                                                                            2177 4
Case: 1:17-cv-05233 Document     #: 54 Filed: 02/07/18 Page 62 of 74 PageID #:469
                        CREDIT ONE BANK CREDIT CARD STATEMENT
                                                        Account Number                   2177
                                                        January 05, 2016 to February 04, 2016


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                                                                                                             ',".""  ., ... - .... - .... .
                                                                                                                        '.-.','"   ,.'             '


                                                                                                      .f'AYMEt>JTINFORMAT.ION
           Previous Balance                                      $799.34          New Balance                                                                              $857.43
           Payments                                                $0.00          Past Due Amount                                                                          $175.00
           Other Credits                                           $0.00          Amount Due This Period                                                                    $78.00
           Purchases                           +                   $0.00          Minimum Payment Due                                                                      $253.00
           Cash Advances                       +                   $0.00          Paymant Due Date                                                                        02128116
           Fees Charged                        +                  $43.25          Late Payment Warning:
           Interest Charged                    +                  $14.84          Ifwado not receive your minimum payment by the date listed above,
           New Balance                                           $857.43          you maY have to pay a lale fee up 10 $35.
                                                                                  Minimum Payment WarnIng:
           Credit Limit                                         $600.00           If you make only the minimum payment each period, you will pay more
           Available Credit                                        $0.00          In interest and it will take you longer to payoff your balance.
           Statement Closing Date                               02/04116
           Days in Billing Cycle                                      31          For example:
                                                                                       If Y9um<\J;Eipo.               Yo~ ~Iil li;'ypfft8e ..'
           QUESTIONS?                                                                M~itlory~1 ~har9"s               balanCe ShQWhoh ..
           Call Customer Service or Report                                           Using Ihi. tardano                lhe $lalEirn~nlio ..
           a Lost or stolen Credit Card                    1-877·825·3242          ·.~chli1onth·You;pay ..;              .' aboul.;;·
           Outside lhe U.S. Call                           1-702-405·2042
                                                                                     Only lhe minimum
           Please send billing inquiries and correspondence to:                           payment                              3 years
           P.O. Box 98873, Las Vegas, NV 89193-8873



                                                                            Tl'II\NSACT10li!S
                                                                            Description of Transaction or Credit
                                                                            .Fees·
                                                   ()2/()4      ()2104      ANNLJALFEE ()3/16          THROUGH
                                                                                                       03116                                                                   8.25
                                                   02/04        02/04       LATE FEE                                                                                          35,00
                                                                            TOTAL FEES FOR THIS PERIOD                                                                        43.25
                                                                            Inter~tCliarllell
                                                   02/04        02/04       Interest Charge on Purchases                                                                      14.84
                                                   02104        02/04       Interest Charge on Cash Advances                                                                   0.00
                                                                            TOTAL INTEREST FOR THIS PERIOD                                                                    14.84


                                        Total fees charged in 2016                                                                   $86.50
                                        Total interest charged in 2016                                                               $28.80



                                                   YOUR ACCOUNT IS PAST DUE AND WILL ADVERSELY
                                                    AFFECT YOUR CREDIT RATING. PLEASE PAY THE
                                                   MINIMUM AMOUNT DUE NOW OR CALL (888) 729-6274.

                                                                      Your account is currently closed.

            i ·            ·.·.i                       »        INTER~SlCHARG~C.ALClJLATI9N·i· ••.•.••.••. / ....•• .•... ...•.•                              ••..•. ....•.   •••......•
            Your Annual Percenlage Rate (APR) is the annual interest rate on your account.
                                                                                                             Balance SUbject to
            Type of Balance                                  Annual Percentage Rate (APR)                       Interest Rate                               Interest Charge
            Purchases                                                  24.15%(v)                                    $736.99                                       $14.84
            Cash Advances                                              24.15%(v)                                      $0.00                                        $0.00

            (v) = Variable Rate




           5395            JBH           001       7   4     160204     0       CX PAGE I 01 1                 20 5727              9620   MI15         01Ol5395

                       Ploase return this portion w"h your paymonl, and wrno your account number on your chock, mndo paynblo to CREDIT ONE BANK.


                                                                                                      PAY YOUR BILL ONLINE at CredltOneBank.com
                                                                                                       Account Number:                   2177
                                                                                                       New Balance:         $857.43
                                                                                                       Minimum Payment Due: $253.00
                      For address, 1elephone and email changes,
                                                                                                       Payment Due Date:                           02/28/16
                  D Or. update your conlact information online
                      please check the box and complete the reverse side.

                      at www.CredltOneBank.com.                                                        AMOUNT ENCLOSED:                           11-.:.$                              _



                                                                                        ,1,1111111,11"1,1",,11,1,1111,,,1,,1,1,1,111,,111111111,,1,1,11
              CREDIT ONE BANK                                                                        JEANETTE AKINS
              PO BOX 60500                                                                           1640 N LORELAVE
              CiTY OF INDUSTRY CA 91716·0500                                                         CHICAGO iL 60639·4314
           ,11",11,1,1,11",1"1111,1111111,,111,,1,10111,,1,111,,,,111,,1,




                                               000000000857430021800                                                          1771
Case: 1:17-cv-05233 Document     #: 54 Filed: 02/07/18 Page 63 of 74 PageID #:470
                       CREDIT ONE BANK CREDIT CARD STATEMENT
                                                                       Account Number                   2177
                                                                       January 05, 2015 to February 04, 2015



                                                                                                         ".         ,
           Previous Balance                                                            $533.47      New Balance                                                              $631.65
           Payments                                                                      $0.00      Past Due Amount                                                           $27.00
           Other Credits                                                                 $0.00      Amount Due This Period                                                    $59.00
           Purchases                                      +                             $59.84      Minimum Payment Due                                                       $86.00
           Cash Advances                                  +                              $0.00      Payment Due Date                                                         02/28/15
           Fees Charged                                   +                             $27.00       Late Payment Warning:
           Interest Charged                               +                             $11.34       If we do not receive your minimum payment by the date listed above.
                                                                                                     you may have to pay a late fee up to $35.
           New Balance                                                                 $631.65
                                                                                                     Mtnlmum Payment Warning:
           Credit Limit                                                                $600.00       If you make only the minimum payment each period, you will pay more
           Available Credit                                                              $0.00       in interest and it will take you longer to payoff your balance.
           Slatement Closing Date                                                     02/04/15
           Days in Billing Cycle                                                            31       For example:
                                                                                                        .If iouin~k.tio     .
           QUESTIONS?                                                                                   ad~iUonal'~haiges
           Call Customer Service or Report                                                              using this tard ana
           a Lost or Stolen Credit Card                                  1-877-825-3242               each ii1on!hVoupily.,:
           Outside the U.S. Call                                         1-702-405-2042
                                                                                                        Only the minimum
           Please send billing inquiries and correspondence to:                                              payment                      3 years                     $843.00
           P.O. Box 98873, Las Vegas, NV 89193·8873
                                                                                                     If you would like   a location for credit counseling services.
                                                                                                     call 1-866-515-5720.

                                                                                               TRANSACTIONS
                                                                                         Date Description of Transaction or Credit
                                                                                      01/08    WINGSTOP #57 ELMWOOD PARK IL
                                                                                      01/17    SIM SIM FOOD MART CHICAGO IL
                                                                                               Fees
                                                                                               LATE FEE
                                                                                               TOTAL FEES FOR THIS PERIOD

                                                                                               Int~r~r¢h~rl'leci  .... , .....
                                                                                               Interest Charge on Purchases
                                                               02/04                  02/04    Interest Charge on Cash Advances                                                  0.00
                                                                                               TOTAL INTEREST FOR THIS PERIOD                                                   11.34


                                                   Total fees charged in 2015                                                                      $61.95
                                                   Total interest charged in 2015                                                                  $22.90



                                                              YOUR ACCOUNT IS PAST DUE. IT IS NOT TOO LATE TO
                                                               PROTECT YOUR CREDIT RATING! PLEASE PAY THE
                                                              MINIMUM AMOUNT DUE NOW OR CALL (888) 729-6274.


           '.'.•.• ",'. ",' ." •..., "," ",. "'•• '.,., '.'        ',.•.• ," •. "'.   i~'rtFil!s'r¢HARGE.¢ALCllLATI()N                .'.'. '.""    ·«.i             ,'..."... ~ '7
            Your Annual Percentage Rale (APR) is the annual interest rate on your account.

                                                                                                                                Balance Subject to
            Type of Balance                                                    Annual Percentage Rate (APR)                       Interest Rate                    Interest Charge
            Purchases                                                                    23.90o/o{v)                                  $569.10                            $11.34
            Cash Advances                                                                23.90%(V)                                      $0.00                             $0.00

            (v) = Variable Rate




           53B5                 JBH                 001        7     4        150204       0        X PAGE 1 of f                2 0 5727          9620   A064    OfDL53B5

                          Please return this portion with your payment, and writo your account number on your chock, mado payable to CREDIT ONE BANK.


                                                                                                                           PAY YOUR BILL ONLINE at CredltOneBank.com
                                                                                                                            Account Number:                                         t77
                                                                                                                            New Balance:                         $631.65
                                                                                                                            Minimum Payment Due: $86.00

                        For address, telephone and email changes,                                                           Payment Due Date:                    02/28/15
                  D     piease check the box end complete the reverse side.
                        Or, update your contact Information online
                        at www.CreditOneBank.com.                                                                           AMOUNT ENCLOSED: 1..:.$                           ----'_ _

                                                                                                           1.111,111,11.11,111,11111,11 •• ,1111,111,1111.1111111111"111 ••• .1
              CREDIT ONE BANK                                                                                             JEANETTE AKINS
              PO BOX 60500                                                                                                1640 N LORELAVE
              CITY OF INDUSTRY CA 91716-0500                                                                              CHICAGO IL 60639-4314
           111I11111,111""IIII •• I.I •• I"I.II.,IIIII.III.I,.I,I"laI •• 111.1




                                                              0000000 0063165 0005900                                                                              2177 5
Case: 1:17-cv-05233 Document     #:BANK
                        CREDIT ONE   54CREDIT
                                         Filed:
                                              CARD02/07/18
                                                   STATEMENT Page 64 of 74 PageID #:471
                                                                              Account Number                 2177
                                                                              December 05,2015 to January 04, 2016


                                                                                                                                         ....... -.'.'      '   -    .,   ,'.,    -      .
                                                                                                                                                                                        ,'


                                                                                                                              .f'AYMEI\ITINFORMATION •..
            Previous Balance                                                            $742.13          New Balance                                                                                        $799.34
            Payments                                                                      $0.00          Past Due Amount                                                                                    $135.00
            Other Credits                                                                 $0.00          Amount Due This Period                                                                              $75.00
            Purchases                                           +                         $0.00          Minimum Payment Due                                                                                $210.00
            Cash Advances                                       +                         $0.00          Payment Due Date                                                                                  01/28/16
            Fees Charged                                        +                        $43.25          Late Payment Warning:
            Interest Charged                                    +                        $13.96          If we do not receive your minimum payment by the date listed above.
                                                                                                         you may have to pay a late ree up to $35.
            New Balance                                                                 $799.34
                                                                                                         Minimum Payment Warning:
            Credit Limit                                                                $600.00          If you make only the minimum payment each period, you will pay more
            Available Credit                                                              $0.00          in interest and It will take you longer to payoff your balance.
            Statement Closing Date                                                     01/04/16
            Days In Billing Cycle                                                            31          For example:
                                                                                                             If youil'lllketio .
            QUESTIONS?                                                                                      addjtlo~al~harg"s .
            Call Customer Service or Report                                                                 uslh~thls Ci!rdano
            a Lost or Stolen Credit Card                                          1-877-825-3242          .~ohiilOl\th.youp"\'     ..'
            Outside the U.S. Call                                                 1-702-405-2042
                                                                                                            Only the minimum
            Please send billing inquiries and correspondence to:                                                 payment
            P.O. Box 98873, Las Vegas, NV 89193·8873



                                                                                                  TRANSACTiONS
                                                                                             Date Description of Transaction or Credit
                                                                                                  !;eas                                                                                                            ',':._',.

                                                                                                  ANNUAL FEE                                                                                                      8.25
                                                                      01/04                       LATE FEE                                                                                                       35.00
                                                                                                  TOTAL FEES FOR THIS PERIOD                                                                                     43.25
                                                                                                  Intere!ltCharllel!
                                                                      01/04            01/04      Interest Charge on Purchases                                                                                   13.96
                                                                      01/04            01/04      Interest Charge on Cash Advances                                                                                0.00
                                                                                                  TOTAL INTEREST FOR THIS PERIOD                                                                                 13.96


                                                        Total fees charged in 2016                                                                                  $43.25
                                                        Total interest charged in 2016                                                                              $13.96



                                                                          YOUR CREDIT CARD ACCOUNT HAS BEEN CLOSED
                                                                            BECAUSE IT IS PAST DUE. IF YOU HAVE ANY
                                                                          QUESTIONS REGARDING YOUR ACCOUNT, PLEASE
                                                                                 CONTACT US AT 1-888-729-6274.

                                                                                         Your account is currently closed.


              .•••. ..••••. ••.•• ...•. •.•••.   ••.. •.•• •.. ••••. .•••. .••.     •••••.• INTEFl.ESniHARGECALCUI.ATIPN.··                               ...•• ••••• •••. )            .•••• •••• ••••. •••• •.•.••••. •

             Your Annual Percentage Rate (APR) is the annual interest rate on your account.

                                                                                                                                   Balance Subject to
             Type of Balance                                                        Annual Percentege Rete (APR)                      Interest Rate                                           Interest Cherge
             Purchases                                                                        24.15%(v)                                   $693.74                                                   $13.96
             Cash Advances                                                                    24.15%(v)                                     $0.00                                                    $0.00

             (v) = Variable Rate




            5385                    JBH                  001          7      4      160104    0        ex PAGE 1 of 1                    20 5727                9620             MI15        01DL5385

                              Please return this portion with your payment, and wrlte'your account number on your chock, made payable to CREDIT ONE BANK,


                                                                                                                             PAY YOUR BILL ONLINE at CredltOneBank.com
                                                                                                                              Account Number:                                                                         2177
                                                                                                                              New Balance:                                              $799.34
                                                                                                                              Minimum Payment Due: $210.00

                            For address, telephone and email changes,
                                                                                                                              Payment Due Date:                                         01/28/16
                   D Or, update your contact Informallon online
                            please check the box and complete the reverse side.

                            at www.CreditOneBank.com.                                                                         AMOUNT ENCLOSED: 1,;..$                                                                          _

                                                                                                               ,1"111111,1,1,1""1,11,,,1111,,,1.1,,1.1,111,11111,1,,1,111III,

               CREDIT ONE BANK                                                                                              JEANETIE AKINS
               PO BOX 60500                                                                                                 1640 N LOREL AVE
               CITY OF INDUSTRY CA 91716·0500                                                                               CHICAGO IL 60639·4314
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Case: 1:17-cv-05233 Document     #: 54 Filed: 02/07/18 Page 65 of 74 PageID #:472
                        CREDIT ONE BANK CREDIT CARD STATEMENT
                                                       Account Number                  2177
                                                       December 05, 2014 to January 04, 2015




           Previous Balance                                      $596.91       New Balance                                                           $533.47
           Payments                                              $109.95       Past Due Amount                                                          $0.00
           Other Credits                                           $0.00       Amount Due This Period                                                  $52.00
           Purchases                           +                   $0.00       Minimum Payment Due                                                     $52.00
           Cash Advances                       +                   $0.00       Payment Due Date                                                      01/28/15
           Fees Charged                        +                  $34.95       Late Payment Warning:
           Interest Charged                    +                  $11.56       If we do not receive your minimum payment by the dete listed above,
           New Balance                                           $533.47       you may have to pay a late fee up to $35.
                                                                               Minimum payment Warning:
           Credit Limit                                          $600.00       If you make only the minimum payment each period, you will pay mora
           Available Credit                                       $66.00       in interest and it will take you longer 10 payoff your balance.
           Statement Closing Date                               01/04/15
           Days in Billing Cycle                                      31       For example:
                                                                                      if Yl>~in~ke~o •.•
           QUESTIONS?                                                               addltlonal~ha(ges .
           Call Customer Service or Report                                         tislng thiS Cilrdahd
           a Lost or Stolen Credil Card                    1-877-825-3242        eiiclimOI\!hyou·pay,;;
           Outside the U.S. Call                           1-702-405-2042
                                                                                   Only the minimum
           Piease send billing inquiries and correspondence to:                         payment
           P.O. Box 98873, Las Vegas, NV 89193-8873




           74071930400XTMJJV                       01/03
                                                                          fees
           F57270004000Y1                          01/04        01/04     EXPRESS PAYMENT FEE LAS VEGAS NV                                              9.95
                                                   01/04        01/04     LATE FEE                                                                     25.00
                                                                          TOTAL FEES FOR THIS PERIOD                                                   34.95
                                                                          111t~re$t¢h~rged ....• ..
                                                                          Interest Charge on Purchases                                                 11,56
                                                   01/04        01/04     Interest Charge on Cash Advances                                              0.00
                                                                          TOTAL INTEREST FOR THIS PERIOD                                               11.56




            Your Annual Percentage Rate (APR) Is the annual interest rate on your account.
                                                                                                       Balance Subject to
            Type of Balance                                  Annual Percentage Rate (APR)                 Interest Rate                 Interest Charge
            Purchases                                                  23.90%(v)                              $580.22                         $11,56
            Cash Advances                                              23.90%(v)                                $0.00                          $0.00
            (v) = Variable Rate




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                       Ploaso return thIs portIon with your paymont, and wrlle-your account numbar on your chock, mado payable to CREOfr ONE BANK.


                                                                                                    PAY YOUR BILL ONLINE at CredltOneBank.com
                                                                                                     Account Number:                   2177
                                                                                                     New Balance:         $533.47
                                                                                                     Minimum Payment Due: $52.00
                      For address, telephone and email changes,                                      Payment Due Date:                01/28/15
                  D please check the box and complete the reverse side.
                    Or, update your contact Information online
                      at www.CredilOneBank.com.                                                      AMOUNT ENCLOSED: 1"-$                                      _

                                                                                      1.1111111,111,111,11.1111111111111,1,",1111111111111111,11'1.1"
             CREDIT ONE BANK                                                                       JEANETIE AKINS
             PO BOX 60500                                                                          1640 N LORELAVE
             CITY OF INDUSTRY CA 91716-0500                                                        CHICAGO IL 60639-4314
           1",1",1.1"1,,11111.,,,.11.11,,1111111.11"',,11.111,1,111 •• 1,I.




                                               0010995 0053347 0002700                                                                  2177 3
Case: 1:17-cv-05233 Document    #: 54 Filed: 02/07/18 Page 66 of 74 PageID #:473
                       CREDIT ONE BANK CREDIT CARD STATEMENT
                                                        Account Number                2177
                                                       November 05, 2015 to December 04, 2015




           Previous Balance                                      $685.92        New Balance
           Payments                                                $0.00        Past Due Amount
           Other Credits                                           $0.00        Amount Due This Period
           Purchases                           +                   $0.00        Minimum Payment Due
           Cash Advances                       +                   $0.00        Payment Due Date
           Fees Charged                        +                  $43.25        Late Payment Warning:
           Interest Charged                    +                  $12.96        If we do not receive your minimum payment by the date listed above.
                                                                                you may have to pay a late fee up to $35.
           New Balance                                           $742.13
                                                                                Minimum Payment Warning:
           Credit Limit                                          $600.00        If you make only the minimum payment each period, you will pay more
           Available Credit                                         $0.00       in interest and It will take you longer to payoff your balance.
           Statement Closing Date                                12/04/15
           Days in Billing Cycle                                       30       For example:
                                                                                     IfYou~~·AQ .'           YoUw.iP·R~ybfft~••.•
           QUESTIONS?                                                              ad~itlo~al~fia'ges           \lalaries shQwnon
           Call Customer Service or Report                                         Oslng this card and            the $lat~Tn~i1tiii
           a Lost or Stolen Credit Card                    1-877-825-3242        e~bh",ortthYou.pilY ..'             . ilWOt.;;····
           Outside the U.S. Call                           1-702-405-2042
                                                                                   Only the minimum
           Please send billing inquiries and correspondence to:                         payment                      3 years
           P.O. Box 98873, Las Vegas, NV 89193-8873



                                                                          TIlANSACTIONS
                                                                          Description of Transaotion or Credit
                                                                          !feel! ..•....'.
                                                                          ANNUAL FEE
                                                                          LATE FEE
                                                                          TOTAL FEES FOR THIS PERIOD
                                                                          Inter~tCtiarged
                                                   12/04        12/04     Interest Charge on Purchases                                               12.96
                                                   12/04        12/04     Interest Charge on Cash Advances                                            0.00
                                                                          TOTAL INTEREST FOR THIS PERIOD                                             12.96


                                        Total fees charged in 2015                                                       $343.95
                                        Total interest charged in 2015                                                   $138.90



                                                   YOUR ACCOUNT IS PAST DUE AND WILL ADVERSELY
                                                     AFFECT YOUR CREDIT RATING. PLEASE PAY THE
                                                   MINIMUM AMOUNT DUE NOW OR CALL (888) 729-6274.




            Your Annual Percentage Rate (APR) is the annual interest rate on your account.

                                                                                                        Balance SUbject to
            Type of Balance                                  Annual Percentage Rate (APR)                 Interest Rate                    Interest Charge
            Purchases                                                  23.90%(v)                              $650.49                            $12.96
            Cash Advances                                              23.90%(v)                                $0.00                             $0.00

            (v) = Variable Rate




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                       Please roturn thIs portion with your paymonl. and write your account numbor on your check, mado payobk> to CREDIT ONE BANK.


                                                                                                    PAY YOUR BILL ONLINE at CredltOneBank.com
                                                                                                     Account Number:                                   2177
                                                                                                     New Balance:                        $742.13
                                                                                                     Minimum Payment Due: $170.00

                      For address, telephone and email changes,
                                                                                                     Payment Due Date:                   12/28/15
                  D Or, updale your conlactlnformation online
                      please check the box and complete the reverse side.

                      at www.CreditOneBank.com.                                                      AMOUNT ENCLOSED: 1.;..$                             _

                                                                                      1"1111,1"1"1,,,,,1,1,11111,1,1111,1,111,1,1,111,,.1,,11,1,1111
              CREDIT ONE BANK                                                                      JEANETTE AKINS
              PO BOX 60500                                                                         1640 N LORELAVE
              CITY OF INDUSTRY CA 91716-0500                                                       CHICAGO IL 60639-4314
           ,11111,11.11.1111111111.111111111 .. ,1,1.1111111111.111111.11.1111




                                               000000000742130013500                                                177 2
Case: 1:17-cv-05233 Document     #: 54 Filed: 02/07/18 Page 67 of 74 PageID #:474
                        CREDIT ONE BANK CREDIT CARD STATEMENT
                                                          Account Number                 2177
                                                         November 05, 2014 to December 04, 2014




           Previous Balance                                        $425.37         New Balance                                                        $596.91
           Payments                                                $109.95         Past Due Amount                                                       $0.00
           Other Credits                                             $0.00         Amount Due This Period                                              $30.00
           Purchases                             +                 $261.30         Minimum Payment Due                                                 $30.00
           Cash Advances                         +                   $0.00         Payment Due Date                                                   12/26/14
           Fees Charged                          +                   $9.95         Lale Payment Warning:
           Interes1 Charged                      +                  $10.24         If we do not receive your minimum payment by the date listed above,
                                                                                   you may have to pay a iate fee up to $35.
           New Balance                                             $596.91
                                                                                    Minimum Paymenl Warning:
           Credit Limit                                           $600.00           If you make oniy the minimum payment each period, you will pay more
           Available Credit                                          $3.00          in Interesl and it will take you ionger to payoff your balance.
           Statement Closing Date                                 12/04/14
           Days in Billing Cycle                                        30          For example:
                                                                                        Ifyo~m~ke!io     '.
           QUESTIONS?                                                                  ad~itloryal'oharge$
           Cali Customer Service or Report                                            uslhg th,s¢ilrdahd
           a Lost or Stolen Credit Card                      1-877-825-3242          eacilillonth vqupiiy .~~
           Outside the U.S. Cali                             1-702-405-2042
                                                                                       Only the minimum
           Piease send billing inquiries and correspondence to:                             payment
           P.O. Box 98873, Las Vegas, NV 89193-8873



                                                                              TRANSACTiONS
                                                                        Date Description of Transaction or Credit                                      Amount
           2441290N9WGNEB2GZ                         11/07        11/07       SIM SIM FOOD MART CHICAGO IL                                              52.60
           2444500NGOOE9DREK                         11/15        11/15       PORTILLOS HOT DOG'S 12 FOREST PARK IL                                     42.91
           2470780NLWGV4LER5                         11/19        11/19       GRAND AVENUE SHRIMP HOUSE CHICAGO IL                                      19.61
           2423168N L5ZV8X30Q                        11/19        11/19       KFC/LJS #521046 CHICAGO IL                                                15.32
           2441290NPWGNEB2ER                         11/20        11120       SIM SIM FOOD MART CHICAGO IL                                              37.09
           7407193NLOOXTMJK1                         11/20        11/20       PAYMENT-DEBIT CARD     LAS VEGAS NV                                     ·109.95
           2445501 NP43AA6Y2Z                        11/23        11/23       WAL-MART #5402 CHICAGO IL                                                 70.27
           2441290NYWGNEB2G2                         11/29        11/29       SIM SIM FOOD MART CHICAGO IL                                              23.50
                                                                             " Fees'
                                                                               EXPRESS PAYMENT FEE      VEGAS NV
                                                                               TOTAL FEES FOR THIS PERIOD
                                                                              jhi~!~~i@~rg~d; .;;
                                                                              Interest Charge on Purchases
                                                     12/04                    Interest Charge on Cash Advances                                           0.00
                                                                              TOTAL INTEREST FOR THIS PERIOD                                            10.24

                                                                 2014foiids.'lear·to4)aie
                                          Total fees charged in 2014
                                          Total interest charged in 2014




            Your Annual Percentage Rate (APR) is 1he annual interest rate on your account.

                                                                                                              Balance Subject to
            Type of Balance                                     Annual Percentage Rate (APR)                     Intenes1 Rate             Interest Charge
            Purchases                                                     23.900/0(V)                                $514.03                     $10.24
            Cash Advances                                                 23.90%(v)                                    $0.00                      $0.00

            (v)   ~   Variable Rate




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                         Please relum 1hls por1lon with your payment, and write your account number on your check, made payable 10 CREOfr ONE BANK.


                                                                                                        PAY YOUR BILL ONLINE at CredltOneBank.com
                                                                                                         Account Number:                                   2177
                                                                                                         New Balance:                    $596.91
                                                                                                         Minimum Payment Due: $30.00

                        For address, telephone and email changes,                                        Payment Due Date:               12/28/14
                  O     please check the box and complete the reverse side.
                        Or, update your contact Informallon online
                        at www.CreditOneBank.com.                                                       AMOUNT ENCLOSED: 1.;..$                                 _


                                                                                          ,11"1,11,1 .. 1,111,111.1"1 .. 1111",1.1,,,,11,11,,111,1,,,1,1,,11
              CREDIT ONE BANK                                                                          JEANETTE AKINS
              PO BOX 60500                                                                             1640 N LORELAVE
              CITY OF INDUSTRY CA 91716·0500                                                           CHICAGO IL 60639-4314
           1,1,1,1,\"1,1 .. ,11111,\,,,,1111,11111 .. ,11 .. 1,1,111111,,11,1,II,




                                                 0010995 0059691 0003000                                                                   2177 6
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D809




IANNUAL PERCENTAGE RATE                 24.15%
I (APR) for Purchases
I and Cash Advances                     This APR will vary with the market based on the Prime Rate.


 Paying Interest                        We wil! begin charging interest on Purchases and Cash Advances on the posting date.

                                        If you are charged interest, the Minimum Interest Charge wil! be no less than $1.00 for any billing
 Minimum Interest Charge                cycle in which an Interest Charge is due. Credit lines less than $400 will not receive a Minimum
                                        Interest Charge in the First year (Introductory period).

 For Credit Card Tips from the
                                        To learn more about factors to consider when applying for or using a credit card, visit the website of
 Consumer Financial Protection
                                        the Consumer Financial Protection Bureau at html/www.consumerfinance.govjlearnmore.
 Bureau



 Set-up and Maintenance                 Notice: The Annual Membership Fee will be billed to your Account when it is opened and will reduce
 Fees                                   the amount of your initial available credit. If your Account is established with a $300 credit line, your
                                        initial available credit will be $225. If established with a $400 credit line. then $325 initial available
                                        credit. If established with a $500 credit line, then $425 initial available credit.

                                        You may still reject this plan, provided that you have not yet used the account or paid a fee after
                                        receiving a billing statement. If you do reject the plan, you are not responsible for any fees or charges.
 ·Annual Membership Fee                 $75 First year (Introductory period). $99 thereafter, billed monthly at $8.25.

 · Aut~o.rize? Us~r                     $19 annually (if applicable).
  _
~..   __ _ _ _ _.._ _ _-_
. ParticIpation Fee
       ..                           __. -_ _ __.__ __.._..__.._....•_ - _ _ _._.._--_.__ _           _ _..•...- .._.._ _ _ __.._...•._ _    __ _ .
 Transaction Fees                        Either $5 or 8% of the amount of each Cash Advance, whichever is greater. Credit lines less than
 · Cash Advance                          $400 wil! not receive a Cash Advance Transaction Fee in the First year (Introductory period).


 Penalty Fees
 · Late Payment                          Up to $35

  · Returned Payment                   I Up to $35

            How We Will Calculate Your Balance: We use a method called "average daily balance (including new purchases):'
            See your Cardholder Agreement, Disclosure Statement and Arbitration Agreement ("Agreement") for more details.

            Billing Rights: Information on your rights to dispute transactions and how to exercise those rights is provided in
            your account agreement




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                                                      VISA/MASTERCARD CARDHOLDER AGREEMENT,
                                                  DISCLOSURE STATEMENT AND ARBITRATION AGREEMENT
This Agreement, together with the application you previously signed and the enclosed Arbitration Agreement, governs the use of yourVISA@ or MasterCard~' Account issued
by Credit One Banl\, N.A. (the "Account;' "Card" or "Card Account"). The words "you;' "your" and "Cardholder(s)" refer to all persons, jointly and severally, authorized to use
the Card Account; and "we;' "us;' "our;' and "Credit One Bank" refer to Credit One Bank, N.A., its successors or assigns. By requesting and receiving, signing or using your
Card, you agree as foil ows:

IMPORTANT NOTICE: Please read the Arbitration Agreement portion of this document for important information about your and our legal rights under this Agreement.

1. CHANGES IN AGREEMENT TERMS: We can change any term of this Agreement, including tile rate of the finance charge or the manner in which the finance charges are
calculated, or add new terms to this Agreement, at any time upon such notice to you as is required by law. As permitted by law, any change will apply to your new activity
and, in certain circumstances, to your outstanding balance when the change is effective. If you do not wish to be subject to the change, you must notify Credit One Bank
by calling our toll-free number at 866-515-5721 or you may write to us at Bank Card Center. P.O. Box 95516, las Vegas, NV 89193-5516 prior to the effective date ofthe
change, and close your Account.

2. JOINT ACCOUNTS: If the application was for more than one person, or if an application was made and accepted by Credit One Bank to add a new Cardholder to an
existing Account, this is a"Joint Account:' Each of you individually may use the Account to the extent of the credit limit established forthe Account, and each of you is jointly
and severally liable for the full outstanding balance, including, but not limited to, charges made by any Cardholder. Each of you shall also be jointly and severally liable
for any charges made by any person given permission to use the Account by any Cardholder. You aW'ee that Credit One Bank is authorized to act on the instructions ot any
Cardholder. Instructions from anyone of you will constitute instructions from all of you. Requests from a Cardholder to terminate the privileges of another Cardholder on
the Account will be deemed a request for termination of the Account.

3. AUTHORIZED USER: At your request, we may, at Oll!' discretion, issue an additional card in the name of an Authorized User with your credit card account number. If you
allow someone to use your Account, that person will be an Authorized User. By designating an Authorized User who is at least fifteen years of age, you understand that: (1)
you will be solely responsible for the use of your Account and each card issued on your Account including all charges and transactions made by the Authorized User and
any fees resulting from their actions to the extent of the credit limit established for the Account; (2) the Authorized User wi!l have access to certain account information
including balance, available credit and payment information. If you provide an Authorized User with any information that enables him/her to access or use your Account,
you agree to be liable for the Authorized Usaf'S use of that information, and we will have no responsibility or liability for any of the Aut'1orized User's actions; (3) we reserve
the right to terminate the Card Account privileges of an Authorized User by closing your Account and issuing you a new account number; (4) the Account may appear on
the credit report of the Authorized User. If you advise us that the Authorized User is your spouse, information regarding the Account will be provided to consumer reporting
agencies in your name as well as in the name of the Authorized User; (5) t'1e Authorized User can maim payments, report the card lost or stolen and remove him or herself
from the Account; (6) you can request the removal of the Authorized User from your Account via mail or telephone.
Authorized User Annual Participation Fee: An Authorized User Annual Participation Fee of $19.00 will be imposed for issuing acard in the Authorized User's name. This
Fee will be assessed annually in the month the Authorized User was added to tile Account.

4. CONFLICTS BElWEEN CARDHOLDERS: In the event Credit One Bank receives conflicting instructions from one or more of you, or if Credit One Bank has reason to
believe there is adispute between the Cardholders, Credit One Bank may, at its sole discretion, take one or more of the following actions: (1) refuse to act on any conflicting
instructions; (2) restrict the Account and deny access to all Cardholders until the dispute is resolved; or (3) terminate the Account. In no event wili Credit One Bank be
liable for any dalay or refusal to honor a request for an advance or any other request with respect to your Account, or for restricting or terminating the Account as provided
in this section.

5. YOUR CREDIT LIMIT: Your Credit limit will be established by Credit One Bank and will be disclosed to you when your Card is issued. It also will be shown on each of your
billing statements. We reserve the right to modify your Credit Umit from time to time, and if we do so, we will notify you. You agree not to engage in any Card transaction that
would cause your outstanding balance to exceed your Credit limit. Credit One Bank may, but is not obligated to, extend credit to you from your Account if you are already
up to your Credit Limit or if the borrowing would take you over your Credit Limit at any time. You must pay us on demand any amount by which your Account's balance
exceeds your Credit Umit. If we extend credit over your Credit Limit, we wii! not be obligated to do so again, and such extension will not result in any waiver of our rights
under this paragraph.

6. USING YOUR CARD: You and any Joint Cardholder or Authorized User may use your Cards: (1) to make purchases of goods or services at merchant establishments where
the Card is accepted, and (2) to obtain cash advances (Le., loans of money) at participating financial institutions. Each purchase and cash advance obtained will reduce
the available credit under your credit limit until it is repaid. Cash advances are iimited to 25% of your assigned credit limit. Cash advances cannot exceed two transactions
or more than $200.00 pel' day, as applicable. You promise to pay us, when due, the total amount of all purchases and cash advances, as well as all finance charges, and
other fees and charges billed to your Card Account. You may not use your Card for any illegal purpose. You further acknowledge that the Card Account will be for personal
use and may not be used for business purposes.

 7. AUTHORIZATION: Merchants or banks may contact us on your behalf to obtain authorization for Card purchases or cash advances. You agree that we shall have
 no liability if: (a) any merchant or bank refuses to honor any Card issued to access the Account, (b) operational difficulties prevent authorization of a transaction, (c)
 authorization is declined because your Account is overlimit or delinquent, or (d) credit has been restricted pursuant to any term of this Agreement.

 8. YOUR MONTHLY STATEMENT: Your Account will be on a monthly billing cycle. We will send you astatement each month that there is activity or an outstanding balance
 on your Account. The statement itemizes your Account activity, including purchases, cash advances. fees, finance charges. other charges, and payments and credits posted
 during the billing period.lhe payment coupon portion of the statement will serve as your bill. When making payment, write your Account number on your check or money
 order and return the coupon with your payment. You should retain the remaining portion of your statement for your records. If the Bank offers, and you elect to receive,
 your monthly statement electronically, paper statements will not be mailed to you. You will be responsible for making your payments by the due date, either through the
 Bank's website or telephone, for which afee may apply, or by mailing your payment to the appropriate address designated for receipt of payments by mail. Credit One Bank
 1'1111 not be responsible for processing delays or failure to process the payment to your Account if a payment sent by mail does not contain your Account number or is not
 accompanied by your payment coupon. Your payment will be credited to your Account, as of the date of receipt, if the payment is received by 5:00 p.m. Pacific Time ("Pl").

 9. ANNUAL MEMBERSHIP FEE: TI1e Annual Membership Fee for your Account in year one is $75,00 (Introductory period) and will be billed to your Account when it is
 opened. TIle Annual Membership Fee for your Account beginning in year two is $99.00 and will be billed to your Account in monthly installments of $8.25 per month. The
 Annual Membership Fee will be billed to your Account as long as it remains open or, If your Account is closed by you or us, the Annual MembeJship Fee will continue to
 be charged until you pay your outstanding balance in full. The Annual Membership Fee is refundable as long as you cancel your Account and have not used your card for

                                                                                         2
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any Purchases or Cash Advances and you have not made a payment. An Annual Membership Fee Notice, as required by regulation, will be provided to you at least once
every 12 months. The Annual Membership Fee is imposed for providing services related to your Account, including but not limited to: the opportunity to use your card with
participating merchants, providing renewal cards, providing availability of customer service representatives for assistance, providing credit information to credit reporting
agencies, and providing the opportunity for additional credit.

10. FINANCE CHARGES: Your Card Account is subject to finance charges and the total Finance Charges in your monthly billing cycle are the sum of the Periodic Finance
Charges, Transaction Finance Charges, and Credit Limit Increase Fees which are calculated as follows:
(a} Periodic Finance Charges: For Purchases and Cash Advances, Credit Limit Increase Fees, Annual Membership Fees, Late Payment Fees and other fees and charges
to your Account, the Periodic Finance Charge is calculated as follows: The Annual Percentage Rate ("APR") for Purchases and Cash Advances may vary and will he
determined by adding 20.65% to the U.S. Prime Rate appearing in the "Money Rates" section of any edition of The Wall Street Journal published on the 25th day of each
month. If the Journal is not published on that day. then the Prime Rate on the next business day will be used. If the Prime Rate changes, the new rate will take effect on the
first day of the following month. The new rate will be applied to all balances on Ule Account. The estimated APR for all balances is 3.50% plus 20.65%, currentiy 24.15%
(corresponding monthly periodic rate of 2.0125%). TIle APR will never be greater than 29.90% (corresponding monthly periodic rate of 2.4916%). The most recent Annual
Percentage Rate was disclosed to you when you received your credit card. There is a Minimum Interest Charge if you are charged interest; the Minimum interest Charge
will be no less than $1.00 for any billing cycle in which an Interest Charge is due. Credit lines less than $400 will not receive a Minimum Interest Charge in the First year
(Introductory period). Periodic Finance Charges will be assessed from the date the Purchase, Cash Advance, fee or charge is posted to your Account until the date it is paid
in full, and will be calculated by applying the monUlly periodic rate to the "average daily balance" of your Account. To get the "average daily balance;' we take the beginning
balance of your Account each day, add any new Purchases. Cash Advances, fees and charges. and subtract any payments or credits and unpaid Periodic Finance Charges.
This gives us the daily balance. Then we add up ali the daily balances for the billing cycle, and divide the total by the number of days in the billing cycle. This gives us the
 "average daily balance:' Periodic Finance Charges will be assessed on all "average daily balances" until paid in fu!1. Ail Purchases. Cash Advances, fees or charges accrue
finance charges starting on the date of posting, even if the new balance from your previous statement was paid in full or even if that new balance was zero.
 (b) Cash Advance Transaction Finance Charges: Each time you obtain a new Cash Advance. we will impose aTransaction Fee Finance Charge of $5.00 or 8% of the
 amount advanced, whichever is greater. Credit lines jess than $400 wm not receive a Cash Advance Transaction Fee in the First year (Introductory penod).
 (e) Credit Limit Increase Finance Charges: Afee may be imposed for Credit Umit increases, as described under the "Credit Limit Increase Requests" section of this
 Agreement.
 (d) Foreign Transaction Finance Charges: Each time you make aforeign transaction, we may impose aTransaction Fee finance Charge of 3% of the amount charged or
 $1.00, whichever is greater. For additional information, see the "Foreign Transaction" section of this Agreement.
 (e) Fees Treated as Principal: For purposes of Finance Charge calculation, Credit Limit Increase Fees, Annual Membership Fees, Late Payment Charges. and other charges,
 except cash advance fees. will be treated like purchase transactions, posted as principal, anel accrue Finance Charges IiIm purchases.
 (f) Periodic Statement Annual Percentage Rate: If a finance charge imposed is required to be inciuded in calculating the Annual Percentage Rate under the Federal
 Truth-In-Lending Act, the Annual Percentage Rate disclosed on your statement may exceed the corresponding Annual Percentage Rate disclosed in this Agreement for any
 billing period in which such finance charge is posted to your Account.

11. LATE PAYMENT CHARGES: If at least the Amount Due'ihis Period (less any Late Payment Fee for the current billing cycle) and Amount Past Due are not received by
5:00 p.m. PT on the Payment Due Date shown on your statement, a Late Payment Fee of up to $35.00 will be charged to your Account.

12. OTHER CHARGES: In addition to the fees and charges described above, other charges that may be imposed on your Account include the following: (1) Returned
Payment Fee: If apayment is returned for any reason. aReturned Payment Fee of up to $35.00 will be charged to your Account; (2) Duplicate Statement Fee: if you request
aduplicate copy of amonthly statement, you will be charged afee of up to $10.00 for each statement copy requested; (3) Saies Slip Request Fee: If you request acopy
of asales slip, for any purpose other than to resolve a dispute about the charges on your Account, you will be charged afee of $6.00 for each sales slip copy requested;
(4) Co-applicant Fee: To add an additional Cardholder to the Account after it is opened, an application must be submitted to Credit One Bani\. The co··applicant fee in
effect at the time of such application will be required; and (5) Replacement Card Fee: If you request areplacement card, a Replacement Card Fee of up to $25.00 may
be charged to your Account.

13. MINIMUM PAYMENTS: (a) You agree to pay either t.~e entire outstanding balance or the Minimum Payment Due, as shown on your monthly statement. The Minimum
Payment Due is 5% of your outstanding balance, rounded up to the next whole dollar, or $25.00, whichever is greater, plus any Late Payment Fee for the current billing
cycle, and any Past Due Amount. For your Account to be considered current and to avoid a Late Payment Fee. you must pay at least the Amount Due This Period (less any
Late Payment Fee for the current billing cycle) and the Past Due Amount by the Payment Due Date shown on your statement. (b) Certain other service fees may be added
to your minimum payment amount. When you sign up for such services, you will be notified if afee for the service will be imposed and if it is required to be added to your
minimum payment.

14. SMAll BALANCES: As it is uneconomical for both you and us to process payments or maintain credits that are $1.00 or less in amount, you agree as follows: (1)
In any billing cycle in which you have had no transactions and your New Balance on the billing elate is $1.00 or less, the balance will be rounded to zero and you will not
receive a bill for this amount. (2) In the event that you have a credit balance of $1.00 or less for two consecutive biHing cycles, the balance will be rounded to zero and
you will not receive a refund of this amount.

15. MAKING PAYMENTS: Your payments must be made in US currency only, drawn on a bank domiciled in the US, through paper 01' electronic format not to include wire
transfer 01' electronic transactions via Credit One Bank's account at the Federal Reserve Bank. Do not send cash through the mail, as Credit One Bank cannot be responsible
for cash lost in the mailing process. To the extent that a payment reduces the principal amount outstanding on your Card Account, new credit will be available (subject to
your credit limit), but only after 12 calendar days after our receipt of the payment. 10 insure prompt posting of payments sent through the mail, your payments must be
sent to the address indicated on your statement and must be received by 5:00 p.m. PT. There will be adelay in posting payments to your Account for payments not sent to
the address shown on your statement. YOll agree that we may process any item delivered to us for payment on the day it is received, and that we are not required to honor
special instructions or re:-.irictive endorsements. As described above, if any payment is received that does not contain your Account number or is not accompanied by your
payment coupon, Credit One Bank wlll not be liable for processing delays or failure to process the payment to your Account. Crediting of such payments may be delayed
up to five business days of receipt.
Treatment of Check Payments: When you provide a check as payment, you authorize us either to use information from your check to make a one-time electronic fund
transfer from your bank account or to process the payment as a check transaction. If a check we process in paper fonn is returned to us by your bank unpaid, we may
re-present the returned check electronically.

 16. POSTDATED CHECKS: You agree that we need not examine any payment check to confirm that it is not postdated, and that we may deposit any postdated check for
 payment to us on the day we receive it.

 17. IRREGULAR PAYMENTS: Any payment submitted in offer of settlement of a disputed debt, including any check containing a notation such as "paid in full;' must be

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sent to the following address: Credit One Bank, P.D. Box 95516, Las Vegas, NV 89193-5516. If you do not forward any check or other payment marked "paid in ful!" to the
above address, we can accept late payments or partial payments, 01' checks or other payments marked with similar notations, without losing any of our rights under this
Agreement, including our right to seek payment of the full balance of your Account.

18. VERIFICATION OF INFORMATION: (a) Credit Infonnation:You authmize us to obtain and/or use information about you from third parties and credit reporting agencies
to: (1) verify your identity and/or conduct investigative inquiries; (2) determine your income and credit eligibility; (3) review your Account and provide renewal of credit;
(4) verify your current credit standing in order to present future credit Hne increases or decreases; (5) qualify you for and present additional lines of credit or other offers;
and (6) collect amounts owing on your Account. California residents, you agree to waive your right to keep confidential information under Section 1808.21 of the California
Vehicle Code from us. (b) Reporting Information: We may furnish information concerning your Account or credit file to consumer reporting agencies and others who may
properly receive that information. However, we are not obligated to reiease such information to anyone unless we are required to do so by law or aproper Power of Attorney
is provided. (c) Telephone Monitoring: To be sure that your inquiries are handled properly, courteously and accurately, some ofthe telephone calls between our employees
and our customers are monitored by supervisory or management personnel. Recordings may be made of such calls for your protection.

19. COMMUNICATiONS: (a) You are providing express written permission and consent authorizing Credit One Bank or its agent,> to contact you at any phone number
(including mobile, cellular/wireless, or similar devices) or email address you provide at any time, for any lawful purpose. The ways in which we may contact you inclUde live
operator, automatic telephone dialing systems (auto-dialer), prerecorded message, text/SMS message or email. Phone numbers and email addresses you provide include
those you give to us, those from which you contact us 01' which we obtain through other means. Such lawful purposes include, but are not limited to: obtaining information;
activation of the card for verification and identification purposes; account transactions or servicing related matters; suspected fraud 01' identity theft; collection on the
Account; and providing information about special product,> and services. You agree to pay any fee(s) or charge{s) that you may incur for incoming communications from
us or outgoing communications to us, to or from any such number or email address, without reimbursement from us. (b) INDEMNIFICATION: If you provide telephone
number{s) for which you are not the subscriber, you understand that you shall indemnify us for any costs and expenses, including reasonable attorneys' fees, incurred as
aresult of us contacting or atiempting to contact you at the number(s). (c) COMMUNICATION REVOCATION: If you do not want to receive communications as described
in the previous paragraph, you must: (i) provide us with written notice revoking your prior consent, (ii) in that written notice, you must include your name, mailing address,
 and the last four digits 01 your Account number; (Iii) advise whether you would like communications to cease via mail, telephone l1umber(s), email, texVSMS, or cease in all
forms; (iv) if you are requesting communications to cease via telephone number(s) and/or email, please provide the specific phone number{s) and email address; (v) you
must send this written notice to: Attention - Credit One Bank Customer Service, P.O. Box 98850, Las Ve~,as, NV 89193-8850. (d) ONLINE ACCOUNT COMMUNiCATIONS:
If you do not want to receive communications previously selected as part of your online account, you must update your preferences under the .•Email and Text Notifications"
section to remove these notifications. We cannot remove these online account notifications for you.

20. DEFAULT: You will be in default under this Agreement if any of the following events occur: (1) you exceed your assigned credit limit; (2) you fail to make any required
payment when clue; (3) you die, become insolvent, file a petition in bankruptcy or similar proceeding, or are adjudged banllrupt: (4) you provide any false or misleading
financial or biographical information to Credit One Bank; (5) any representation or warranty you make to Credit One Bank is false or breached; (6) aguardian, conservator,
receiver, custodian or trustee is appointed for you; (7) you are generally not paying your debts as they become due; (8) the Bank reasonably believes there has been a
material adverse change in your linancial condition; or (9) you violate any term of tilis Agreement. Upon your default, Credit One Bank can close or refuse to renew YOUI'
Account, demand the return of your card(s), declare your entire balance immediately due and payable, and initiate collection activity, all without prior notice or demand.
You promise to pay any collection costs and attorneys' fees, including our in-house attorneys' costs, that Credit One Bank incurs as aresult of your default.

21. TERMINATION OF ACCOUNT: This Account may be terminated by you at any time by giving notice in writing to Credit One Bank. If your Account is closed by you or us,
the Annual Membership Fee wii! continue to be charged until you pay your outstanding balance in full. Credit One Bank may terminate the Account and demand payment in
full if you are in default under any of t'1e terms and conditions of this Agreement, or if there is adispute between the Cardholders as described elsewhere in this Agreement,
or if a Cardholder requests termination of the Account privileges of any other Cardholder, or without cause if Credit One Bank deems termination of the Account to be in
its best interests. In the event of voluntary or involuntary Account termination, all credit privileges under the Account and Credit One Bank membership wi!1 be terminated
immediately. However, when your Account is closed, if there is: (1) a debit balance of $1.00 or less, that balance will be rounded to zero and you will not be required to
pay this amount; or (2) acredit balance of $1.00 or less, that balance will be rounded to zero and this amount will not be refunded to you. TIle rounding to zero may occur
after YOUI' closing statement cycles, and you may not receive astatement retlecting the rounding.

22. SECURI1V: This is an unsecured Account, and Credit One Bank retains no security interest in your real or personal property to secure payment of your Card Account.

23. CARD OWNERSHIP AND ACCEPTANCE: Any credit card or other credit instrument issued to you remains the property of Credit One Bank and must be surrendered
to Credit One Bank or its agent on demand. We are not liable for the refusal of Credit One Bank or any other party to honor your Card for any reason. All Cards have an
expiration date. We have the right not to renew y'Our Card for any reason.

24. FOREIGN TRANSACTIONS: If you make atransaction at amerchant that settles in acurrency other than U.S. dollars, MasterCard Worldwide orVisa Inc. will convert that
charge into a U.S. Dollar amount. That conversion will be done at arate selected by MasterCard or Visa from the range of rates available in wholesale currency markets for
the applicable central processing date, which rate may vary from the rate MasterCard or Visa itself receives, or the government-mandated rate in effect for the applicable
central processing date. TIle currency conversion rate used on the processing date may differ from the rate that would have been used on the purchase date or on the date
the transaction is posted to your Account. You agree to pay the converted amount, including any charges for the conversion that may be imposed as described above. Afee
may be imposed for foreign transactions as described under the Finance Charge section of this Agreement.

25. LOST OR STOLEN CARDS: You may be liable for unauthorized use of your Card. If your Card is lost 01' stolen or you suspect that someone is using your Card witil0ut
your permission, you should immediately notify Credit One Bank's Bani, Card Center. You can call (877) 825·3242. You can also notify us in writing at Bank Card Center,
P.O, Box 98872, Las Vegas, NV 89193·8872. You will not be liable for any unauthorized lise that occurs after you notify us, orally or in writing, of the loss, theft or possible
unauthorized use. In any event, your liability for unauthorized use will not exceed $50. If you allow someone to use your Card to make charges to your Card Account, you can
terminate this user's authority by retrieving the Card and returning it to us. Until you do, you remain liable for any use by the authorized user. You understand and agree that
this Card Account may be replaced with asubstitute Account if acredit card for this Account is lost or stolen, or in the event unauthorized use of the Account is reported.
All terms and conditions of this Agreement and the application shall apply to any substitute Account.

 26. CREDIT LIMIT INCREASE REQUESTS: Credit Limit Increase requests must be made in accordance with procedures established from time to time by Credit One Bank.
 Afee may be imposed for credit limit increases. The fee imposed will be aFinance Charge of between $0.00 and $49.00, depending on how long your Account has been
 established and your credit history with us and otllers. We will advise you which lee is applicable to your Account at the time you apply for a credit limit increase. Credit
 limit increase requests are subject to the same credit process as your original application, including review of credit bureau information. You will be notified by mail if your
 request for an increase is declined. Approval will be Indicated in the form of acredit limit increase on your Card Account statement. For information on Credit One Bank's
 procedure for applying for a credit limit increase, contact us at (877) 825·3242.

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27. ACCESS TO CREDIT SCORE: To access your free monthly Credit Score that is included with your new Account you will need to: (1) Register for Online Account Access
at: www.CreditOneBank.com. (2) Accept the online Terms of Use / Credit Score Authorization Agreement associated with receiving your Credit Score. Credit Score availability
can take up to 60 days from your online enrollment date. Occasionally, systems or other constraints may prevent us from updating your Credit Score in atimely manner.
This service is subject to change or cancellation without notice.

28. WAIVER OF RIGHTS: tf we waive any of our rights under this Agreement, we will not be obligated to do so again.

29. CUSTOMER PRIVACY: The privacy policy for Credit One Bank is provided separately in accordance with applicable law.

30. GOVERNING LAW: This Agreement is governed by and interpreted in accordance with the laws applicable to national banks, and, where no such laws apply, by the laws
of the State of Nevada, excluding the conflicts of law provisions thereof, regardless of your state of residence,

31. ARBitRATION AGREEMENT: The Albitration Agreement provided to you with this Agreement governs the enforcement by you and us of your and our legal rights under
this Agreement.

                                                   CREDIT ONE CASH BACK REWARDS PROGRAM ("PROGRAM")
This Credit One Cash Back Rewards Program (the "Program") supplements the Visa/MasterCard Cardholder Agreement, Disclosure Statement and Arbitration Agreement
(collectively, the "Cardholder Agreement") you received with your credit card account issued by Credit One Bank, N.A. (the "Account"). In this Program, the words "we;' "us;'
"our" and "Credit One" refer to Credit One Bank, N,A, and the words "you" and "your" refer to ail persons, jointly and severally, authorized to use the Account and thereby
participate in the Program, By using your Account, you agree to participate in the Program and to the terms and conditions regarding the Program contained herein. In the
event of any conflict between the Cardholder Agreement and this Program with respect to matters relating to the Program, this Program shall control.
EARNING CASH BACK REWARDS: You will receive cash back in the form of an automatic statement credit equal to 1% of "eligible net purchases" (as defined below)
made with your Account. We will post astatement credit to your Account within seven days of the end of the month equal to 1% of "eligible net purchases" made with your
Account from the 27th of the previous month to the 26th of the current month. If your Account is in default, as defined within your Cardholder Agreement at the time the
credit is to be posted, you WILL NOT receive the credit. The eligible credit(s) will show on your billing statement as "Credit One Rewards Credit:'
ELIGIBLE NET PURCHASES: Eligible net purchases are purchases of gasoline from merchants using Standard Industrial Classification Codes ("SIC Codes") 5172,5541,
and 5542, and purchases of groceries from merchants using SIC Codes 5411, 5422, and 5499, minus any returns or other credits using these same SIC Codes, Although
amerchant or the items that it selis may appear to fit the gas or grocery reward categories, the merchant may not have or use an SIC Code that is included in this Program,
and purchases with that merchant will not qualify for rewards. You WIl.L NOT earn rewards if a merchant does not submit the purchase using an SIC Code that we have
designated for gas and grocery rewards. Amerchant with more Ulan one location may submit purchases using different SIC Codes, including SIC Codes that do not qualify
under this Program, This means that purchases from the same merchant at a different location may result in no reward, Purchases from the following types of merchants
are not eligible for gas rewards: oil, propane, and home heating companies. Purchases from the following merchants are not eligible for grocery rewards: Target, Walmart,
K-Mart. Kaufland, CostGO, and Sam's Club,
PROGRAM RESTRICTIONS: You will receive an automatic rewards credit on each statement that has at least one eligible net purchase. Automatic statement credits for
rewards will reduce the balance on your Account but will not count as payments. You will still be required to pay at least the Minimum Payment Due as shown on your
billing statement each month, You WILL NOT earn rewards for gas or grocery purchases made while your Account is in default as defined within your Cardholder Agreement.
Disputed or unauthorized purchases/fraudulent transactions and illegal transactions do not earn rewards, unless otherwise specified. This Program excludes Accounts
already enrolled in a different Credit One rewards program.
AMENDMENTS: The Program may be amended (added to, modified or deleted) by us at any time, including without limitation amendments of eligible SIC Codes WitllOut
prior notice and will take effect immediately, The current version of this Program may be found at www.CreditOneBank.comin the Cardholder Agreement section of the
Customer Service tab, Any revisions may affect your ability to earn rewards.
TERMINATION: We may suspend or terminate the Program or your participation in the Program at any time without prior notice. In such event, we will evaluate your Account
for any eligible gas or grocery rewards as of the Program termination date. Provided that yOll llieet all of the other Program Restrictions listed above at that time, you will
receive a distribution of the rewards earned during the current billing peliod in the form of a statement credit.
LIMITED LIABILITY: Unless otherwise required by law, this Program, or our Cardholder Agreement with you, we will not be liable to you or anyone making a claim on your
 behalf, in connection with: (1) any change or termination oHhe Program; (2) any loss, damage, expense or inconvenience caused by any occurrence outside of our control;
 (3) any taxes that you incur as a result of receiving rewards, payment of which taxes will be your responsibiiity; (4) any merchandise or services you purchase, or for any
 direct, indirect or consequential damages with respect to the use of your Account. In any event, any liability that Credit One may have to you in connection with the Program
 shall be limited to the amount of any rewards you have earned in this Program, The Program and rewards are void or limited where prohibited or restricted, respectively, by
federal, state or local law,

                                                 YOUR BILLING RIGHTS - KEEP THIS DOCUMENT FOR FUTURE USE
This notice tells you about your rights and our responsibilities under the Fair Credit Billing Act.

What To Do lnoll Find a Mistake on Your Statement
If you think there is an error on your statement, write to us at: Bank Card Center, P.O. Box 98872, Las Vegas, NY 89193-8872.
In your letter, give us the following information:
 · Account information: Your nalTle and account number.
 · Dollar amount: The dollar amount of the suspected error,
 · Description of problem: If you think there is an error on your bill, describe what you believe is wrong and why you believe it is a mistake.
You must contact us:
 · Within 60 days after the error appeared on your statement.
 • At least 3 business days before an automated payment is scheduled, if you want to stop payment on the amount you think is wrong.
You must notify us of any potential errors in writing. You may cal! us at 877-825-3242, but if you do we are not required to investigate any potential errors and you may
have to pay the amount in question.

What Will Happen After We Receive Your Letter
When we receive your letter, we must do two things:
1. Within 30 days of receiving your letter, we must tell you that we received your letter. We will also tell you if we have already Gorrected the error.


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2. Within 90 days of receiving your letter, we must either correct the error or explain to you why we believe the bill is correct.
While we investigate whether or not there has been an error:
 · We cannot try to co!lect the amount in question, or report you as delinquent on that amount.
 · The charge in question may remain on your statement, and we may continue to charge you interest on that amount.
 · While you do not have to pay the amount in question, you are responsible for the remainder of your balance,
 • We can apply any unpaid amount against your credit limit.
After we finish our investigation, one of two things will happen:
 · If we made amistake: You will not have to pay the amount in question or any interest or other fees related to that amount.
 · If we do not believe there was a mistake: You will have to pay the amount in question, along with applicable interest and fees. We will send you a statement of the
    amount yOll owe and the date payment is due. We may then report you as delinquent if you do not pay the amount we think you owe.
If you receive our explanation but still believe your bill is wrong, you must write to us within 10 days telling us that you still refuse to pay. If you do so, we cannot report
you as delinquent without also reporting that you are questioning your bill. We must tell you the name of anyone to whom we repoltecl you as delinquent, and we must let
those organizations know when the matter has been settled between us. If we do not follow all of the rules above, you do not have to pay the first $50 of the amount you
question even if your bill is correct

Your Rights If You Are Dissatisfied With Your Credit Card Purchases
If you are dissatisfied with the goods or services that you have purchased with your credit card, and you have tried in good faith to correct the problem with the merchant,
you may have the right not to pay the remaining amount due on the purchase. To use this right, all of the following must be true:
1. The purchase must have been made in your home state or within 100 miles of your current mailing address, and the purchase plice must have been more than $50.
    (Note: Neither of these are necessary if your purchase was based on an advertisement we mailed to you, or if we own the company that sold you the goods or services.)
2. You must have used your credit card for the purchase, Purchases made with cash advances from an ATM or with a check that accesses your credit card account do
    not qualify.
3. You must not yet have fully paid for the purchase. If all of the criteria above are met and you are still dissatisfied with the purchase, contact us in writing at: Bank
    Card Center, P.O. Box 98872, Las Vegas, NY 89193·8812.
While we investigate, the same rules apply to the disputed amount as discussed above. After we finish our investigation, we will tell you our decision. At that point, if we
think you owe an amount and you do not pay, we may report you as delinquent.

                                                                          ARBITRATION AGREEMENT
PLEASE READ THIS ARBITRATION AGREEMENT OF YOUR CARD AGREEMENT CAREFULLY. IT PROVIDES THAT EImER YOU OR WE CAN REQUIRE THAT ANY
CONTROVERSY OR DISPUTE BE RESOLVED BY BINDING ARBITRATION. ARBITRATION REPLACES THE RIGHT TO GO TO COURT, INCLUDING THE RIGHT TO AJURY AND
mE RIGHT TO PARTICIPATE IN ACLASS ACTION OR SIMILAR PROCEEDING. IN ARBITRATION, A DISPUTE IS RESOLVED BY A NEUTRAL ARBITRATOR INSTEAD OF A
JUDGE OR JURY. ARBITRATION PROCEDURES ARE SIMPLER AND MORE LIMITED THAN RULES APPLICABLE IN COURT. IN ARBITRATION, YOU MAY CHOOSE TO HAVE
A HEARING AND BE REPRESENTED BY COUNSEL.

Agreement to Arbitrate:
You and we agree tllat either you or we may, without the other's consent, require that any controversy or dispute between you and us (all of which are called "Claims"), be
submitted to mandatory, binding arbitration, This Arbitration Agreement is made pursuant to a transaction involving interstate commerce, and shall be governed by, and
enforceable under, the Federal Arbitration Act (the "FAA"), 9 U.S.C. §1 et seq., and (to the extent State law is applicable), the State law governing the Card Agreement.

Claims COl/ered:
· Claims subject to arbitration include, but are not limited to, disputes relating to the establishment, terms, treatment, operation, handling. limitations on or termination of
   your Account; any disclosures or other documents or communications relating to your Account; any transactions or attempted transactions involving your Account, whether
   authorized or not; billing, biliing errors, credit reporting, the posting of transactions, payment or credits, or coilections matters relatingto your Account; services or benefits
   programs relatingto your Account, whether or notthey are offered, introduced, sold or provided by us; advertisements, promotions, or oral or written statements related to (or
   preceding the opening of) yourAccount, goods orservices financed under your Account, orthe terms of financing; the application, enforceability or interpretation ofthe Card
   Agreement (exceptforthis Arbitration Agreement); and any other matters relating to your Account. aprior related Account or the resulting relationships between you and us.
   Any questions about what Claims are subject to arbitration shall be resolved by interpreting this Arbitration Agreement in the broadest way the law will allow itto be enforced.
· Ciaims subject to arbitration include not only Claims made directly by you, but also Claims made by anyone connected with you or claiming through you, such as a co-
   applicant or authorized user of your Account, your agent, representative or heirs, or atrustee in bankruptcy. Similarly, Claims subject to arbitration include not only Claims
   that relate directly to us, a parent company, affiliated company, and any predecessors and successors (and the employees, officers and directors of all ofthese entities),
   but also Claims for which we may be directly or indirectly liable, even if we are not properly named at the time the Claim is made, and Claims brought against any other
   person or entity named as adefendant or respondent in aClaim brought by you against us.
   Claims subject to arbitration Include Claims based on any theory of law, any contract, statute, regulation, ordinance, tort (including fraud or any intentional tort), common
   law, constitutional provision, respondeat superior, agency Of other doctrine concerning liability for other persons, custom or course of dealing or any other legal or
   equitable ground (including any claim for injunctive or declaratory relief), Claims subject to arbitration include Claims based on any allegations of fact, including an
   alleged act, inaction, omission, suppression, representation, statement, obli€,,ation, duty, right, condition, status or relationship.
   Claims subje(,t to aibitration include Claims that arose in the past, or arise in the present or future. Claims are subject to arbitration whether they are made independently
   or with other claims in proceedings Involving you, us or others. Claims subject to arbitration include Claims that are made as counterclaims (including but not limited
   to counterclaims by us to collect amounts in default from you), cross-claims, third-party claims, interpleaders or otherwise, and a party who initiates a proceeding in
   court may elect arbitration with respect to any Claim(s} advanced in the lawsuit by any other party or patties,
 · As set forth below, Claims made as part of aclass action, private attorney general action or other representative action are subject to arbitration blJt must be arbitrated
    on an individual basis. If aClaim is arbitrated, neitller you nor we wil! have the right to participate in aclass action, private attorney general action or other representative
    action in court or in arbitration, either as aclass representative or class member. Thus, if you or we require arbitration of apalticular Claim, neither you nor we may pursue
   the Claim in any court litigation, whether as a class action, private attorney general action, other representative action or otherwise, and the arbitration of such Claim
    must proceed on an individual basis,

 Claims Not COl/ered:
 · Claims are not subject to arbitration if they are filed by you or us in asmall claims court or your state's equivalent court, so long as the matter remains in such court
   and advances only an individual claim for relief. Also, disputes about the validity, enforceability, coverage or scope of this Arbitration Agreement or any part thereof are
   not subject to arbitration and are for acourt to decide. But disputes about the application, enforceability or interpretation of the Card Agreement as awhole are subject
   to arbitration and are for lhe arbitrator to decide.


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Initiation ofArbitration: The party filing arbitration must choose an arbitration administrator. Arbitration administrators are independent from us, and you must follow their
rules and procedures for initiating and pursuing arbitration, If you initiate the arbitration, you must also notify us in writing at Credit One Bank, P.O, Box 95516, las Vegas,
NV 89193-5516, If we initiate the arbitration, we wil! notify you in writing at yourthen current billing address or (if your Account is closed) the last address we have on file
for you. Any arbitration hearing that you attend wil! be held at a place chosen by the arbitrator or arbitration administrator in the same rJty as the U,S. District Court closest
to your billing address, or at some other place to which you and we agree in writing. You may obtain copies of the current rules of the arbitration administrators, and other
related materials, including forms and instnJCtions for initiating arbitration, by contacting the arbitration administrators as follows:

                                   American Arbitration Association ("AM")                     JAMS
                                   335 Madison Avenue, Floor 10                                1920 Main Street, Suite 300
                                   New York, NY 10017-4605                                     Irvine, CA 92614,·"12'79
                                   Web Site: www.adr,org                                       Web Site: www.jamsadr.com

If neither AAA nor JAMS is willing or able to serve, and you and we are unable to agree on a substitute, a court with jurisdiction will select the administrator or arbitrator.

Procedures and Law Applicable in Arbitration: Asingle arbitrator will resolve Claims. The arbitrator will either be a lawyer with at lea&t ten years' experience or a retired
or former judge. The arbitrator will be selected in accordance with the rules of the arbitration administrator and will be neutral. The arbitration will be conducted under the
applicable procedures and rules of the arbitration administrator that are in effect on the date the arbitration is med unless this Arbitration Agreement is inconsistent with
those procedures and rules, in which case this Arbitration Agreement will prevail. This Arbitration Agreement will also prevail to the extent that it is inconsistent with the
Card Agreement. These procedures and rules may limit the amount of discovery available to you or us, The arbitrator will apply applicable substantive law, consistent with
the FAA and applicable statutes of limitations, and will honor claims of privilege recognized at law, The arbitrator will take reasonable steps to protect customer Account
information and other confidential information, including the use of protective orders to prohibit disclosure outside the arbitration, if requested to do so by you or us. You
and we agree to keep the details of the arbitration, including communications in any medium, testimony, documents and the award, confidential unless otherwise requireci
by applicable law or the administrator's rules. The arbitrator will have the power to award to a party any damages or other relief provided for an individual claim under
 applicable law (including constitutional limits that would apply in court), and will not have the power to award relief to, against, or for the benefit of, any person who is not
aparty to the proceeding. The arbitrator will make any award in writing but need not provide astatement of reasons uniess requested by a party. Upon a reque&t by you or
us, the arbitrator wil! provide a brief statement of the reasons for the award.

Costs: If we file the arbitration, we will pay the initial filing fee. If you file the arbitration, you will pay your share of the initial filing fee, unless you seek and qualify for a
fee waiver under the applicable rules of Ule arbitration administrator. We will reimburse you for your share of the initial filing fee if yOll paid it and you prevail, Except as
set forth below, if there is a hearing, we will pay any fees of the arbitrator and arbitration administrator for the first day of that hearing, All other fees will be allocated in
keeping with the rules of the arbitration administrator and applicable law. However, we will advance or reimburse filing fees and other fees if the arbitration administrator
or arbitrator determines there is other good reason for requiring us to do so, or we determine there is good cause for doing so. Each party will bear tie expense of that
party's attorneys, experts, and witnesses, and other expenses, regardless of which party prevails, except that (a) the arbitrator shall appiy any applicable law in determining
whether a party should recover any or ali expenses from another party, (b) the arbitrator shall require you to pay us collection costs and attomeys' fees, including our in-
house attorneys' costs, that we incur as a result of your default, as set forttl in the Card Agreement and (c) the arbitrator may assess attorneys' fees and costs against a
party upon a showing by the other party that the first party's claim(s) or conduct was frivolous or pursued in bad faitil or solely for purpose of multiplying the arbitration
proceedings unreasonably or vexatiously,

No Class Arbitration or Consolidation or Joinder of Parties: All parties to the arbitration must be individuaily named. Claims by persons other than individuaily named
parties shali not be raised or determined, Notwithstanding anything else that may be in this Arbitration Agreement or the Card Agreement, no class action, private attorney
general action or other representative action may be pursued in arbitration, nor may such action be pursued in court if any party has elected arbitration. No arbitrator
shall have the authority to conduct any arbitration in violation of this Arbitration Agreement or to issue any relief that applies to any person or entity other than you or us
individually. Uniess consented to by all parties to the arbitration, Claims of two or more persons may not be joined, consolidated or otherwise brought together in the same
arbitration (unless those persons are applicants, co-applicants or authorized users on asingle Account and/or related Accounts or parties to asingle transaction or related
transactions); this is so whether or not the Claims (or any interest in the Claims) may have been assigned. Provided, however, that nothing in this Arbitration Agreement
regarding consolidation and joinder is intended to impair a respondent's right to assert a counterclaim against t1e claimant pursuant to the administrator's rules,

Enforcement, Finality: You or we may bring an action, including a summary or expedited motion, to compel arbitration of Claims subject to arbitration, or to stay the
litigation of any Claims pending arbitration, in any court having jurisdiction. Such action may be brought at any time, even if any such Claims are part of alawsuit, unless a
trial has begun or afinal judgment has been entered, Failure or forbearance to enforce this Arbitration Agreement at any particular time, or in connection with any particular
Claims, will not constitute awaiver of any rights to require arbitration at a later time or in connection with any oUler Claims. Any additional or different agreement between
you and us regarding arbitration must be in writing. We will not amend this Arbitration Agreement in a manner that adversely affects your rights without giving you prior
notice,
An award in arbitration will be enforceable as provided by the FAA or other applicable law by any court having jurisdiction and shall be subject to judicia! review only as
provided in the FAA. An award in arbitration shall determine the rights and obligations betNeen the named parties only, and only in respect of the Claims in arbitration, and
shall not have any bearing on the rights and obligations of any other person, nor on tile resolution of any other dispute or controversy,

Severability, Survillal: T11is Arbitration Agreement shall survive: (I) termination or changes in the Card Agreement, the Account and the relationship between you and us
concerning the Account; (ii) the bankruptcy of any party, to the extent permitted by applicable bankruptcy law; and (iii) any transfer or assignment of your Account, or any
amounts owed on your Account, to any other person. If any part of this Arbitration Agreement other than the section titled "No Class Arbitration or Consolidation orJoinder
of Parties" is deciared unenforceable, ttle remainder shall be enforceable. If the section titled "No Class Arbitration or Consolidation or Joinder of Parties" is declared
unenforceable in a proceeding between you and us, without impairing the right to appeai such decision, this entire Arbitration Agreement (except for this sentence) shall
be null and void in such proceeding.




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